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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN

 TIMOTHY RAVE,

                   Plaintiffs,

      v.
                                                                 Case No.: 18-CV-305
 CIOX HEALTH, LLC and COLUMBIA ST
 MARY’S HOSPITAL MILWAUKEE, INC.,

                   Defendants.


                                      NOTICE OF REMOVAL



To:        Timothy Rave                             Columbia St. Mary’s Hospital Milwaukee
           c/o Robert Welcenbach                    c/o Corporation Service Company
           Welcenbach Law Offices, S.C.             8040 Excelsior Dr., Suite 400
           933 N. Mayfair Rd., Suite 311            Madison, WI 53717
           Milwaukee, WI 53226

           PLEASE TAKE NOTICE that Ciox Health, LLC (“Ciox”), by its attorneys, Gass Weber

Mullins LLC, pursuant to 28 U.S.C. §§ 1332, 1441(b) and 1446, files this Notice of Removal with the

Court to remove this action from the Circuit Court for Milwaukee County, Wisconsin to the United

States District Court for the Eastern District of Wisconsin. This putative class action is removable

because the Court has jurisdiction based upon diversity of citizenship. The grounds for removal of

this action are as follows:

           1.     On January 22, 2018, Timothy Rave (“Plaintiff”), through his attorney Robert J.

Welcenbach, filed a Summons and Complaint designated as Case No. 18-CV-607 in the Circuit

Court for Milwaukee County, Wisconsin (the “Complaint”).

           2.     On January 31, 2018, Plaintiff served the Complaint on Ciox. A true and correct

copy of the Summons and Complaint is attached as Exhibit 1.




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         3.      Plaintiff alleges that he brings this action on his own behalf and on behalf of the

members of a proposed class of individuals and entities that are similarly situated. (Compl. p.1.)

         4.      Plaintiff alleges that Ciox may be liable for actual damages and exemplary damages of

up to $25,000 per violation of Wis. Stat. § 146.83. (See Compl. ¶¶ 56-58.)

         5.      Ciox served its Answer and Affirmative Defenses to the Complaint on February 20,

2018.

         6.      Removal of this action to the United States District Court is proper under 28 U.S.C.

§ 1441(a) and (b) because there is diversity of citizenship between Plaintiff and Ciox and the amount

in controversy exceeds $5,000,000. The United States District Court would, therefore, have had

original jurisdiction of this matter under 28 U.S.C. § 1332 had the action been brought in federal

court originally.

         7.      For the purposes of diversity, a limited liability company is considered a citizen of

the states of which its members are citizens. There is diversity between Plaintiff and Ciox because:

                 a.      Plaintiff is a citizen of the State of Wisconsin. (See Compl. ¶ 1.)

                 b.      Ciox is a single-member limited liability company owned by Smart Holding

                 Corp., a corporation organized under the laws of the State of Delaware. Smart

                 Holding Corp. has its principal place of business in Alpharetta, Georgia.

                 c.      A corporation is a citizen of both the state in which it is incorporated and the

                 state in which it keeps its principal place of business. 28 U.S.C. § 1332(c)(1). Smart

                 Holding Corp. is therefore a citizen of Delaware and Georgia, as is Ciox.

         8.      The amount in controversy in this case exceeds $5,000,000, exclusive of interest and

costs. Although the Complaint does not specify a particular dollar amount sought by Plaintiff,

Plaintiff has alleged that each class member may be entitled to up to $25,000 in exemplary damages

per violation.


                                                     2

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        9.      It would only take 200 violations resulting in exemplary damages of $25,000 per

violation to reach $5,000,000. Ciox’s predecessor-in-interest, IOD Incorporated, issued over 5,000

invoices to attorneys who requested patient health care records from Wisconsin health care

providers using HIPAA authorizations between July 1, 2011 and December 31, 2015, and in which

charges for either certification or retrieval fees appeared. Plaintiff alleges that each such invoice

constitutes a violation subject to exemplary damages. The alleged violations thus far exceed 200, so

the amount in controversy easily exceeds the $5,000,000 threshold.

        10.     This Notice of Removal is timely under Section 1446(b)(3) of Title 28 of the United

States Code because 30 days have not elapsed since Ciox received the Complaint.

        11.     The exception to diversity jurisdiction enumerated in Section 1332(d)(4)(A) of Title

28 of the United States Code does not apply because two class actions have been filed during the

three-year period preceding the filing of this class action in which the plaintiffs have asserted the

same or similar factual allegations against Ciox on behalf of the same and other persons.

                a. On May 5, 2017, a group of plaintiffs filed Dilger, et al. v. IOD Incorporated, et al.,

                    Waukesha County, Wisconsin Case No. 17-CV-768. The plaintiffs in that case

                    alleged that Ciox improperly charged a class of individuals certification and

                    retrieval fees under Wis. Stat. § 146.83, just as Plaintiff alleges here. (Compare

                    Exhibit 2: Dilger Compl. to Exhibit 1.) Further, the putative Dilger class

                    completely encompasses the putative “IOD Class” in this case and mostly

                    encompasses the putative “Columbia St. Mary’s Class” in this case.

                b. On July 24, 2017, Donia Meyer filed Meyer v. Ciox Health, et al., Dane County,

                    Wisconsin Case No. 17-CV-1788. The plaintiff in that case alleged that Ciox

                    improperly charged a class of individuals certification and retrieval fees under

                    Wis. Stat. § 146.83, just as Plaintiff alleges here. (Compare Exhibit 3: Meyer


                                                     3

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                    Compl. to Exhibit 1.) The putative Meyer class also overlapped almost entirely

                    with the putative classes in this case.

       12.     As required by 28 U.S.C. § 1446(a), all process, pleadings, and orders served upon

Ciox are attached as Exhibit 4.

       13.     Concurrent with the filing of this Notice of Removal, Ciox will notify Plaintiffs and

the Clerk of the Circuit Court for Milwaukee County that this case is the subject of a petition for

removal in the United States District Court for the Eastern District of Wisconsin, as required by 28

U.S.C. § 1446(d).

       Dated: February 28, 2018.

                                                 GASS WEBER MULLINS LLC
                                                 Attorneys for Defendant Ciox Health, LLC
                                                 s/Daniel A. Manna
                                                 John Franke, SBN 1017283
                                                 Daniel A. Manna, SBN 1071827
                                                 241 N. Broadway, Suite 300
                                                 Milwaukee, Wisconsin 53202
                                                 (414) 223-3300 – phone
                                                 (414) 224-6116 – fax
                                                 franke@gwmlaw.com
                                                 manna@gwmlaw.com




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                   Exhibit 1




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                                                                                            Clerk of Circuit Court
                                                                                            2018CV000607
STATE OF WISCONSIN                      CIRCUIT COURT                   MILWAUKEE CMUfI4bV Ellen R
                                                                                            Brostrom-06


TIMOTHY RAVE
1546 N. 122°d Street
Wauwatosa, WI 53226


Individually and on behalf of a class of others similarly
situated,
                                                                         Case No.:
        Plaintiff                                                        Case Code: 30301

        V.

CIOX HEALTH, LLC
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison , WI 53717

and

COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC.
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison , WI 53717

        Defendants.


                                            SUMMONS




THE STATE OF WISCONSIN
To each person named above as a Defendant:
        You are hereby notified that the Plaintiff named above has filed a lawsuit or other legal
action against you. The Complaint, which is attached, states the nature and basis of the legal action.
        Within 45 days of receiving this Summons you must respond with a written answer, as that
term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The court may reject or
disregard an answer that does not follow the requirements of the statutes. The answer must be sent




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or delivered to the court, whose address is Milwaukee County Courthouse, 901 North Ninth Street,
Milwaukee, Wisconsin 53233 and to Welcenbach Law Offices, S.C., Plaintiffls attorney, whose
address is 933 N. Mayfair Rd., Suite 311, Milwaukee, Wisconsin 53226. You may have an attorney
help or represent you.
       If you do not provide a proper answer within 45 days, the court may grant judgment against
you for the award of money or other legal action requested in the Complaint and you may lose your
right to object to anything that is or may be incorrect in the Complaint. A judgment may be enforced
as provided by law. A judgment awarding money may become a lien against any real estate you
own now or in the future, and may also be enforced by garnishment or seizure or property.


        Dated at Milwaukee, Wisconsin this 22°d day of January, 2018.

                                              WELCENBACH LAW OFFICES, S.C.
                                              Attorneys for Plaintiff

                                              By: /s/Electronically signed by Robert J. Welcenbach
                                                      Robert J. Welcenbach — SBN: 1033091
P.O. Address
933 N. Mayfair Rd., Ste. 311
Milwaukee, WI 53226
(414)774-7330
Facsimile: (414) 774-7670




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                                                                                      01-22-2018
                                                                                      John Barrett
                                                                                      Clerk of Circuit Court
                                                                                      2018CV000607
                                                                                      Honorable Ellen R
                                                                                      Brostrom-06
                                                                                      Branch 06

STATE OF WISCONSIN                     CIRCUIT COURT                   MILWAUKEE COUNTY


TIMOTHY RAVE
1546 N. 122°a Street
Wauwatosa, WI 53226


Individually and on behalf of a class of others similarly
situated,
                                                                       Case No.:
       Plaintiff                                                       Case Code: 30301

       V.

CIOX HEALTH, LLC
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison , WI 53717

and

COLUMBIA ST. MARY'S HOSPITAL NIILWAUKEE, INC.
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison , WI 53717

       Defendants.


                                CLASS ACTION COMPLAINT
                                           &
                                REQUEST FOR JURY TRIAL


       Plaintiff Timothy Rave ("Rave" or "Plaintiff'), through his undersigned counsel files this

Class Action Complaint and Request for Jury Demand on his individual behalf and on behalf a

class of all similarly situated persons against Defendants and says in suppoirt:




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                                      I.      PARTIES

1. Plaintiff is an adult resident of the State of Wisconsin who resides at the address

   captioned above.

   That IOD Incorporated was a Wisconsin corporation that acted as the agent for and/or

   business associate for COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC

   ("CSM") and determined the amounts to charge and assessed charges for the requests

   for certified medical records for CSM with the consent and approval of CSM.

3. That IOD Incorporated ceased to exist on December 31, 2015 when it merged with

   Healthport Technologies, LLC. That Healthport Technologies, LLC was designated as

   the surviving company.

4. As the surviving company, Healthport Technologies, LLC took ownership of all of the

    assets of IOD Incorporated and.assumed all of the liabilities of IOD, Incorporated when

    IOD Incorporated was dissolved and merged into Healthport Technologies, LLC on

    December 31, 2015.

5. Healthport Technologies, LLC changed its name to CIOX Health, LLC on or about

    March 2, 2016.

6. The Defendant, CIOX HEALTH, LLC, ("CIOX") is a corporation duly licensed to

    conduct business in the State of Wisconsin doing business as "Ciox" has assumed all of

    the liabilities of IOD, Incorporated and is thus liable to Plaintiffs and the putative class

    members for all of the damages claimed herein.

7. That CIOX as the surviving company to the aforesaid merger is responsible and liable

    for the actions and obligations of IOD as alleged herein.

8. The Defendant, COLUMBIA ST: MARY'S HOSPITAL MILWAUKEE, INC. ("CSM")




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   is a Wisconsin corporation headquartered at 2323 N. Lake Drive, WI 53211 and is duly

   licensed to conduct business in the State of Wisconsin and whose registered agent for

   service of process is captioned above. That, upon information and belief, CSM is a

   "health care provider" pursuant to Wis. Stat. §146.81.

                                    II. BACKGROUND

9. The Citizens of Wisconsin have valid interests in obtaining copies of their medical

   records. They may want them to provide to their healthcare providers, for further

   evaluation, to pursue legal claims for injuries or simply to maintain the records out of

   personal concerns. Whatever the reason, the records must be made available for them to

   obtain.

10. While the citizens may want to obtain copies of their health records, the medical

   providers do not want to bear the expense of providing copies of the records to their

   patients.

11. The Wisconsin Legislature has addressed the respective wants and needs of both patients

   and the health care providers by enacting a statute, Wis. Stat. §146.83, that establishes

   the patient's rights to copies and sets the maximum compensation that the health care

   providers who provide the records may charge.

12. At this time, the production of copies of electronically stored information can be

   accomplished at minimal cost. The copy cost by a third party, such as Staples, starts at

    $.03 per page for black and white and up to $.12 per page for color copies.

13. The rates allowed by the Wisconsin law are substantially more than the costs of

    obtaining copies form third parties. Under Wis. Stat. § 146.83, the charges may be as

    follows:




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                           (b) Except as provided in sub. (1 f), a health care
                           provider may charge no more than the total of all of the
                           following that apply for providing the copies requested
                           under par. (a):

                           1.For paper copies: $1 per page for the first 25 pages;
                           75 cents per page for pages 26 to 50; 50 cents per page
                           for pages 51 to 100; and 30 cents per page for pages 101
                           and above.

                           2. For microfiche or microfilm copies, $1.50 per
                           page.

                           3. For a print of an X-ray, $10 per image.

                           4. If the requester is not the patient or a person
                           authorized by the patient, for certification of copies, a
                           single $8 charge.

                           5. If the requester is not the patient or a person
                           authorized by the patient, a single retrieval fee of $20 for
                           all copies requested.          1




                           6. Actual shipping costs and any applicable taxes.

14. A patient or a"person authorized in writing by the patient" who pays the fee is entitled

   to copies at the statutory rate and the "health care provider" must provide them pursuant

   to that rate under Wis. Stat. § 146.83(3f).

15. Medical records may be released without the patient's authorization under Wis. Stat.

   146.82(2), and, in that event, the provider may charge the $8.00 certification fee and a

   $20.00 retrieval fee.

16. This action arises because the Defendants, have attempted to enhance their profits that

   they can make off the already generous allowable legislative per copy charge by also

   routinely charging patients or persons authorized by the patient, an $8.00 certification

   fee, a$20.00 retrieval fee, processing, basic or other fees not authorized by the statute.




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17. That on May 4, 2017, the Wisconsin Supreme Court issued a decision in Moya v.

   Healthport Technologies, et. al, 2017WI 45 (2017) olding that a health care provider and

   their medical records provider may not charge certification, basic, processing or retrieval

   fees for producing a patient's records if the records are requested by either the patient or

   any person authorized in writing by the patient. The person authorized in writing acts

   the agent for a known principal.

18. That a copy of the decision is attached hereto as Exhibit A.

19. The Plaintiff, Timothy Rave, is one of many persons who the Defendants charged

   illegal fees contrary to Wis. Stat. §146.83.

20. The Plaintiff also seeks to represent himself and the other persons who are similarly

   situated to him because the relatively low dollar amount of the illegal charges by the

   Defendants make it an appropriate situation for a case under Wis. Stat. Sec. §803.08

   which provides:

                  When the question before the court is one of a common or
                  general interest of many persons or when the parties are very
                  numerous and it may be impracticable to bring them all before
                  the court, one or more may sue or defend for the benefit of the
                  whole.

21. Whether or not the Defendants charged in excess of the generous amounts allowed by

    Wisconsin law is a common or general interest to any person who has been charged by

    the Defendants or who may deal with the Defendants in the future.

22.. Upon information and belief, the common or general interest question raised and causes

    of actions presented are of a common and general interest of many persons and those

    persons are very numerous and it would be impracticable to bring all such persons

    before the court.

23. Plaintiff should be permitted to proceed to sue for the benefit of the following classes:




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        Columbia St. Mary's Class:

        All persons in Wisconsin:

        (i) who were patients at Columbia St. Mary's who authorized another person in

        writing to obtain the patient's medical records from Columbia St. Mary's; and

        (ii) were charged a basic, retrieval and/or a certification fee by Defendant

        Columbia St. Mary through its agent IOD, in violation of Wis. Stat.

        §146.83(3f)(b)(4) -(5) from July 1, 2011 through December 31, 2015; or

        (iii) were charged a basic, retrieval and/or a certification fee by Defendant

        Columbia St. Mary directly or indirectly through its agent other than IOD in

        violation of Wis. Stat. §146.83(3f)(b)(4) -(5) since July 1, 2011 through the date

        of trial; or

        IOD Class:

        All persons in Wisconsin who:

        (i) were patients at a medical provider other than Columbia St. Mary's who

        authorized another person in writing to obtain the patient's medical records; and

        (iii) were charged a basic, retrieval and/or a certification fee by IOD in violation

        of Wis. Stat. §146.83(3f)(b)(4) - (5); and

        (iv) since July 1, 2011 through December 31, 2015.

                The Classes specifically excludes the following persons or entities: (i)

        Defendants, any predecessor, subsidiary, sister and/or merged companies, and all

        of the present or past directors, officers, employees, principals, shareholders and/or

        agents of the Defendants; (ii) any and all Federal, State, County and/or Local



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          Governments, including, but not limited to their departments, agencies, divisions,

          bureaus, boards, sections, groups, councils and/or any other subdivision, and any

          claim that such governmental entities may have, directly or indirectly; (iii) any

          currently-sitting Wisconsin state court Judge or Justice, or any federal court Judge

          currently or previously sitting in Wisconsin, and the current spouse and all other

          persons within the third degree of consanguinity to such judge/justice or (iv) any

          law firm of record in these proceedings, including any attorney of record in these

          proceedings; and (v) anyone person who would otherwise belong to the class but

          who Defendants can identify as being charged a fee, either directly or indirectly

          through a person authorized in writing, but said fee was not collected or paid to

          Defendants by anyone.

                             III. JURISDICTION & VENUE

24. This Court has jurisdiction over Defendants in that Defendants are physically located in

   Milwaukee County and conduct substantial business in Milwaukee County and are

   registered in this State to conduct business. This transaction further arose in Milwaukee

   County.

25. Venue is also appropriate in this County because Defendants are based in Milwaukee

   County and conduct substantial business in Milwaukee County and has, upon information

   and belief, employees based in Milwaukee County.

                                        IV. FACTS

26. Timothy Rave was injured on July 23, 2013 when he was involved in a car crash.

27. Mr. Rave retained Welcenbach Law Offices as his attorneys who processed his personal

   injury claim.




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28. Mr. Rave signed HIPAA releases authorizing the release of inedical information to his

   attorneys.

29. Mr. Rave's attorneys sought certified medical records and billings from Defendant, CSM.

                           A. Certified Medical Bill Request - CSM

30. That on or about December 11, 2013, Mr. Rave's attorneys wrote and requested certified

   medical bills from CSM and provided a written consent in the form of a HIPAA release

   signed by Mr. Rave.

31. That IOD responded to the medical bill request on behalf of CSM and provided a four

   (4) page certified bill for Mr. Rave and charged on invoice number 26252002 the sum of

   $35.84.

32. That Welcenbach Law Offices paid the $35.84 charge to IOD on behalf of Mr. Rave to

   obtain his certified medical bills.

33. That CSM and IOD charged certification, retrieval, processing and/or basic fees to Mr.

   Rave contrary to Wis. Stat. §146.83 to obtain his certified medical bills.

34. That Defendants have negligently or knowingly and willfully charged these fees

   contrary to statute.

                          B. Certified Medical Records Request - CSM

35. That on or about December 11, 2013, Mr. Rave's attorneys wrote and requested certified

   medical records from CSM and provided a written consent in the form of a HIPAA release

   signed by Mr. Rave.

36. That IOD responded to the medical records request on behalf of CSM and provided forty

   three (43) pages of certified medical records for Mr. Rave and charged on invoice number

   26247649 the sum of $75.28 for the certified medical records of Mr. Rave.




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37. That Welcenbach Law Offices paid the $75.28 charge to IOD to obtain the certified

   medical records for Mr. Rave.

38. That IOD and CSM charged certification, processing, retrieval and/or basic fees to Mr.

   Rave contrary to Wis. Stat. §146.83 to obtain his certified medical records.

39. That IOD and CSM have negligently or knowingly and willfully charged these fees

   contrary to statute.



                    VIOLATION OF WIS. STAT. §146.83
              ON BEHALF OF PLAINTIFF AND CLASS MEMBERS

40. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.

41. That Rave ultimately settled his personal injury case and reimbursed Welcenbach Law

   Offices for all charges incurred from Defendants.

42. That Ciox, having assumed all of the liabilities of IOD, and CSM are jointly and severally

   liable for the damages to Plaintiff and the Class Members.

43. In Wisconsin, access to patient health care records is governed by Wis. Stat. § 146.83.

   Wis. Stat. §146.83(3f)(a) provides in pertinent part:

          Except as provided in sub. (lf) or s. 51.30 or 146.82 (2), if a person
          requests copies of a patient's health care records, provides informed
          consent, and pays the applicable fees under par. (b), the health care
          provider shall provide the person making the request copies of the
          requested records.

  Wis. Stat. §146.83(3f)(a) (Emphasis added.)

44. Wis. Stat. §§146.83(3f)(b)(1) -(6) set out the maximum charges that may be charged and

   collected for medical records and provides:

          Except as provided in sub. (I f), a health care provider may charge no more
          than the total of all of the following that apply for providing the copies
          requested under par. (a):




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            1.       For paper copies: $1 per page for the first 25 pages; 75 cents per
            page for pages 26 to 50; 50 cents per page for pages 51 to 100; and 30
            cents per page for pages 101 and above.
            2.       For microfiche or microfilm copies, $1.50 per page.
            3.       For a print of an X—ray, $10 per image.
            4.       If the requester fs not the patient or a person authorized by the
            patient, for certification of copies, a single $8 charge.
            5.       If the requester is not the patient or a person authorized by the
            patient, a single retrieval fee of $20 for all copies requested.
            6.       Actual shipping costs and any applicable taxes.

  Wis. Stat. §146.83(3f)(b)(1) - (6) (emphasis added.)

45. The phrase "person authorized by the patient" is defined in Wis. Stat. § 146.81(5) to mean

   "any person authorized in writing by the patient." This language is unambiguous and clear

   and would obviously exempt anyone with a HIPAA compliant medical records release.

46. Mr. Rave filed this suit because he was wrongfully charged a basic, certification,

   processing or retrieval fee by the Defendants in violation of Wis. Stat. §146.83(3f)(b)(4)

   - (5).

47.. For medical records production related to IOD invoice number 26247649, the IOD and

   CSM charged the Plaintiff a certification fee, processing fee, basic or retrieval fees

   although the request was made by the plaintiff or a person authorized in writing by the

   Plaintiff, namely, his attorneys.

48. For medical records production related to IOD invoice number 26252002, the IOD and

   CSM charged the Plaintiff a certification fee, processing fee, basic or retrieval fees

   although the request was made by the plaintiff or a person authorized in writing by the

    Plaintiff, namely, his attorneys.

49. That all irivoices issued from IOD and/or CSM to Plaintiff or his counsel were paid.

50. That IOD and/or CSM have charged other Wisconsin residents a retrieval fee, basic,

   processing and/or a certification fee or other inappropriate fees although the request for




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   the records or bills was made by the patients themselves or persons authorized in writing

   by them.

51. That IOD and/or CSM were not entitled to charge the Plaintiff or the Class Members a

   basic fee, processing fee, certification fee or retrieval fees when they request their own

   records or someone authorized by them in writing has requested their records.

52. That IOD and/or CSM have charged non-allowed fees and fees in excess of the amounts

   allowed by Wisconsin law.

53. That IOD and CSM have violated the provisions of Wis. Stat. §146.83.

54. The Plaintiff and the Class Members who have been charged a basic fee, processing fee,

   retrieval fee or certification fee when that person or a person authorized by them in writing

   has requested their own records, is entitled to recover the fees charged by the Defendants.

55. That IOD and/or CSM knowingly and willfully violated Wis. Stat. §146:83 by charging

   retrieval fees, certification fee or other inappropriate fees.

56. That the violation of Wis. Stat. §146.83, subjects Ciox, due to its having assumed all

   liability of IOD, and CSM to exemplary damages of between $1.00 and $25,000.00 per

   violation, plus costs and reasonable actual attorney fees pursuant to Wis. Stat.

   § 146.84(1)(a).

57. That Plaintiff and the Class Members have incurred actual damages due to the knowing

   and willful violation of Wis. Stat. §146.83 by IOD and/or CSM.

58. That Plaintiff and the Class Members are entitled to recover their damages, plus exemplary

   damages of between $1.00 and $25,000.00 per violation, plus costs and reasonable actual

   attorney fees from Defendants for the knowing and willful violation of Wis. Stat. § 146.83

   by IOD and/or CSM.




                                             11

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59. That, alternatively, IOD and/or CSM negligently violated Wis. Stat. § 146.83 by charging

   retrieval fees, certification fee or other inappropriate fees.

60. A negligent violation of Wis. Stat. §146.83, subjects Defendants to exemplary damages

   of between $1.00 and $1,000.00 per violation, plus costs and reasonable actual attorney

   fees pursuant to Wis. Stat. §146.84(1)(b).

61. That Plaintiff and the Class Members have incun ed actual damages due to the negligent

   violation of Wis. Stat. §146.83 by IOD and/or CSM.

62. That Plaintiff and the Class Members are entitled to recover their damages, plus exemplary

   damages of between $1.00 and $1,000.00 per violation, plus costs and reasonable actual

   attorney fees from Defendants for the negligent violation of Wis. Stat. § 146.83.



   UNJUST ENRICHMENT - DISGORGEMENT

63. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.

64. IOD and CSM knew the monies charged were unlawful.

65.IOD and/or CSM appreciated and received the benefit of the monies they charged

   illegally.

66. IOD and/or CSM's retention of said benefit is inequitable and unjust and Defendants

   should be required to return said monies and disgorge all illegal charges, profits and

   interest earned on same.

          WHEREFORE, Plaintiff respectfully requests the Court enter judgment in favor of

   Plaintiff and the Class Members and against the Defendants as followsl:

          1) Certify the Proposed Classes, appoint the Plaintiff as Class Representative and

                appoint his counsel as Class Counsel;




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       2) For compensatory damages in an amount to be determined at trial by a jury;

       3) For exemplary damages up to $25,000.00 per violation, plus costs and

          reasonable actual attorney's fees incurred by Plaintiff(s);

       4) For the return of all monies, profit, interest and pre judgment interest on all

          sums illegally collected;

       5) For such other and further relief as this court finds necessary and proper.




                 PLAINTIFF REQUESTS A TRIAL BY JURY



                                             Dated this 22"d day of January, 2018.


                                             WELCENBACH LAW OFFICES, S.C.
                                             Attorney for Plaintiff


                                             Electronically submitted by Robert J. Welcenbach
                                             Robert J. Welcenbach
                                             State Bar No. 1033091




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                  SUPRENME COURT OF WI SCONS IN

CASE   No.:               2014AP2236
COMPLETE TITLE:           Carolyn Moya,
                                    Plaintiff-Respondent-Petitioner,
                               V.
                          Aurora Healthcare, Inc. and Healthport
                          Technologies, LLC,
                                    Defendants-Appellants.

                            REVIEW OF A DECISION OF THE COURT OF APPEALS
                                  366 Wis. 2d 541, 874 N.W. 2d 336
                                     (2016 WI App 5 - Published)

OPINION FILED:            May 4, 2017
SUBMITTED ON BRIEFS:
ORAL ARGUMENT:            October 20, 2016

SOURCE OF APPEAL:
  COURT:                  Circuit
  COUNTY:                 Mi lwau kee
  JoDGE:                  Karen E. Christenson

JUSTICES:
  CONCURRED:
  DISSENTED:              ZIEGLER, J. dissents (opinion filed) .
  tvoT   PARTICIPATING:   BRADLEY, R. G. , J. and KELLY, J. did not
                          participate.

ATTORNEYS:
         For the plaintiff-respondent-petitioners, there was a brief
by       Robert     J. Welcenbach       and   Welcenbach   Law Offices, S.C.,
Milwaukee, and oral argument by Robert J. Welcenbach.


         For the defendants-appellants, there was a brief by John
Franke, Daniel A. Manna                 and   Gass, Weber and Mullins,      LLC,
Milwaukee, and oral argument by John Franke.




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                                                                  NOTICE
                                                    This opinion is subject to further
                                                    editing and modification. The final
                                                    version will appear in the bound
                                                    volume of the official reports.
No.         2014AP2236
(L.C. No.       13-CV-2642)

STATE OF WISCONSIN                              .            IN SUPREME COURT

Carolyn Moya,

                Plaintiff-Respondent-Petitioner,
                                                                      FILED
        V   .
Aurora Healthcare, Inc. and Healthport                            MAY 4, 2017
Technologies, LLC,
                                                                    Diane M. Fremgen
                                                                 Clerk of Supreme Court
                Defendants-Appellants.




        REVIEW of a decision of the Court of Appeals.                 Reversed and

remanded for further proceedings.



        11 MICHAEL J. GABLEMAN, J. This is a review of a

published decision of the court of appeals that reversed the

Milwaukee County circuit court'sl denial of Aurora Healthcare,

Inc. and Healthport Technologies, LLC's (collectively referred

to as "Healthport") motion for summary judgment and remanded the

case with directions to grant Healthport's motion for summary


        1   The Honorable Karen E. Christenson presiding.




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judgment. Moya v. Aurora Healthcare, Inc., 2016 WI App 5, 366

Wis. 2d 541, 874 N.W.2d 336.

     9I2   Today, we are asked to interpret the meaning of the

phrase "person authorized by the patient" in Wis. Stat.

§ 146.83(3f)(b)4.-5. (2013-14),2 which exempts a"patient or a

person authorized by the patient" from paying certification

charges and retrieval fees for obtaining copies of the patient's

health care records.        More particularly, we are asked to
determine whether an attorney whose client authorized him via a

HIPAA3 release form to obtain her health care records may benefit

from this fee exemption. Because the phrase "person authorized

by the patient" is defined in Wis. Stat. § 146.81(5) to include

"any person authorized in writing by the patient," we hold that

an attorney authorized by his or her client in writing via a

HIPAA release form to obtain the client's health care records is

a "person authorized by the patient" under Wis. Stat.

§ 146.83(3f)(b)4.-5. and is therefore exempt from certification

charges and retrieval fees under these subdivisions.

Consequently, the decision of the court of appeals is reversed,

and the case is remanded.for further proceedings consistent with

this opinion.


     2 All subsequent references to tYie Wisconsin Statutes are to
the 2013-14 version unless otherwise indicated.

     3 HIPAA stands for Health Insurance Portability and
Accountability Act.    A HIPAA release form is a type of form
wherein a patient consents to the release of his or her health
care information to a third party.



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    < Q3 We begin with a brief factual background and

description of the procedural history.          We then set forth the

standard of review and the relevant rules for statutory

interpretation.       We then conclude that Carolyn Moya's ("Moya")

attorney is a"person authorized by the patient" under Wis.

Stat. § 146.83(3f)(b)4.-5. and is therefore exempt from the

certification charge and retrieval fee authorized by that

statute. Next, we address Healthport's arguments that the

doctrines of voluntary payment and waiver bar Moya's claim.

            I. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

     A. The Statutes Governing Access to Health Care Records

     9[4   Access to patient health care records is governed by              ~

Wis. Stat. § 146.83. Under subsec. (3f), a health care provider

shall, subject to exceptions that are inapplicable here, provide

copies of a patient's health care records "if a person requests

copies of a patient's health care records, provides informed

consent, and pays the applicable fees under par. (b)."

§ 146.83 (3f) (a) .
     15 Pursuant to para. (b), health care providers may

impose certain costs on the person requesting health care

records under para. (a):

          (b) Except as provided in sub. (lf), a health
     care provider may charge no more than the total of all
     of the following that apply for providing the copies
     requested under par. (a):

          1. For paper copies:   $1 per page for the first
     25 pages; 75 cents per page for pages 26 to 50; 50
     cents per page for pages 51 to 100; and 30 cents per
     page for pages 101 and above.

                                    3


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             2. For microfiche or microfilm copies, $1.50 per
     page.

             3. For a print of an X-ray, $10 per image.

          4. If the requester is not the patient or a
     person authorized by the p~ tient, for certification of
     copies, a single $8 charge.

          5. If the requester is not the patient or a
     person authorized by the patient, a single retrieval
     fee of $20 for all copies requested.

          6. Actual shipping costs and any. applicable
     taxes.
Wis. Stat. § 146.83(3f)(b) (emphasis added). According to subd.

4. and subd. 5., the patient and a person authorized by the

patient are exempt from the certification charge and retrieval

fee. This statute, though, does not provide a definition for a

"person authorized by the patient."

     116 Instead, a"person authorized by the patient" is

defined in Wis. Stat. § 146.81(5) as

     the parent, guardian, or legal custodian of a minor
     patient, as defined in s. 48.02 (8) and (11), the
     person vested with supervision of the child under s.
     938.183 or 938.34 (4d), (4h), (4m), or (4n), the
     guardian of a patient adjudicated incompetent in this
     state, the person representative, spouse, or domestic
     partner under ch. 770 of. a deceased patient, any
     person authorized in writing by the patient or a
     health care agent designated by the patient as a
     principal under ch. 155 if the patient has been found
     to be incapacitated under s. 155.05 (2), except as
     limited by the power of attorney for health care
     instrument. If no spouse or domestic partner survives
     a deceased patient, "person authorized by the patient"
     also means an adult member of the deceased patient's
     immediate family, as defined in s. 632.895 (1) (d) . A
     court may appoint a temporary guardian for a patient
     believed incompetent to consent to the release of
     records under this section as the person authorized by

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       the patient to decide upon the release of records, if
       no guardian has been appointed for the patient.
(Emphasis added). Because this definition uses the disjunctive

"or," see Hull v. State Farm Mut. Auto. Ins., 222 Wis. 2d 627,

638,       586 N.W.2d 863   (1998)   ("'[O]r'   should be interpreted

disjunctively."), in order to be a person authorized by the

patient under Wis. Stat. § 146.83(3f)(b)4.-5., and therefore

enjoy exemption from the certification charge and retrieval fee,

a person must fall into only one of the above categories of

persons. One of the categories in the above definition is "any

person authorized in writing by the patient," and it is this

category on which Moya relies in arguing that her attorney is a

"person authorized by the patient" under § 146.83(3f)(b)4.-5.

                    B. Moya's Class Action Lawsuit

       9I7    This case comes to us by way of a class action lawsuit

filed by Moya on behalf of not only herself but all other

similarly situated persons who have been billed the

certification charge and retrieval fee by Healthport for

obtaining their own healthcare records. The class action arose

from Moya's personal injury claim9 in which Moya hired Welcenbach
Law Offices, S.C. to represent her and the law firm had to pay

the certification charge and retrieval fee, despite the fact
that Moya had authorized the law firm in writing to obtain those

records.


       Moya's personal injury claim arose from a car accident in
       4
2011 from which she sustained injuries.    This claim has since
been settled.



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    18 Moya authorized her attorney, Robert Welcenbach, to

obtain her health care records by signing HIPAA release forms

giving to Welcenbach Law Offices, S.C. "authoriz[ation] to

receive [her] health information."

    19 Atty. Welcenbach subsequently submitted requests for

Moya's health care records,s and Healthport, when fulfilling the

requests, imposed certification charges and retrieval fees

pursuant to Wis. Stat. § 146.83(3f)(b)4.-5.           Atty. Welcenbach

paid the certification charges and retrieval fees and passed the

associated costs to Moya by deducting the costs from the

settlement proceeds resulting from her personal injury claim.6

    9[10 At the time Healthport invoiced Atty. Welcenbach, he

paid the costs, and he did not specifically dispute them.

However, he had on multiple previous occasions disputed the

imposition of such costs in other cases.




     5 Atty. Welcenbach submitted his request to Moya's health
care provider, Aurora Healthcare, Inc. ("Aurora"), but Aurora
and Healthport have an agreement whereby Healthport handles
Aurora's health care records requests.

     6 The total deducted from Moya's settlement proceeds for
these costs was $294.70.

     Contrary to the assertion made by the dissent, the fact
that Atty. Welcenbach passed these costs along to Moya was not a
factor in arriving at our conclusion that Atty. Welcenbach is a
person authorized by the patient for purposes of Wis. Stat.
§ 146.83(3f)(b)4.-5.  See dissent, 1162 n.3.   Our determination
that Atty. Welcenbach is a person so authorized is derived from
our application of the plain language of the statute and nothing
more.



                                   ~


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     I11 In response to Healthport's imposition of the

certification charges and retrieval fees, Moya filed this class

action lawsuit. She argues that Healthport violated Wis. Stat.

§ 146.83(3f)(b)4.-5. when it imposed the certification charges

and retrieval fees because her attorney is a"person authorized

by the patient," thereby exempting her attorney from paying the

certification charges and retrieval fees.

     112 Healthport moved to dismiss Moya's complaint for

failure to state a claim, and the circuit court7 denied

Healthport's motion.          Healthport filed an answer, and the

parties underwent limited discovery.                 After the limited

discovery, Healthport filed a motion for summary judgment asking

the circuit court to dismiss Moya's claim with prejudice. The

circuit court8 denied Healthport's motion.            Healthport filed a

motion for reconsideration, and the circuit court9 again denied

Healthport's motion.

     113 Healthport filed an interlocutory appeal, and the

court of appeals reversed the circuit court's denial of

Healthport's motion for summary judgment and remanded the case

with instructions to grant Healthport's motion.                  Moya, 366

Wis. 2d 541, 11.        The court of appeals determined that Moya's

attorney was not a"person authorized by the patient" and


    ' The Honorable William W. Brash III presiding.

     $ The Honorable Karen E. Christenson presiding.

     9   The Honorable Pedro A. Colon presiding.



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therefore Healthport could impose the certification charges and
retrieval fees on Moya's attorney.          Id., 9116.     Judge Kessler
dissented stating that she would uphold the circuit court's

denial of Healthport's motion for summary judgment and would

conclude that Healthport could not impose the certification

charge and retrieval fee.               Id., 9[9[28-29 (Kessler, J.,
dissenting).

     114 Moya petitioned this court for review, which we

granted in order to determine whether her attorney is a"person

authorized by the patient" and thus exempt from paying the

certification charge and the retrieval fee found in Wis. Stat.
§ 146.83 (3f) (b) 4.-5.

                          II. STANDARD OF REVIEW

     115 "Whether the circuit court properly granted summary

judgment is a question of law that this court reviews de novo."

Racine County v. Oracular Milwaukee, Inc., 2010 WI 25, 9[24, 323
Wis. 2d 682,    781 N.W.2d 88       (quoting Hocking       V.   City of
Dodgeville, 2009 WI 70, 9I7, 318 Wis. 2d 681, 768 N.W.2d 552).

Summary judgment must be granted "if the pleadings, depositions,
answers to interrogatories, and admissions on file, together

with the affidavits, if any, show that there is no genuine issue

as to any material fact and that the moving party is entitled to
a judgment as a matter of law."          Wis. Stat. § 802.08(2).        In

making this determination, this court applies a two-step test.

Green Spring Farms v. Kersten, 136 Wis. 2d 304, 314-15, 401

N.W.2d 816 (1987). Under the first step, this court asks if the

plaintiff stated a claim for relief.          Id. at 315.       Under the

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second step, this court applies the summary judgment statute and

asks if any factual issues exist that preclude summary judgment.

Id.

      1116 "We review questions of statutory interpretation and

application independently, but benefiting from the discussions

of the circuit court and the court of appeals." State v.

Grunke, 2008 WI 82, 110, 311 Wis. 2d 439, 752 N.W.2d 769.

                            III. DISCUSSION

             A. The Rules of Statutory Interpretation

      9[17 "[T]he purpose of statutory interpretation is to

determine what the statute means so that it may be given its

full, proper, and intended effect."           State ex rel. Kalal v.

Circuit Court for Dane Cty., 2004 WI 58, 9[44, 271 Wis. 2d 633,

681 N.W.2d 110.     Statutory interpretation begins with the text

of the statute.     Id., 9[45 (quoting Seider v. 0'Connell, 2000 WI

76, 9[43, 236 Wis. 2d 211, 612 N.W.2d 659).         If the text of the

statute is plain and unambiguous, our inquiry stops there. Id.

(quoting Seider, 236 Wis. 2d 211, 143).

      118 If the text is ambiguous, we must look beyond the text
to other, extrinsic sources of information, such as legislative

history, to interpret the statute.         Id., 9[46.   "[A] statute is

ambiguous if it is capable of being understood by reasonably

well-informed persons in two or more senses."           Id., 9147.      Even

without ambiguity, though, we may consult extrinsic sources to

confirm our understanding of the plain language of a statute.

Id., -151.



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     9[19 "Statutory language is given its common, ordinary, and

accepted meaning, except that technical or specially-defined

words or phrases are given their technical or special

definitional meaning." Id., 9[45. We also look to the context:

"[S]tatutory language is interpreted in the context in which it

is used; not in isolation but as part of a whole; in relation to

the language of surrounding or closely-related statutes; and

reasonably, to avoid absurd or unreasonable results." Id., 146.
 B. Interpretation of "Any Person Authorized in Writing by the

                                Patient"

     120 Moya argues that "any person authorized in writing by

the patient" in Wis. Stat. § 146.81(5) is "defined broadly by

the legislature" and that the plain meaning of the statutory

language requires nothing more than a person and a written

authorization from the patient. Thus, Moya's attorney qualifies

as a"person authorized in writing by the patient" simply

because he is a person and has a written authorization froni Moya

in the nature of the, HIPAA release form.           Healthport, on the

other hand, argues that the context of § 146.81(5) indicates

that the person authorized in writing by the patient must (in

addition to having authorization to obtain health care records)

also be authorized to make health care decisions on behalf of

the patient. In response to this argument, Moya says Healthport

can achieve this definition only by adding its own language to

the statute.
     121 After examining the language of the statute and

applying the well-established rules of statutory interpretation,

                                   10


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we agree with Moya. The context of the statutory definition of

"person authorized by the patient" provided in § 146.81(5)

indicates that "any person authorized in writing by the patient"

is a stand-alone category, separate and apart from the remaining

categories, containing no limitations beyond those expressly

written.    We base our determination in this regard on the

punctuation and conjunctions given in the statute and see these

categories as follows:

     (1) "[T]he parent, guardian, or legal custodian of a minor
         patient, as defined in s. 48.02 (8) and (11)";

     (2) "the person vested with supervision of the child under
         s. 938.138 or 938.34 (4d), (4h), (4m), or (4n)";

     (3) "the guardian of a patient adjudicated incompetent in
         this state";

     (4) "the personal representative, spouse, or domestic
         partner under ch. 770 of a deceased patient";

     (5) "any person authorized in writing by the patient or";

     (6)   "a health care agent designated by the patient as a
           principal under ch. 155 if the patient has been found
           to be incapacitated under s. 155..05(2), except as
           limited by the power of attorney for health care
           instrument."

     (7) "If no spouse or domestic partner survives a deceased
         patient, 'person authorized by the patient' also means
         an adult member of the deceased patient's immediate
         family, as defined in s. 632.895(1)(d)."

     (8) "A court may appoint a teinporary guardian for a
         patient believed incompetent to consent to the release
         of records under this section as the person authorized
         by the patient to decide upon the release of the
         records, if no guardian has been appointed for the
         patient."
Wis. Stat. § 146.81(5) (emphasis added).

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     422 Thus, the phrase "any person authorized in writing by

the patient" must be interpreted as its own category of persons

authorized by the patient.              The statutory language is

unambiguous in that it requires only a person with a written

authorization from the patient.           The plain meaning of the

statute does not require that the authorization be an

authorization to make health care decisions on behalf of the

patient.    Thus, when the phrase "person authorized by the
patient" is used in Wis. Stat. § 146.83(3f)(b)4.-5. in the

context of obtaining copies of health care records, it includes

"any person authorized in writing by the patient" to obtain such

records.    The definition requires no additional authorization

for such person to qualify for the exemption from the

certification charge and retrieval fee.

     123 Healthport argues that this conclusion is inconsistent

with the general principle that we interpret an item in a list

consistently with the remaining items in the list. See State v.

Popenhagen, 2008 WI 55, 1146, 309 Wis. 2d 601, 749 N.W.2d 611.

From this general principle, Healthport urges us to conclude

that "any person authorized in writing by the patient" must have

the ability to make health care decisions on the patient's

behalf. Healthport's argument runs as follows: Because each of

the other categories of persons in the definition of "person

authorized by the patient" in Wis. Stat. § 146.81(5) has the

authority to make health care decisions on behalf of the

patient, the fifth category listed above must have that


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authority as well in order to qualify as a"person authorized by

the patient."

    124 This argument is unpersuasive in light of the relevant

statutory context.      Examining the various categories in the

definition of "person authorized by the patient" in Wis. Stat.

§ 146.81(5) demonstrates that the legislature did not specify

that each must have the authority to make health care decisions

for the patient.        Instead, the legislatnre placed varying

parameters on each distinct category. For example, in the first

category, the legislature chose to limit it to the parent,

guardian, or legal custodian of a minor patient. Therefore, a

parent, guardian, or legal custodian of a minor is automatically

a"person authorized by the patient" wherever that phrase

appears in Wis. Stat. §§ 146.81-.84; nothing else is necessary

to qualify and no other limitation              is   imposed.       Other

categories, however, are narrower.           For example, the eighth

category is specifically limited to a temporary guardian

appointed by a court to "decide upon the release of records" for

an incompetent patient.        At least for this category, having

specific authorization to make health care decisions for the

incompetent patient is a requirement.

     125 We cite these instances of circumscription within the

statute not as demonstrations of the legislature's collective

facility with language but, rather, to bolster our understanding

that, when the legislature chooses to say "any person authorized

in writing by the patient," we must interpret these words

without the kind of limitation proposed by Healthport.                  Cf.

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Indus. to Indus., Inc. v. Hillsman Modular Molding, Inc., 2002

WI 51, 1119, 252 Wis. 2d 544, 644 N.W.2d 236.               Put simply, had

the legislature intended to place parameters of the kind

Healthport suggests on a person authorized in writing by the

patient, "it would have done so." Id. It did not, and so we do
not . lo

       126 Healthport argues that interpreting the category "any

person authorized in writing by the patient" without the
additional requirement that the authorization be for making

health care decisions creates chaos and inconsistency throughout

the statutory scheme.              Without constancy as to what the

authorization must be for, Healthport argues that the definition

of a"person authorized by the patient" would change each time

it is used throughout the statute.               However, it is enough to

refute this argument to note that, contrary to what Healthport

argues, the definition of a"person authorized by the patient"

remains constant throughout the statutes governing access to

health care records. Instead of creating chaos, permitting the

specific nature of the authorization allows for flexibility. In



     lo According to the dissent, such an interpretation is one
done in a vacuuin, not taking into account the context in which
the words are written.         E.g., dissent, 9I41.    However,
interpreting the text to also contain the words "to consent to
the release of the patient's health care records" ignores the
immediate context of the text we are asked to interpret here
because it does not take into account the distinction between
"any person authorized in writing by the patient" and the other
categories of persons used in the statute.


                                        14


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all cases, we simply look to the written authorization to

determine what the patient has authorized the person to do.

     9[27 Because the definition of "any person authorized in

writing by the patient" does not specify what the person must be

authorized to do, the written authorization necessary for an

attorney to qualify will depend on the function the attorney

seeks to perform.     In other words, Elly an attorney might need

written authorization may be different in different contexts.
For example, to perform the function of a"person aut-horized by

the patient" in some contexts, the attorney might need

authorization to make certain decisions on behalf of the

patient.   See, e.g., Wis. Stat. § 146.82(1) (informed consent to

release records may be given by a"person authorized by the

patient"). But in other contexts, the attorney would only need

authorization to receive copies of health care records. That is

the case in Wis. Stat. § 146.83(3f), the statute governing

requests for copies of such records. Regardless of the context,

what mattered to the legislature in defining "person authorized

by the patient" to include "any person authorized in writing by

the patient" is that the person does have written authorization

from the patient to perform the relevant function.

     128 Past iterations of the statute support our conclusion

that the plain meaning of "any person authorized in writing by

the patient" is exactly what it says.           See County of Dane v.

LIRC, 2009 wI 9, 9[27, 315 Wis. 2d 293, 759 N.W.2d 571 (quoting

Richards v. Badger Mut. Ins., 2008 WI 52, 122, 309 Wis. 2d 541,
749 N.W.2d 581) (statutory context includes past iterations of

                                   15


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the statute). When the legislature first enacted the statute in

1979, Wis. Stat. § 146.81(5) defined "person authorized by the

patient" as

     the parent, guardian or legal custodian of a minor
     patient, as defined in s. 48.02 (9) and (11), the
     guardian of a patient adjudged incompetent, as defined
     in s. 880.01 (3) and (4), the personal representative
     or spouse of a deceased patient or any person
     authorized in writing by the patient.
In this version of the statute, "any person authorized in
writing by the patient," as evidenced by the use of "or," is the

last category of persons considered a"person authorized by the

patient." We see from*our reading of the 1979 statute that "any

person authorized in writing by the patient" has always been a

distinct category of persons—one without limitation other than

a requirement of authorization in writing from the patient.

     129 Nevertheless, Healthport argues that a 2014 amendment

to the statutes governing health care records, Wis. Stat.

§ 146.83(lb), provides context that shows that the legislature

intended to exclude attorneys from the definition of a"person

authorized by the patient."       The 2014 addition of § 146.83(1b)

states, "Notwithstanding s. 146.81(5), in this section a'person

authorized by the patient' includes an attorney appointed to

represent the patient under s. 977.08[11 ] if that attorney has

written informed consent from the patient to view and obtain

copies of the records." According to Healthport, the

     11
       Wisconsin -Stat. § 977.08 relates to the appointment of a
state public defender.


                                   16


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legislature's use of "[n]otwithstanding" shows that the

legislature, in § 146.83(1b), included a certain type of

attorney—public defenders—as a person authorized by the

patient to receive health care records in spite of a.general

exclusion of attorneys from Wis. Stat. § 146.81(5).

     9130 While the legislature may have intended to expressly

include public defenders, we decline Healthport's implicit

invitation to add limiting language to Wis. Stat. § 146.81(5).

The legislature, with its use of "any person," chose not to

place a limit on who could be authorized in writing by the

patient under § 146.81(5), and we give effect to the enacted

text.     See Bruno v. Milwaukee County, 2003 WI 28, 9114, 260

Wis. 2d 633,      660 N.W.2d 656      (refusing to add additional

requirements to the definition of "retirement" because those

additional requirements were not mentioned in the text).                  And

more to the point, nothing about the express inclusion of public                '

defenders leads us to conclude the legislature intended to

exclude other attorneys.12




     lz Healthport has failed to establish that the doctrine of
expressio unius est exclusio alterius (the expression of one
thing is the exclusion another) applies here because nothing
indicates that the legislature considered attorneys other than
public defenders when enacting the language of Wis. Stat.
§ 146.83(1b). See Wis. Citizens Concerned for Cranes & Doves v.
D.NR, 2004 WI 40, 417 n.11, 270 Wis. 2d 318, 677 N.W.2d 612
("This rule may be applied only where there is some evidence
that the legislature intended it to apply.").

                                                              (continued)
                                     17


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     131 In sum, Moya's attorney qualifies as a"person

authorized by the patient" because he is a person, he has a

written authorization from Moya via the HIPAA release form, and

Moya, the patient, signed the HIPAA release form to provide her

attorney the authorization to receive her health care records.

Therefore, as a person authorized by the patient, Moya's

attorney is exempt from the certification charges and retrieval
fees Healthport imposed under Wis. Stat. § 146.83(3f)(b)4.-5.

         C. The Doctrine of Voluntary Payment Does Not Apply

     132 Healthport argues that the doctrine of voluntary

payment bars Moya's class action lawsuit and thereby entitles

Healthport to summary judgment; however, we conclude that the

doctrine of voluntary payment does not apply.

     133 "The voluntary payment doctrine places upon a party
     1


who wishes to challenge the validity or legality of a bill for

payment the obligation to make the challenge either before

voluntarily making payment, or at the time of voluntarily making

payment." Putnam v. Time Warner Cable of Se. Wis., Ltd. P'ship,

2002 WI 108, 9[13, 255 Wis. 2d 447, 649 N.W.2d 626.                  "[T]he

voluntariness in the doctrine goes to the willingness of a




     The dissent also seems to be looking for "attorneys" to be
expressly and specifically listed persons authorized by the
patient. See, e.g., dissent, 1142.   However, if we are to look
for such narrow categories, who then would qualify? The answer
is no one because no category of persons is so specifically
listed in the statute.




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 person to pay a bill without protest as to its correctness or

 legality." Id., 415.

        9134 It is axiomatic that we give effect to the

 legislature's expressed intent when we interpret statutes.

 Kalal, 271 Wis. 2d 633, 144.                 Here, we determined that the

 legislature's expressed intent that a person with a written

 authorization from a patient does not have to pay the

 certification charge or retrieval fee for obtaining health care

 records.           Thus, "[a]pplication of the common law voluntary

 payment doctrine would undermine the manifest purposes of [Wis.

 Stat. § 146.83(3f)]."           MBS-Certified Pub. Accountants, LLC v.

 Wis.       Bell,    Inc.,   2012 WI     15,    9[4,   338 Wis. 2d 647,       809

 N.W.2d 857.         Consequently, we cannot apply it in this case to.

 bar Moya's claim.
                    D. The Doctrine of Waiver poes Not Apply

        135 Healthport also argues that Moya's class action

 lawsuit is barred_by the doctrine of waiver. We disagree.

        136 "Waiver has been defined as a voluntary and
        1



 intentional relinquishment of a known right." Attoe v. State

 Farm Mut. Auto. Ins., 36 Wis. 2d 539, 545, 153 N.W.2d 575

 (1967). Waiver can be done through conduct. Id.

        137 Healthport argues that Moya waived her ability to

 obtain her health care records at a lower cost because she chose

 to authorize her attorney to obtain her health care records

 instead of requesting them herself, thereby voluntarily and

_ intentionally relinquishing her right not to be charged the

 certification charge and retrieval fee. As with the application

                                         19


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of the doctrine of voluntary payment, we decline to apply the

doctrine of waiver to subvert the legislature's intent.                 To

conclude that the doctrine of waiver applies would require us to

conclude that Moya's attorney has to pay the certification

charge and retrieval fee.         However, we conclude that Moya's

attorney does not have to pay the certification charge or
retrieval fee because he is a"person authorized by the

patient." Thus, the doctrine of waiver does not apply to bar

Moya's class action lawsuit.

                            IV. CONCLUSION

    138 BeQause the phrase "person authorized by the patient"

is defined in Wis. Stat. § 146.81(5) to include "any person

authorized in writing by the patient," we hold that an attorney

authorized by his or her client in writing via a HIPAA release

form to obtain the client's health care records is a"person

authorized by the patient" under Wis. Stat. § 146.83(3f)(b)4.-5.

and is therefore exempt from certification charges and retrieval

fees under those subdivisions.

     By the Court.—The      decision of the court of appeals is

reversed and the case is remanded for proceedings consistent

with this opinion.
     139 REBECCA GRASSL BRADLEY and DANIEL KELLY, JJ'., did not

participate.




                                   20


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     140 ANNETTE KINGSLAND ZIEGLER, J.                (dissenting).        The

question before this court is whether a personal injury attorney

who obtains his or her client's written consent to receive

copies of the client's health care records is a"person

authorized by the patient" under Wis. Stat. § 146.83 (3f) (b) ,

such that the attorney need not pay certification and retrieval

fees when requesting copies of the records from a health care

provider. The circuit court concluded that such an attorney is

exempt from the fees as a"person authorized by the patient."

The court of appeals in examining the same statutory language

answered this question in the negative, concluding that a

"person authorized by the patient" within the meaning of Wis.

Stat. §§ 146.81(5) and 146.83(3f)(b) is a person who has "the

power to consent to the release of the patient's records," not a

person who merely has the power to receive those records. Moya

v. Aurora Healthcare, Inc., 2016 WI App 5, 116, 366 Wis. 2d 541,

874 N.W.2d 336 (emphasis added). This court reverses that court

of appeals' determination today purportedly because the language

is clear. I write because when utilizing traditional methods of

statutory interpretation, examining the text, its context and

construction, the plain meaning demonstrates that "person

authorized by the patient" has a less expansive meaning than my

colleagues have adopted.

     141 The court concludes that an attorney authorized by his
     1


or her client in writing to obtain the client's health care

records is a"person authorized by the patient" under Wis. Stat.

§§ 146.81(5) and 146.83(3f)(b).           In so doing it explains that it

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is relying on the "plain meaning" of the statute. I acknowledge

that the interpretation of the statutes adopted by this court is

defensible if one only looks at those words in a vacuum. The

conclusion of the court of appeals, however, is also supported

by the text.     How do we know which interpretation is correct?

Each interpretation relies on the language of the statute, yet

the court of appeals and this court reach opposite conclusions.

I endeavor to wade through a more thorough statutory analysis in

order to reach a conclusion.
     9[42 As a practical matter, it certainly makes sense that

the legislature might choose to exempt personal injury attorneys

from the challenged fees. These attorneys act as advocates for

their clients and perhaps should be able to obtain the records

without the fee. However, these lawyers are not listed in Wis.

Stat. § 146.81(5), the statute that defines "person authorized

by the patient," nor are they exempt under Wis. Stat.

§ 146.83(1b), whereby the legislature determined that public

defenders need not pay the fee. These lawyers do not fall into

the class of persons listed in § 146.81(5) as they are not

otherwise legally poised to essentially become the decision-

maker for the patient when the patient cannot legally act on his

or her behalf. Section 146.81(5) defines "person authorized by

the patient" in part to be:

     [T]he parent, guardian, or legal custodian of a minor
     patient, as defined in s. 48.02(8) and (11), the
     person vested with supervision of the child under
     s. 938.183 or 938.34(4d), (4h), (4m), or (4n), the
     guardian of a patient adjudicated incompetent in this
     state,   the  personal   representative,  spouse, , or
     domestic partner under ch. 770 of a deceased patient,
                                    2


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    any person authorized in writing by the patient or a
    health care agent designated by the patient as a
    principal under ch. 155 if the patient has been found
    to be incapacitated under s. 155.05(2), except as
    limited by the power of attorney for health care
    instrument.
§ 146.81(5).    Notably absent in this provision are lawyers who

advocate on a patient's behalf in a lawsuit.l While it may make

sense to exempt these lawyers from paying fees, the choice is

not the court's to make; it is within the province of the

legislature.    I must examine the text of the statute at issue

using fundamental tools of statutory construction to determine

which of two interpretations of the phrase "person authorized by

the patient" was intended by the legislature; as put by Aurora

Healthcare,     Inc.,     and      Healthport      Technologies,        LLC

("Healthport"), these two interpretative options are: (1) "any

person authorized in writing by the patient to obtain the

patient's health care records"; or (2) "any person authorized in

writing by the patient to consent to the release of the

patient's health care records."          In so doing I look to the

surrounding text and examine that text in light of the canons of

construction, not just part of the statutory text, in a vacuum.

     It is ... a solemn obligation of the judiciary to
     faithfully give effect to the laws enacted by the
     legislature, and to do so requires a determination of
     statutory meaning.   Judicial deference to the policy
     choices enacted into law by the . legislature requires
     that statutory interpretation focus primarily on the

     1 Those attorneys advocate on behalf of the client/patient
and may receive authority from a client to, for example, settle
a case; importantly, however, such attorneys, unlike those
persons in Wis. Stat. § 146.81(5), are not standalone decision-
makers who act with or without the patient's consent.


                                    3


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     language of the statute.         We assume that the
     legislature's intent is expressed in the statutory
     language. ... It is the enacted law, not the
     unenacted intent, that is binding on the public.
     Therefore, the purpose of statutory interpretation is
     to determine what the statute means so that it may be
     given its full, proper, and intended effect.
State ex rel . Kalal v. Circuit Court for Dane Cty. , 2004 WI 58,

144, 271 Wis. 2d 633, 681 N.W.2d 110.

     143 Given the above charge, I write to examine the

statutes at issue and the court's reasoning, considering the
disputed statutory text in context and in light of fundamental

canons of construction.          For reasons I will expiain, the

interpretation adopted by the court today fails to adhere to

fundamental principles of statutory construction and in fact

renders the overall statutory scheme virtually meaningless.

Ultimately, I would conclude, like the court of appeals, that

the text of the statutes requires a conclusion that Moya's

personal injury attorney is not a"person authorized by the

patient" under Wis. Stat. § 146.83(3f)(b).         The lawyer at issue

is not within the definition of "person authorized by the

patient" in Wis . Stat .§ 146.81(5) nor is he or she exempt from

payment of fees under § 146.83(1b) as are other lawyers. Thus,

I must respectfully dissent.

                                    I

     9I44 I begin by setting forth established principles of

statutory interpretation.      Statutory interpretation is governed

first and foremost by the principle that "[t]he words                of     a

governing text are of paramount concern, and what they convey,

in their context, is what the text means."             Antonin Scalia &

                                    Fli




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Bryan A. Garner, Reading Law: The Interpretation of Legal Texts

56 (2012) (denominating this rule the "Supremacy-of-Text

Principle").   Judges should "determin[e] the application of a

governing text to given facts on the basis of how a reasonable

reader, fully competent in the language, would have understood

the text at the time it was issued." Id. at 33. This approach

recognizes that "[t]he law is what the law says,"              Bank One

Chicago, N.A. v. Midwest Bank & Trust Co., 516 U.S. 264, 279

(1996) (Scalia, J., concurring in part and concurring in the

judgment), and that "[a]n interpreter who bypasses or downplays

the text becomes a lawmaker without obeying the constitutional

rules for making law." Frank H. Easterbrook, Textualism and the

Dead Hand, 66 Geo. Wash. L. Rev. 1119, 1120 (1998).

    145 Proper statutory interpretation rests on the

fundamental premise that "[n]othing but conventions and contexts

cause a symbol or sound to convey a particular idea." Scalia &

Garner, supra, at xxvii (emphases added).

          The enactment of a law is a form of communication
     through language—from the law-giver to those affected
     by the law, as well as to those who must enforce,
     apply, or interpret the law.            This sort of
     communication is only possible if the participants
     have a set of shared practices and conventions that
     permit them to convey meaning to each other. At the
     most basic level, intelligible communication requires
     that both parties attach the same meaning to the same
     sounds or signs.    Furthermore, we often need to be
     able to tell which of several possible meanings is
     intended by considering the context in which a word is
     used. Our shared practices and conventions also go
     beyond word meanings.      The rules of grammar and
     syntax, for example, represent shared conventions that
     assist us in decoding the communications of others.


                                   5


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John F. Manning & Matthew C. Stephenson, Legislation and

Regulation 222 (2010).

    146 These twin pillars of interpretation, context and

convention, are indispensable to the functioning of the

judiciary. Convention is sometimes realized in part through the

implementation of certain "canons of construction," which are

"rules of thumb that that help courts determine the meaning of
legislation." Connecticut Nat'1 Bank v. Germain, 503 U.S. 249,

253 (1992). A number of these canons will be discussed in more

detail below.

     9[47 Context, on the other hand, includes (1) "the purpose

of the text," which must be "gathered only from the text itself,

consistently with the other aspects of its context"; (2) "a

word's historical associations acquired from recurrent patterns

of past usage"; and (3) "a word's immediate syntactic setting—

that is, the words that surround it in a specific utterance."

Scalia & Garner, supra, at 33 (emphasis omitted) (citing

I.A. Richards, Interpretation in Teaching viii (1938)).

     148   Application of these principles/ an unrelenting focus

on the meaning of the text, discovered through a careful

examination of context and the application, where necessary, of

canons of construction—promotes "certainty, predictability,

objectivity, reasonableness, rationality, and regularity, which

are the objects of the skilled interpreter's quest." Id. at 34

(citing Frederick J. de Sloovere, Textual Interpretation .of

Statutes, 11 N.Y.U. L.Q. Rev. 538, 541 (1934)).           I now turn to




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the issue of statutory interpretation at the heart of this

appeal and, in analyzing it, employ this methodology.

                                     II

     149 Wisconsin Stat. § 146.83(3f)(a) explains that, with

certain exceptions, "if a person requests copies of a patient's

health care records, provides informed consent, 'and pays the

applicable fees under par. (b), the health care provider shall

provide the person making the request copies of the requested

records."        Wis.   Stat.   § 146.83(3f)(a).        Wisconsin Stat.

§ 146.83 (3f) (b) , in turn, establishes the "applicable fees,"

including, as relevant here, the following two fees: (1) "If the

requester is not the patient or a person authorized by the

patient, for certification of copies, a single $8 charge"; and

(2) "If the requester is not the patient or a person authorized

by the patient, a single retrieval fee of $20 for all copies

requested."      Wis. Stat. § 146.83(3f)(b)4.-5. (emphases added).

In this case, Carolyn Moya's ("Moya") personal injury attorney

obtained written consent from Moya to receive copies of her

health care records.        Moya claims her attorney is therefore a

"person authorized by the patient" and thus exempt from these

fees.
     9I50 "Person authorized by the patient" is defined in Wis.

Stat. § 146.81(5) as follows:

     [T]he parent, guardian, or legal custodian of a minor
     patient, as defined in s. 48.02(8) and (11), the
     person vested with supervision of the child under s.
     938.183 or 938.34(4d), (4h), (4m), or (4n), the
     guardian of a patient adjudicated incompetent in this
     state, the personal representative, spouse, or
     domestic partner under ch. 770 of a deceased patient,
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     any person authorized in writing by the patient or a
     health care agent designated by the patient as a
     principal under ch. 155 if the patient has been found
     to be incapacitated under s. 155.05(2), except as
     limited by the power of attorney for health care
     instrument. If no spouse or domestic partner survives
     a deceased patient, "person authorized by the patient"
     also means an adult member of the deceased patient's
     immediate family, as defined in s. 632.895(1)(d). A
     court may appoint a temporary guardian for a patient
     believed incompetent to consent to the release of
     records under this section as the person authorized by
     the patient to decide upon the release of records, if
     no guardian has been appointed for the patient.
§ 146.81(5) (emphasis added).

     151 Moya and the court rely on the emphasized text for

their conclusion that Moya's attorney fits the definition of

"person authorized by the patient." At the outset, it should be

noted that it is not clear whether the phrase "any person

authorized in writing by the patient" in Wis. Stat. § 146.81(5)

is a standalone category or whether it is connected to the

following phrase, namely "or a health care agent designated by

the patient as a principal under ch. 155 if the patient has been

found to be incapacitated under s. 155.05(2)."              § 146.81(5).

Healthport contends that this court need not resolve this issue,

and I agree.         As I will demonstrate, whether read as

constituting its own category or read in conjunction with the

phrase that follows it, the phrase "any person authorized in

writing by the patient" does not include Moya's attorney.

     152 More generally, it is apparent that the mention of

lawyers is completely absent from this statutory definition and,

instead, the categories of individuals in the statute have the

commonality of those people who can legally act and make


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decisions when the patient cannot; that is not what a personal

injury lawyer does. Lawyers are not like the other categories

of individuals listed. While lawyers may advocate ori behalf of

their clients, they are ultimately subject to their clients'

direction.      The categories of individuals in Wis. Stat.

§ 146.81(5), on the other hand, are composed of individuals who

stand in the shoes of a patient and make decisions for the
patient, but are not those who simply advocate for a client at

the client's direction.

                                  III

     453 Also important is a recognition that, as noted by

Healthport, the definition of "person authorized by the patient"

provided in Wis. Stat. § 146.81(5) does not clearly define the

nature of the "authori[ty]" provided by the patient to the

person authorized by the patient. The circuit court determined

that, for purposes of Wis. Stat. § 146.83(3f)(b), the authority

was the authority to inspect a patient's health care records.

Moya, 366 Wis. 2d 541, 914. The court of appeals concluded that

the authority was the authority to consent to the release of a

patient's health care records. Id., 116.

    9[54 Review of Wis. Stat. § 146.81(5) makes apparent that

the definition of "person authorized by the patient" provided

therein has a common focus on categories of people who are

authorized by law to act as the patient, not just act because

the patient vested them with limited authority to obtain

records.     Those included in the statutory definition include

those such as "the parent ... of a minor patient," for

                                   9


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instance, or "the guardian of a patient adjudicated incompetent

in this state," but the statute does not explicitly describe

what type of authority these people possess. § 146.81(5). The

kind of authority vested by law in these people is far different

than the kind of obligations a lawyer takes on in representing a
person in a lawsuit.          These people listed are those who could

sign a release that would authorize the lawyer to get the
records.       The lawyer, unlike those listed in § 146.81(5), could
not, for example, sign the form on behalf of the patient as all

these individuals could do.

     155 These observations are relevant to the plain meaning

of "any person authorized in writing by the patient" in Wis.

Stat. § 146.81(5). A person who states "I have been authorized

in writing" has said nothing about what she has been authorized

to do. For example, a person who has been authorized in writing

to speak on a patient's behalf is technically a"person

authorized in writing by the patient," see § 146.81(5), but no

one would argue that this type of person would fulfill the

definition of "person authorized by the patient" in Wis. Stat.

§ 146.83 (3f) (b) .     Those listed in the statute, however, have in

common, for example, the authority vested in them by law.                   In

sum, examination of the phrase "any person authorized in writing

by the patient" in § 146.81(5) in isolation is not sufficient to

decide this case.

      156 The court defines the nature of the authority in Wis.
      1


Stat. § 146.81(5) differently depending on in which portion of



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chapter 146 that phrase is used.2 So because, in the context of

Wis. Stat. § 146.83(3f), the "person [potentially] authorized by

the patient" is "request[ing] copies of a patient's health care

records," § 146.83(3f)(a), the definition of "person authorized

by the patient" in that portion of the statutes, in the court's

view, is "person authorized by the patient to obtain the
patient's healthcare records" (as long as, pursuant to

§ 146.81(5), that authorization is written authorization).                But
any person who obtains records this way would need written

authorization.

    457 In other words, the court simply concludes that

because Moya's attorney was "authorized in writing" to receive

copies of Moya's health care records, he is a"[p]erson

authorized by the patient" as defined in Wis. Stat. § 146.81(5),

which definition applies to the fee portion of the statutory

scheme, Wis.      Stat.   § 146.83(3f)(b).       See § 146.81.        That

interpretation possesses the benefit of being uncomplicated, but

that does not mean it is correct. The court's reading fails to

account for a number of important considerations—namely,

significant clues provided by investigation of the statutory




    2  Typically, the "[p]resumption of consistent usage" canon
would instruct that "[a] word or phrase is presumed to bear the
same meaning throughout a text."     Antonin Scalia & Bryan A.
Garner, Reading Law: The Interpretation of Legal Texts 170
(2012).    In the court's defense, however, it may not be
necessarily in violation of that canon because the nature of the
authority, while changing, changes to attend to the purpose of
the specific,statute. „


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context and the application of canons of construction—which

counsel a different reading of the statute.

    9[58 More specifically, the court's conclusion falls prey

to a criticism directed at Moya by Healthport:

     Although [Moya] repeatedly urges this Court to follow
     the "plain language" or "plain meaning" of the
     statutory words, she fails to provide a reason why her
     proposed interpretation follows from those words.
     Instead, [Moya] simply assumes that the legislature
     meant to say "any person authorized in writing by the
     patient to obtain that patient's health care records."
     A plain language argument that simply assumes the
     addition of a critical clause is not a plain language
     argument at all.
     9[59 The truth of the matter is that the statutory phrase

"any person authorized in writing by the patient," viewed alone,

simply does not provide enough information for the court to

reach a conclusion in this case.         But statutory interpretation

requires more than simply looking at a set of words in total

isolation. The court must look to something more—the context

of the phrase and applicable canons of constructions—to reach

the correct answer.
     9160 Before discussing how these tools help establish the

plain meaning of this phrase in this statute, I explain how

these tools immediately demonstrate a number of significant

deficits in the court's approach.          First, the phrase "person

authorized by the patient" must require more in the context of

Wis. Stat. § 146.83(3f) than the court says it does because,

with a few exceptions, "a person request[ing] copies of a

patient's health care records" under that provision must

additionally "provide[] informed consent" in order to obtain the

                                   12


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records.     § 146.83(3f)(a).    Informed consent under the statute

"means written consent to the disclosure of information from

patient health care records to an individual, agency, or

organization that includes" specified pieces of information such

as the patient's name and the signature of the patient or the

person authorized by the patient.            Wis. Stat. § 146.81(2).

Therefore, under the court's interpretation, nearly every person
who obtains health care records under § 146.83(3f) will, by

nature of the informed consent they must provide, automatically

be a"person authorized by the patient" and thus, virtually no

one will ever pay certification or retrieval fees as called for

by the statute.
     161 If the court were correct and all one needed to become

a"person authorized by the patient" was informed consent, then

there would be no need for a statutory definition of "person

authorized by the patient."             A person possessing informed

consent and a"person authorized by the patient" must therefore

be very different individuals possessing different degrees of

authority.     See, e.g., Pawlowski v. Am. Family Mut. Ins. Co.,

2009 WI 105, 422, 322 Wis. 2d 21, 777 N.W.2d 67 ("As a basic

rule of statutory construction, we endeavor to give each

statutory word independent meaning so that no word is redundant

or superfluous. When the legislature chooses to use two

different words, we generally consider each separately and

presume that different words have different meanings.").                The

reason that both informed consent and separate authorization are

required in this statutory scheme is because the individuals

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exempted from the statutory fees at issue are either patients or

those who are essentially the equivalents of patients.                  The

legislature defined "person authorized by the patient" to mean

individuals that could actually step in and make decisions for

the patient. In contrast, lawyers are advocates but they do not

step in and become the decision-maker; in fact, it is unethical

for them to do so.
    162 The legislature does not enact a fee statute to

collect no fees. While this seems obvious, I need not look to
legislative history or some unknown possible intent; I need only

look at the words of the statute. And this is where context and

canons of construction provide guidance.              It is a "well-

established canon[] of statutory construction" that "[s]tatutory

interpretations that render provisions meaningless should be

avoided." Belding v. Demoulin, 2014 WI 8, 117, 352 Wis. 2d 359,

843 N.W.2d 373; see also, e.g., United States v. Tohono 0'Odham

Nation, 563 U.S. 307, 315 (2011) ("Courts should not render

statutes nugatory through construction."); Louisville Water Co.

v. Clark, 143 U.S. 1, 12 (1892) ("Any other interpretation of

the act ... would render it inoperative for the purposes for

which, manifestly, it was enacted."); Kalal, 271 Wis. 2d 633,

146 ("Statutor.y language is read where possible to give

reasonable effect to every word, in order to avoid

surplusage.").       The court's approach virtually guts the




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possibility of collecting fees and certainly contravenes fairly

basic canons of construction.3

     9[63 Another flaw in the court's reading of the relevant

statutes is that the language of Wis. Stat. § 146.81(5) does not

mention lawyers at all but lawyers are exempted in other

sections.   "Under the doctrine of expressio unius est exclusio

alterius, 'the express mention of one matter excludes other
similar matters [that are] not mentioned."' FAS, LLC v. Town of

Bass Lake, 2007 WI 73, 1127, 301 Wis. 2d 321, 733 N.W.2d 287

(alteration in original) (quoting Perra v. Menomonee Mut. Ins.

Co., 2000 WI App 215, 112, 239 Wis. 2d 26, 619 N.W.2d 123). The

legislature was fully capable of adding lawyers to the




     j It is true that Wis. Stat. § 146.82(2) contains a list of
entities that .may obtain health care records without informed
consent under certain circumstances, such as (generally
speaking) emergency medical services personnel assisting a
patient, district attorneys prosecuting alleged child abuse, and
courts conducting termination of parental rights proceedings.
See § 146.82(2)(a)2., 11.-11m.    I do not find compelling the
argument that the certification and retrieval fees in Wis. Stat.
§ 146.83(3f)(b)4.-5. are reserved for this specialized subset of
requesters.   If the legislature had intended such a result, it
could have provided for it much more clearly.

     Further, it may well be that these entities share common
characteristics of which the court is not, at this time, fully
aware. For instance, many of the entities listed in this group
seem to possess a public interest component, such that a fee for
health care records would ultimately be transferred to the
taxpayer. Other entities in this group would seemingly include
health care providers themselves using health care records for
internal matters.      See, e.g., Wis. Stat. § 146.82(2)(a)3.,
(exception provided "[t]o the extent that the records are needed
for billing, collection or payment of claims."),.


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definition of "person authorized by the patient," but it did not

do so.

    164 A third problem with the court's interpretation stems

from the language of the legislature's 2014 enactment of 2013

Wisconsin Act 342, which in turn created Wis. Stat.

§ 146.83(lb).       Importantly, this statute further defined those

who are exempt from payment. Section § 146.83(1b) provides:

     Notwithstanding s. 146.81(5), in this section, a
     "person authorized by the patient" includes an
     attorney appointed to represent the patient under s.
     977.08 [a section in the chapter pertaining to the
     State Public Defender] if that attorney has written
     informed consent from the patient to view and obtain
     copies of the records.
§ 146.83(lb) (emphasis added). "Notwithstanding" the definition

of "person authorized by the patient" means "in spite of" the

definition of "person authorized by the patient."

Notwithstanding, Black's Law Dictionary 1231 (10th ed. 2014)

(emphasis added).           It would be strange indeed for the

legislature to have used the word "notwithstanding" if, as is

suggested by the court's opinion, these attorneys already met

the definition of "person authorized by the patient" in Wis.

Stat. § 146.81(5) prior to the enactment of § 146.83(lb).                  Put

differently, the legislature's recent amendment strongly

indicates that individuals like Moya's attorney are not included

in the definition of "person authorized by the patient."                   If

lawyers who received authorization in writing were included in

§ 146.81(5), § 146.83(lb) would be surplusage and completely

unnecessary.


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    165 The amendment in Wis. Stat. § 146.83(lb) provides

similar guidance when viewed in light of any of a number of

canons of construction.         One such canon has already been

referenced: "Statutory language is read where possible to give

reasonable effect to every word, in order to avoid surplusage."

Kalal, 271 Wis. 2d 633, J[46.       As Healthport points out, "[i]f

the definition of 'person authorized by the patient' already

included attorneys with an informed consent, the new section

146.83(1b) would be wholly superfluous." Indeed it would.

    9[66 Again, "[u]nder the doctrine of expressio unius est

exclusio alterius, 'the express mention of one matter excludes

other similar matters [that are] not mentioned."' FAS, LLC, 301

Wis. 2d 321, 127 (alteration in original) (quoting Perra, 239

Wis. 2d 26, Iff12). That is, the legislature obviously could have

expanded the reach of Wis. Stat. § 146.83(lb) to include

personal injury attorneys, but it did not do so.              Similarly,

"[n]othing is to be added to what the text states or reasonably

implies (casus omissus pro omisso habendus est).             That is, a

matter not covered is to be treated as not covered." Scalia &

Garner, supra, at 93 (describing this as the "Omitted-Case

Canon"). Under this principle, a judge should not, among other

things "elaborate unprovided-for exceptions to a text."              Id.;

see also id. ("[I]f the Congress [had] intended to provide

additional exceptions, it would have done so in clear language."

(alterations in original) (quoting Petteys v. Butler, 367 F.2d

528, 538 (8th Cir. 1966) (Blackmun, J., dissenting))).           This is

exactly what the court may be read to do in concluding that

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Moya's attorney is exempt from the fees at issue.                  This court

should not be acting where the legislature has declined to do

so.

        167 Accordingly, the court's interpretation of Wis. Stat.
        1


§ 146.83(3f)(b) possesses substantial flaws, and I cannot agree
with it.            Fortunately, it is not the only interpretation

presented in this case.             Again, it is important to recognize

that Wis. Stat. § 146.81(5) does not clearly define the nature
of the "authori[ty]" provided by the patient to the person

chosen by the patient; the statute instead lists categories of

individuals.            In order to determine the nature of this

authority, then, it is again beneficial to look to context and

to apply recognized canons of construction.

        168 Two related canons of construction, noscitur a sociis

and ejusdem generis, are particulariy helpful here. Pursuant to

the noscitur a sociis canon of construction, "[a]n unclear

statutory term should be understood in the same sense as the

words immediately surrounding or coupled with it."                   State v.

Quintana, 2008 WI 33, 135, 308 Wis. 2d 615, 748 N.W.2d 447

(quoting Wis. Citizens Concerned for Cranes & Doves v. DNR,

2004 WI 40, 1140, 270 Wis. 2d 318, 677 N.W.2d 612).               That is, it

is reasonable to ascertain the meaning of the phrase "person

authorized by the patient" by analyzing the phrase in light of

the surrounding categories enumerated in the definition.                      See

Moya, 366 Wis. 2d 541, 112; see also Kalal, 271 Wis. 2d 633, 146

("Context is important to meaning.").




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     169 As explained, none of the enumerated categories in

Wis. Stat. § 146.81(5) consists of attorneys.              Further, the

phrase "any person authorized in writing by the patient" is

placed in the middle of the list rather than at its end;

therefore, it does not seem to be an expansion of the categories

previously listed to new categories of people, nor does it seem

to be an extension of the previously listed categories to

include a host of new categories.        See, e.g., State v. Givens,

28 Wis. 2d 109, 115, 135 N.W.2d 780 (1965) ("When the statute,

after the specific enumerations, in a'catchall' clause

proscribes 'otherwise disorderly conduct' which tends to

'provoke a disturbance,' this must mean conduct of a type not

previously enumerated but similar thereto in having a tendency

to disrupt good order and to provoke a disturbance.").

     9[70 In fact, if I consult the noscitur a sociis canon of

construction, it depends upon whether the enumerated persons in

Wis. Stat. § 146.81(5) possess a"similar meaning.". Quintana,

308 Wis. 2d 615, 9[35.     If the various categories are unrelated,

then one would presume that the individual categories should be

interpreted broadly.       See id.       Conversely, if the various

categories are related, then the "authori[ty]" provided by the

patient to the person chosen by the patient in § 146.81(5)

should be understood in light of the characteristics shared by

each category.      See id.      As was previously discussed, the

categories of individuals listed have in common the fact that

they become decision-makers for the patient. Thus, we further



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conclude that the phrase "person authorized by the patient" is

not to be construed as expansive.

    171 Additionally, a related canon of construction, ejusdem

generis, "instructs that when general words follow specific

words in the statutory text, the general words should be

construed in light of the specific words listed" such that "the

general word or phrase will encompass only things of the same

type as those specific words listed."            Id., 9[27 (citing Adams

Outdoor Advert., Ltd. v. City of Madison, 2006 WI 104, 162 n.15,

294 Wis. 2d 441, 717 N.W.2d 803) .      But if "[t]he specific terms

listed in the statute have no common feature or class from which

one could ascertain an intention to restrict the meaning of the

general term," then "the general terms should be interpreted

broadly to give effect to the legislature's intent." Id., 9[9[26,

28, 31-32; see also Scalia & Garner, supra, at 101 (under the

"General-Terms Canon," "[g]eneral terms are to be given their

general       meaning    (generalia      verba      sunt     generaliter

intelligenda)," so long as there is no "indication to the

contrary").      So again, because the categories of individuals

have in common the fact that they become decision-makers for the

patient, the words are not expansive.
     172 Consequently, it is important to ascertain whether

there are similarities between the categories of individuals

listed in Wis. Stat. § 146.81(5).         If there are similarities,

this would indicate that the "authori[ty]" granted in

§ 146.81(5) should be interpreted more narrowly and more

exclusively; if there are no similarities, then this

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"authori[ty]" should be interpreted more broadly and less

exclusively.

     173 Wisconsin       Stat.     § 146.81(5)     defines     "[p]erson

authorized by the patient" to include individuals acting on

behalf of: (1) minor patients; (2) patients who have been

adjudicated incompetent; (3) deceased patients; and (4)

incapacitated patients. § 146.81(5). One might argue that the

legislature envisioned a certain commonality among these

categories of individuals.       And indeed, the court of appeals,

comparing Moya and her personal injury attorney to these other

pairs of individuals, interpreted "authorized" in the phrase

"person authorized.by the patient" to mean "having the power to

consent to the release of the patient's records," rather than

merely the power to receive those records.                    Moya, 366

Wis. 2d 541, 116 (emphasis added); see also § 146.81(5)                 ("A

court may appoint a temporary guardian for a patient believed

incompetent to consent to the release of records under this

section as the person authorized by the patient to decide upon

the release of records, if no guardian has been appointed for

the patient." (emphasis added)). The court of appeals concluded

that adoption of Moya's argument would violate the manifest

purpose of the relevant statutes, expanding the definition of

"person authorized by the patient" beyond the "very specific

list of individuals" contemplated by the legislature. See Moya,

366 Wis. 2d 541, 112.
     174 The interpretation of the court of appeals is

reasonable.     It better comports with the other enumerated

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categories of persons in Wis. Stat. § 146.81(5).           It possesses

none of the major defects of the court's interpretation which I

identified above. And it is supported by the statutory context

and by canons of construction. And this holds true whether "any

person authorized in writing by the patient" is read as a

standalone category or together with the following clause.              If

read as a standalone category, "any person authorized in writing
by the patient" would clearly not be intended as a broad,

"catch-all" group, because it would not fall at the end of the
list of enumerated categories; and if read together with the

following clause ("or a health care agent designated by the

patient as a principal under ch. 155 if the patient has been

found to be incapacitated under s. 155.05(2)," § 146.81(5)),

then "any person authorized in writing by the patient" would

share the characteristics of the other enumerated categories and

would not be intended to include attorneys.                These canons

certainly point strongly in one direction: against the reading

adopted by the court.
    175 The court does not adequately address the reading

dictated by application of the interpretative methodology

discussed above; as a result, its reasoning is unpersuasive. It

also does not explain why Wis. Stat. § 146.83(1b) would be

necessary to exempt public defenders from the payment of these

fees because public defenders, as virtually all others, would

need written authorization to obtain the patient's records in

the first instance.          The court adopts a more expansive

interpretation, but seems to base its interpretation on language

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that does not have support in common tools of construction. In

my view, little or nothing in the statutory text supports the

court's expansive view.

    9[76 On balance, I must conclude that the interpretation

adopted by the court today is unlikely to be the correct answer.

If the statute at issue is really as broad as the court says it

is, the challenged fee requirements are rendered largely

meaningless.    I cannot accept that a plain meaning here was

intended to exempt virtually all who obtain records from payment

of the fees set forth.

     177 The clear purpose of the statute,                              as

"gathered ... from the text itself," is to charge certain

individuals fees.     Scalia & Garner, supra, at 33. Very simply

stated, since nearly anyone who wishes to receive a patient's

records needs that patient's authorization and no such

authorized person would ever need to pay the applicable fee,

virtually no fees would be paid under this statute. It is not

as though an attorney, appropriately authorized, could never fit

the definition of "person authorized by the patient." But every

attorney does not fit that definition, and an examination of the

text reveals that Moya's attorney does not fit that definition.

     178 Finally, given the competing interpretative

possibilities here, a point about judicial restraint is

appropriate. Even if it intuitively makes sense that personal

injury lawyers should not have to pay fees to receive their

clients' medical records, if I am incorrect, the legislature

could easily ainend the statute as it did with Wis. Stat.

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§ 146.83(1b) thereby excluding the public defenders.                    The

legislative "fix," if the court is incorrect, requires a virtual

rewrite of these fee statutes.

                                   IV

    179 Interpretation of the statutory text leads me to

conclude, like the court of appeals, that Moya's personal injury

attorney is not a"person authorized by the patient" under Wis.

Stat. § 146.83(3f)(b).      Regardless, it would be well worth the

legislature's time for it to clarify these statutes so as to

provide guidance to the public, to lawyers, and to the courts.

In the absence of such guidance, however, I - must respectfully

dissent.
     180 For the foregoing reasons, I respectfully dissent.




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                    Exhibit 2




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STATE OF WISCONSIN . CIRCUIT COURT . WAUKESHA COUNTY
                     CIVIL DIVISION


PAUL R. DILGER
928 Praireview Circle
Oconomowoc, WI 53066

DERRICK J. HAMMETTER
4902 Lakefield Road
Cedarburg, WI 53012,
                                                      Case No.
ANTOINETTE M. VINKAVICH
W335 N8383 Stone Bank Road                            COMPLAINT
Oconomowoc, WI 53066
                                                      Intentional Tort: 30106
PATRICIA A. SKRZYPCHAK                                Unclassified: 30703
15601 7TH Street
Union Grove, WI 53182

DON TIEGS
5500 Balboa Drive South
New Berlin, WI 53151,

Individually and on behalf of all other
similarly situated persons or entities,

               Plaintiffs,
      V.

IOD INCORPORATED,
c/o G&K Wisconsin Services, LLC, Registered Agent
200 South Washington Street, Suite 100,
Green Bay, WI 54301,

ABC INSURANCE CO., the fictitious name
for an unknown insurance company,

VERISMA SYSTEMS, INC.
c/o The Corporation Trust Company, Registered Agent
1209 Orange Street
Wilmington, DE 19801,




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 DEF INSURANCE CO., the fictitious name
 for an unknown insurance company,

 CIOX HEALTH, LLC,
 c/o Corporation Service Company, Registered Agent
 8040 Excelsior Drive, Suite 400
 Madison, WI 53717,

 GHI INSURANCE CO., the fictitious name
 for an unknown insurance company,

                 Defendants.


         NOW COME the above named plaintiffs, by their attorneys, CANNON & DUNPHY,

S.C., and as and for their claims for relief, allege and show to the Court as follows:

                                        THE PARTIES

         1.     That at the present time, the plaintiff, Paul R. Dilger, is an adult citizen and -

resident of the State of Wisconsin, who resides at 928 Prairieview Circle, Oconomowoc, WI

53066.

         2.    That at the present time, the plaintiff, Derrick J. Hammetter, is an adult citizen

and resident of the State of Wisconsin, who resides at 4902 Lakefield Road, Cedarburg, WI

53012.

         3.    That at the present time, the plaintiff, Antoinette M. Vinkavich, is an adult

citizen and resident of the State of Wisconsin, who resides at W335 N8383 Stone Bank Road,

Oconomowoc WI 53066.

         4.    That at the present time, the plaintiff, Patricia A. Skrzypchak, is an adult citizen

and resident of the State of Wisconsin, who resides at 15601 7th Street, Union Grove, WI

53182.



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       5.       That at the present time, the plaintiff, Don Tiegs, is an adult citizen and resident

of the State of Wisconsin, who resides at 5500 Balboa Drive South, New Berlin, WI 53151.

       6.       That at all times material hereto, the defendant IOD Incorporated was a

Wisconsin corporation with offices of its Registered Agent, G&K Wisconsin Services, LLC,

located at 200 South Washington Street, Suite 100, Green Bay, WI 54301. IOD Incorporated

was a for-profit provider of health care provider records that managed and produced medical

records for health care providers in Wisconsin. IOD Incorporated did business within

Waukesha County, Wisconsin, and throughout the state. That on information and belief, IOD

Incorporated merged with the defendant CIOX Health LLC.

            7. That at the present time, the defendant, ABC Insurance Co. (hereinafter

"ABC"), is the fictitious name for an unknown insurance company, that is engaged in the

business of writing and selling liability insurance; that on information and belief, at all times

material hereto, ABC had in full force and effect a policy or policies of liability insurance issued

to IOD Incorporated insuring said defendant for claims such as those hereafter set forth; that

in said contract of insurance, ABC reserved the right to settle or adjust any claims arising

thereunder and to defend any lawsuits instituted by virtue of any such claims and has a direct

interest in this litigation; that pursuant to Wis. Stat. § 807.12, ABC is being inserted in place of

the real and proper insurance company defendant, which as soon as its identity is ascertained

will be substituted in place of ABC.

       8.       That the defendant Verisma Systems, Inc. is a Delaware corporation with

offices of its Registered Agent, The Corporation Trust Company, located at 1209 Orange

Street, Wilmington, DE 19801. Verisma Systems, Inc. is a for-profit provider of health care




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provider records that manages and produces medical records for health care providers in

Wisconsin. Verisma Systems, Inc. does business within Waukesha County, Wisconsin, and

throughout the state.

       9.      That at the present time, the defendant, DEF Insurance Co. (hereinafter..

"DEF"), is the fictitious name for an unknown insurance company, that is engaged in the

business of writing and selling liability insurance; that on information and belief, at all times

material hereto, DEF had in full force and effect a policy or policies of liability insurance issued

to Verisma Systems, Inc. insuring said defendant for claims such as those hereafter set forth;

that in said contract of insurance, DEF reserved the right to settle or adjust any claims arising

thereunder and to defend any lawsuits instituted by virtue of any such claims and has a direct

interest in this litigation; that pursuant to Wis. Stat. § 807.12, DEF is being inserted in place

of the real and proper insurance company defendant, which as soon as its identity is

ascertained will be substituted in place of DEF.

       10.     That the defendant CIOX Health LLC is a foreign limited liability corporation

with its principal place of business located at 1030 Ontario Road, Green Bay, WI 54311, and

offices of its registered agent, Corporation Service Company, located at 8040 Excelsior Drive,

Ste. 400, Madison, WI 53717. That CIOX Health LLC was created by the merger of IOD

Incorporated, among others. CIOX Health LLC is a for-profit provider of health care

provider records that managed and produced medical records for health care providers in

Wisconsin. CIOX Health LLC does business within Waukesha County, Wisconsin, and

throughout the state.




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       11.     That at the present time, the defendant, GHI Insurance Co. (hereinafter

"GHI"), is the fictitious name for an unknown insurance company, that is engaged in the

business of writing and selling liability insurance; that on information and belief, at all times

material hereto, GHI had in full force and effect a policy or policies of liability insurance issued

to CIOX Health LLC insuring said defendant for claims such as those hereafter set forth; that

in said contract of insurance, GHI reserved the right to settle or adjust any claims arising

thereunder and to defend any lawsuits instituted by virtue of any such claims and has a direct

interest in this litigation; that pursuant to Wis. Stat. § 807.12, GHI is being inserted in place of

the real and proper insurance company defendant, which as soon as its identity is ascertained

will be substituted in place of GHI.

                                GENERAL ALLEGATIONS

       12.     Access to patient health care records is governed by Wis. Stat. § 146.83. Under

subsection 3(I}, a health care provider shall, subject to exceptions, provide copies of a patient's

health care records "if a person requests copies of a patient's health care records, provides

informed consent, and pays the applicable fees under par. (b)." Wis. Stat. § 146.83(3f)(a).

       13.     Beginning on July 1, 2011, by operation of 2011 Wisconsin Act 32, the

legislature created Wis. Stat. § 146.83(3f)(b)4. and 5., which provides that the defendants are

not allowed to charge an $8 certification charge for health care provider records or a$20

retrieval fee for said records "if the requestor is [] the patient or a person authorized by the

patient." According to these subdivisions, the patient and a person authorized by the patient

are exempt from the certification charge and retrieval fee. A"person authorized by the patient"

includes any person authorized in writing by the patient, which includes attorneys.




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        14.        On the 11Ih day of December, 2009, at approxirnately 12:11 a.m., on westbound

North Avenue, near its intersection with Brookfield Road, in the City of Brookfield, Waukesha

County, State of Wisconsin, the plaintiff, Paul R. Dilger, an on-duty police officer with the City

of Brookfield, was seriously injured by the negligence of a careless driver.

        15.    The plaintiff, Paul R. Dilger, retained the law firm of Cannon & Dunphy, S.C.,

to seek compensation for his injuries. The terms of the retention provided for a contingency

fee plus reimbursement for costs. Mr. Dilger authorized Cannon & Dunphy to obtain his

health care provider records. Cannon & Dunphy requested Mr. Dilger's health care provider

records using HIPAA compliant medical release forms.

        16.    The defendant IOD Incorporated entered into agreements with Mr. Dilger's

health care providers—including hospitals, health systems, physician practices and clinics, and

other health care providers—to process and fulfill medical record requests like the ones

submitted by Cannon & Dunphy. When fulfilling the requests of Cannon & Dunphy, the

defendant IOD Incorporated imposed certification charges and retrieval fees, contrary to Wis.

Stat. § 146.83(3~(b)4.-5. Cannon & Dunphy paid the certification charges and retrieval fees

and passed these costs to Mr. Dilger by deducting the costs from the settlement proceeds

resulting from his personal injury claim.

       17.     On the 9th day of October, 2011, on County Trunk Highway I, at or near its

intersection with Gray Log Court, in the Town of Cedarburg, Ozaukee County, State of

Wisconsin, the plaintiff, Derrick J. Hammetter, was seriously injured by the negligence of a

careless driver.




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       18.      The plaintiff, Derrick J. Hammetter, retained the law firm of Cannon &

Dunphy, S.C., to seek compensation for his injuries. The terms of the retention provided for

a contingency fee plus reimbursement for costs. Mr. Hammetter authorized Cannon &

Dunphy to obtain his health care provider records.. Cannon & Dunphy requested Mr.

Hammetter's health care provider records using HIPAA compliant medical release forms.

       19.      The defendants IOD Incorporated and Verisma Systems Inc. entered into

agreements with Mr. Hammetter's health care providers—including hospitals, health systems,

physician practices and clinics, and other health care providers—to process and fulfill medical

record requests like the ones submitted by Cannon & Dunphy. When fulfilling the requests

of Cannon & Dunphy, the defendants IOD Incorporated and Verisma Systems, Inc. imposed

certification charges and retrieval fees, contrary to Wis. Stat. § 146.83(3fl(b)4.-5. Cannon &

Dunphy paid the certification charges and retrieval fees and passed these costs to Mr.

Hammetter by deducting the costs from the settlement proceeds resulting from his personal

injury claim.

         20. On the 22nd of May 2014, on eastbound Silver Spring Drive in the Town of

Merton, Waukesha County, the plaintiff, Antoinette M. Vinkavich, was seriously injured by

the negligence of a careless driver.

       21.      The plaintiff, Antoinette M. Vinkavich, retained the law firm of Cannon &

Dunphy, S.C., to seek compensation for her injuries. The terms of the retention provided for

a contingency fee plus reimbursement for costs. Ms. Vinkavich authorized Cannon & Dunphy

to obtain her health care provider records. Cannon & Dunphy requested Ms. Vinkavich's

health care provider records using HIPAA compliant medical release forms.




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       22.      The defendants IOD Incorporated and Verisma Systems Inc. entered into

agreements with Ms. Vinkavich's health care providers—including hospitals, health systems,

physician practices and clinics, and other health care providers—to process and fulftll medical

record requests like the.ones submitted by Cannon & Dunphy. When fulfilling the requests

of Cannon & Dunphy, the defendants IOD Incorporated and Verisma Systems, Inc. imposed

certification charges and retrieval fees contrary to Wis. Stat. ~ 146.83(30(b)4.-5. Cannon &

Dunphy paid the certification charges and retrieval fees and passed these costs to Ms.

Vinkavich by deducting the costs from the settlement proceeds resulting from her personal

injury claim.

         23. On the 20t' day of October, 2014, at approximately 3:47 p.m., near the intersection

of Durand Avenue and 8711, Street, in the Village of Sturtevant, Racine County, State of

Wisconsin, the plaintiff, Patricia A. Skrzypchak, was seriously injured by the negligence of a

careless driver.

       24.      The plaintiff, Patricia A. Skrzypchak, retained the law firm of Cannon &

Dunphy, S.C., to seek compensation for her injuries. The terms of the retention provided for

a contingency fee plus reimbursement for costs. Ms. Skrzypchak authorized Cannon &

Dunphy to obtain her health care provider records. Cannon & Dunphy requested Ms.

Skrzypchak's health care provider records using HIPAA compliant medical release forms.

       25.      The defendant CIOX Health LLC entered into agreements with Ms.

Skrzypchak's health care providers including hospitals, health systems, physician practices

and clinics, and other health care providers—to process and fulfill medical record requests like

the ones submitted by Cannon & Dunphy. When fulfilling the requests of Cannon & Dunphy,




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       the defendant CIOX Health LLC imposed certification charges and retrieval/basic fees (which

       on information and belief are the functional equivalents), contrary to Wis. Stat. 5

       146.83(3~(b)4.-5. Cannon & Dunphy paid the certification charges and retrieval/basic fees

-1 1   and passed these costs to Ms. Skrzypchak by deducting the costs from the settlement proceeds        ..

       resulting from her personal injury claim.

              26.     On the 16th day of January, 2016, on West Greenfield Avenue, near its

       intersection with 68th St., in the City of West Allis, Milwaukee County, State of Wisconsin,

       the plaintiff, Don Tiegs, was seriously injured by the negligence of a careless driver.

              27.      The plaintiff, Don Tiegs, retained the law firm of Cannon & Dunphy, S.C., to

       seek compensation for his injuries. The terms of the retention provided for a contingency fee

       plus reimbursement for costs. Mr. Tiegs authorized Cannon & Dunphy to obtain his health

       care provider records. Cannon & Dunphy requested Mr. Tiegs' health care provider records

       using HIPAA compliant medical release forms.

              28.     The defendant CIOX Health LLC entered into agreements with Mr. Tiegs'

       health care providers—including hospitals, health systems, physician practices and clinics, and

       other health care providers—to process and fulfill medical record requests like the ones

       submitted by Cannon & Dunphy. When fulfilling the requests of Cannon & Dunphy, the

       defendant CIOX Health LLC imposed certification charges and retrieval/basic fees (which on

       information and belief are the functional equivalents), contrary to Wis. Stat. § 146.83(3f)(b)4.-

       5. Cannon & Dunphy paid the certification charges and retrieval/basic fees and passed these

       costs to Mr. Tiegs by deducting the costs from the settlement proceeds resulting from his

       personal injury claim.




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                                   CLASS ALLEGATIONS

          29.   The plaintiffs, Paul R. Dilger, Derrick J. Hammetter, Antoinette M. Vinkavich,

Patricia A. Skrzypchak, and Don Tiegs bring this action on their own behalf and on behalf of

the members . of a proposed class of individuals and entities that are similarly situated. The

class that the plaintiffs represents is composed of any person who on or after July 1, 2011,

gave authorization to another, and all others who received authorization from the person on

or after July 1, 2011, via a HIPAA release form to request and obtain the person's health care

provider records from a health care provider in the State of Wisconsin and who were illegally

charged by the defendants for certification charges and retrieval fees, contrary to Wis. Stat. §

146.83 (30 (b) 4.-5.

          30.   The proposed class is so numerous that joinder of all members is impracticable,

and as importantly the disposition of their claim as a class will benefit the parties and the

Court. While the precise number of such persons and entities is unknown, the defendants are

in possession of the information needed to identify these persons and entities. The plaintiffs

are informed and believe, and on that basis allege, that the proposed class numbers is

comprised of several thousand persons and entities, who likely possess multiple separate

claims.

          31.   The claims of the plaintiffs are typical of those claims that could be alleged by

any members of the proposed class, and the relief is typical of the relief that would be sought

by each member of the class in separate actions. The alleged claims arise out of the same

business practices of the defendants, including receiving, responding to, and charging for

requests for health care provider records. The plaintiffs and other members of the proposed




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class sustained similar losses, injuries, and damages arising from the unlawful business

practices of the defendant, including the unlawful imposition of certification charges and

retrieval fees.

        32.       The plaintiffs are able to fairly and adequately protect the interests of the

proposed class and have no interests antagonistic to the proposed class. They have retained

counsel that is experienced in class action litigation and litigation in this court. Neither the

plaintiffs nor their counsel have any interests that might impede them from vigorously

pursuing this action, or any conflict with the proposed class.

        33.       There are questions of fact and law common to the proposed class that

predominate over individual questions. The claims of the plaintiffs arise from the same events

and from the same course of conduct by the defendants that gave rise to the claims of the

proposed class.

        34.       Common questions of fact include whether a requestor of patient health care

records was authorized by the class member to obtain the class member's patient health care

records and whether the defendants imposed unlawful charges on such requests for

certification charges or retrieval fees, contrary to Wis. Stat. ~ 146.83(3f)(b)4.-5.

        35.       Common questions of law, most significantly whether it is lawful to charge

certification charges or retrieval fees on requests for health care provider records by one who

has authorization from the person via a HIPAA release form, was resolved by the supreme

court's decision in Moya v. Aurora Healthcare, Inc., 2017 WI 45, _ Wis. 2d _, _ N.W.2d

_. There, the Wisconsin Supreme Court "h[e]ld that an attorney authorized by his or her

client in writing via a HIPAA release form to obtain the client's health care records is a`person




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authorized by the patient' under Wis. Stat. ~ 146.83(30(b)4.-5. and is therefore exempt from

certification charges and retrieval fees under these subdivisions." Id., ¶2. The supreme court

also recognized that the phrase "person authorized by the patient" under Wis. Stat. §

146.83(3f)(b)4.-5. includes "anyperson authorized in writing by the patient," meaning that anyone

xho receives authorilation from the person via a HIPAA release form to obtain the person'.r health care

provider records is similarly exempt from certification charges and retrieval fees under these subsections. See

id., ¶¶20-21 ("Moya argues that `any person authorized in writing by the patient' in Wis. Stat.

§ 146.81(5) is `defined broadly by the legislature' and that the plain meaning of the statutory

language requires nothing more than a person and a written authorization from the patient.

... After examining the language of the statute and applying the well-established rules of

statutory interpretation, we agree with Moya."). Thus, if any requestor of patient health care

records is authorized by the patient to obtain the patient's health care provider records, it is

unlawful as a matter of law for the defendants to impose a certification charge or retrieval fee

on that request.

        36.      A class action is superior to any other available methods for the fair and efficient

adjudication of the controversy. The proposed class is so numerous that joinder of all

proposed class members is impossible. Further, the value of an individual claim could be

relatively small such that individual class members lack the financial incentive to vigorously

prosecute individual claims. Disposition of the claims in the aggregate as a class action will

provide substantial benefits both to the parties and to the courts.




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                         COUNT I — DECLARATORY TUDGMENT

        37.       The plaintiffs incorporate the above allegations to the extent not inconsistent

with those made here.

        38.       The plaintiffs authorized another to request their health care provider records

via HIPAA release forms.

        39.       In response to said requests, the defendants intentionally, knowingly, and/or

unlawfully imposed certification charges and retrieval fees.

        40.       The plaintiffs seek a declaration that the intentional, knowing, and/or unlawful

imposition of said charges was in violation of Wis. Stat. § 146.83(30(b)4. and 5., and that all

payments made pursuant to said charges be ordered null . and void, with all monies being

ordered returned to the plaintiffs, with legal interest.

     COUNT II — MONEY HAD AND RECEIVED /UNJUST ENRICHMENT

        41.       The plaintiffs incorporate the above allegations to the extent not inconsistent

with those made here.

        42.       The defendants obtained and/or accepted benefits from the plaintiffs in the

form of monies received for unlawful charges for certification charges and retrieval fees.

        43.       The defendants knew or appreciated the benefit that they received from the

plaintiffs in the form of monies received for unlawful charges for certification charges and

retrieval fees.

        44.       The defendants' retention of said benefit is inequitable and unjust and the

defendants in good conscience should not keep said benefit.




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       45.      The defendants have the duty, implied in law, to make repayment to the

plaintiffs of all said monies and for restitution, including disgorgement of all monies paid by

the plaintiffs for unlawful charges, all profits made on said unlawful charges, and legal interest.

                               COUNT III — CONVERSION

       46.      The plaintiffs incorporate the above allegations to the extent not inconsistent

with those made here.

       47.      The defendants intentionally took money belonging to the plaintiffs and the

proposed class.

       48.      By imposing unlawful charges for certification charges and retrieval fees as a

condition for releasing the plaintiffs' or proposed class members' health care provider records,

the defendants took said money by compulsion and without the consent of the plaintiffs or

proposed class members.

       49.      The defendants' actions seriously interfered with the plaintiffs' right to possess

the property.

       50.      The defendants' actions were a substantial factor in producing the plaintiffs'

damages, including loss of money and the lost time value of money, all in an amount to be

determined in a trial of this matter.

                FOURTH CLAIM FOR RELIEF — PUNITIVE DAMAGES

       51.      The plaintiffs incorporates the above allegations to the extent not inconsistent

with those made here.

       52.      The defendants acted in an intentional disregard of the rights of the plaintiffs

herein, subjecting the defendants to punitive damages.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

          A. For an order directing disgorgement and/or restitution of all improperly
             collected charges, all profits made thereon, and interest;

          B. For compensatory damages in an amount to be proven at the time of trial;

          C. For punitive damages in an amount to be proven at the time of trial;

          D. For all interest due and owing, including pre-judgment interest, and as otherwise
             provided by law;

          E. For a declaratory judgment that the defendants' imposition of certification
             charges and retrieval fees was contrary to Wis. Stat. § 146.83(30(b)4. and 5. and
             that all resultant payments are null and void and shall be returned to the
             plaintiffs and proposed class.

          F. For such other and further relief as the Court may deem necessary, proper and
             just under all of the circumstances.

   PLEASE TAKE NOTICE THAT THE PLAINTIFFS DEMAND A TRIAL IN
                 THE ABOVE-ENTITLED ACTION.

      Dated at Brookfield, Wisconsin this 5th day of May, 2017.

                                   CANNON & DUNPHY, S.C.
                                   Attorneys for Plaintiffs

                                   By:    Electronically signed bv Attornev Brett A. Eckstein
                                          Brett A. Eckstein
                                          State Bar No. 1036964
                                          Edward E. Robinson
                                          State Bar No. 01025122
                                          Allan M. Foeckler
                                          State Bar No. 1031396

P.O. ADDRESS:
595 North Barker Road
P.O. Box 1750
Brookfield, WI 53008-1750
Telephone: (262) 796-3702
Facsimile:   (262) 796-3712



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                    Exhibit 3




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                                                                                                      Remington
 DONIA MEYER                                                                                      Branch 8
 6943 Portage Road
 Deforest, WI 53532,

 Individually and on behalf of
 a class of others similarly situated,
                                          Plaintiff,
                    V.                                        Case N o . - - - - - - - - - - - -
                                                              Case Code: 3030 l

 CIOX HEALTH,
 925 N Point Pkwy., Ste. 305
 Alpharetta., GA 30005

 AND DIVERSIFIED MEDICAL
 RECORDS SERVICES
 32545 Golden Lantern Street
 Dana Point, CA 92629

                                          Defendants.


                                     CLASS ACTION COMPLAINT



         NOW COMES, Plaintiff, Donia Meyer, by and through her attorneys, DeLadurantey Law

 Office, LLC and Usman Law Finn, LLC, and complains of Defendants CIOX Health and

 Diversified Medical Records Services and alleges to the best of her knowledge, information and

 belief fanned after an inquiry reasonable under the circumstances, the following:

         l.      Plaintiff is an adult resident of the State of Wisconsin.

         2.      Defendant CIOX Health has        a    primary business location of 925 North Point

 Parkway, Suite 305, Alpharetta, GA 30005 and a major business location of 1030 Ontario Road,

 Green Bay, WI 543 J 1.




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       3.      Defendant CIOX is the successor in interest to !OD Incorporated, having merged

with them in 2016.

       4.      Defendant CIOX is a/k/a and f/k/a !OD Incorporated.

       5.      Defendant Diversified Medical Records Services is a corporation with a primary

business address of32545 Golden Lantern Street, Dana Point, CA 92629.



                                         BACKGROUND

       6.      Pursuant to Wis. Stat. §146.83, a health care provider is limited to charging for

paper copies "$1 per page for the first 25 pages; 75 cents per page for pages 26-50; 50 cents per

page for pages 51-100; and 30 cents per page for pages 101 and above."                 Wis. Stat.

§ I 46.83(3f)(b)(1). A health care provider can charge $1.50 per page for microfiche or microfilm

copies. Wis. Stat. §146.83(3f)(b)(2). X-rays have a maximum fee of$10 per image. Wis. Stat.

§146.83(3t)(b)(3). These charges also apply to a person authorize by the patient.

       7.      An attorney with "written infomied consent" requesting the documents is a person

authorized by the patient. Wis. Stat. § 146.83(1 b).

       8.      A retrieval fee of $20 can be charged for copies "[i]f the requested is not the

patient or a person authorized by the patient." Wis. Stat. § l 46.83(3f)(b )(5).

       9.      A non-authorized person can also he charged an $8 certification fee. Wis. Stat. §

146.83(3f)(b)(4).

        JO.    The Defendants have engaged in a pradice of charging additional and

impermissible fees to authorized persons.

        I 1.   The Plaintiff, Donia Meyer, provided written authorization to an. attorney to

retrieve her medical records from Defendants.




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         12.     Defendant ClOX charged her repeated "retrieval" fees ranging from $20.36 to

$21.l 3 and "certification" fees ranging from $8.12 to $8.45 each time her medical records were

requested. Plaintiff is an "authorized person" under the statute they are not allowed to charge

either of these categories of fees to her.

         13.     Defendant Diversified Medical Records Systems charged her a "retrieval" or

"certification" fee of $20.65 when she requested her medical records. Plaintiff is an "authorized

person" under the statute they are not allowed to charge her this fee.

         14.     Mrs. Meyer also seeks to represent other persons in Wisconsin who were also

charged additional fees over and above what Defendants were allowed to charge.

                                  ,JURISDICTION AND VENUE

         15.     Jurisdiction is prope.r as Defendants conduct business in Wisconsin.

         16.     Venue is proper as Defendant conduct business in Dane County.

                                               FACTS

         17.     Prior to the filing of this case Mrs. Meyer suffered a physical injury.

         18. ·   She retained an attorney to represent her in a personal injury claim.

         19.     Mrs. Meyer signed an authorization for her attorney to obtain her medical records.

         20.     Her attorney sought certified medical records from the University of Wisconsin

Hospital and Clinics, Dean Clinic, Group Health Cooperative, and Saini Mary's Hospital

Medical Center.

         2L      Defendants were contracted to produce the records.

         22.     Defendants did, in fact, produce certified medical records and bills regarding Mrs.

Meyer.




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        23.    Defendant CIOX charged her repeated "retrieval" fees ranging from $20.36 to

$21.13 and "certification" fees ranging from $8.12 to $8.45 each for time her medical records

were requested. Plaintiff is an "authorized person" under the statute they are not allowed to

charge either of these categories of fees to her.

        24.    Defendant Diversified Medical Records Systems charged her a "retrieval" or

"certification" fee of $20.65 when she requested h~'! medical records. Plaintiff is an "authorized

person" under the statute they are uot allowed to charge her this fee.

        25.    Ms. Meyer paid Defendant CIOX a total of $352.41 in fees not permitted under

the statute.

        26.    Ms. Meyer paid Defendant Diversified Medical Records Services a total of

$20.65 in fees not pennitted under the statute.

                                       CAUSE OF ACTION

        27.     Plaintiff incorporates all proceeding paragraphs.

        28.     Wis. Stat. § 146.83 only permits a certification fee or retrieval fee if it is made by

someone not authorized by the patient.

        29.     The fees charged to Plaintiff were not allowed under state law.

        30.     The invoices that included the fees were paid.

        31.     The Plaintiff and each other person who was charged an amount above that

allowed under applicable law is entitled to a return of the funds charged.

        32.     The actions of the Defendants were negligent, subjecting Defendants to damages

of$1,000 per violation, plus costs and reasonable attorney fees. Wis. Stat.§ 146.84(1)(.bm).




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       33.     Alternatively, the actions of the Defendants were willful, subjecting Defendants to

exemplary damages of up to $25,000 per violation, plus costs and reasonable attorney fees. Wis.

Stat.§ 146.84(1)('0).

       34.     The Plaintiff and putative class members have incurred action damages in the

fonn of paying fees in excess of what is allowed under Wisconsin law.

                                        Class Allegations

       35.     Tu.is counterclaim is brought individually and on behalf of a class of Wisconsin

consumers.

       36.     The proposed Class consists of:

               a.       Sub-Class A: a) All natural persons in the State of Wisconsin, b) who were

       charged a retrieval fee and/or certification fee by CIOX Health, when they were c)

       authorized persons under the statute.

               b.       Sub-Class B: a) All natural persons in the State of Wisconsin, b) who were

       charged a retrieval fee and/or certification fee by Diversified Medical Records Services,

       when they were c) authorized persons under the statute.

       3 7.    This action is properly maintainable as a class action under requirements set forth

within Wis. Stat. § 803.08, because all putative class members share a general and common

interest related to the impermissible retrieval and/or certification fees charged by Defendants.

        38.    Plaintiff and connsel agree to adequately and fairly represent the interests of all

putative class members.

        39.     Upon information and beliet; joinder of all interested parties is impracticable, as

upon information and belief, the total number of class members exceeds 1,000 individnals.




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                               PRAYER FOR RELIEF


   WHEREFORE, Mrs. Meyer prays that judgment be entered against Defendants for:
   A.     An award of actual damages,
   B.     $1,000 per violation for negligent violations.
   C.     $25,000 per violation for willful violations;
   D.     Costs and attorney's fees;
   E.     For such other and further relief as may be just and proper.


   Dated this 241h day of July, 2017

                                         DeLaduranrey Law Office, LLC

                                         s/ Nathan E. DeLadurantey
                                         Nathan E. DeLadurantey (WI# 1063937)
                                         Heidi N. Miller (WI# 1087696)
                                         DeLadurantey Law Office, LLC
                                         330 S. Executive Drive, Suite 109
                                         Brookfield, WI 53005
                                         (414) 377-0515; (414) 755-0860-Fax
                                         Nathan(m.dela --law .com
                                         Ileidj@)deia-law.com

                                         Zeshan Usman (WI# 1069404)
                                         USMAN LAW FIRM, LLC
                                         525 Junction Rd., Ste. 8520N
                                         Madison, WI 53717
                                         (608) 829-1112; (888) 876-2636-Fax
                                         &.@UsmanLaw.com




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        VERIFICATION OF COMPLAINT AND CERTIFICATION

Plaintiff, Donia Meyer, pursuant to 28 U.S.C. § 1746, declares under penalty of
perjruy as follows:

1. I am a Plaintiff in tl1is civil proceeding.
2. I have read the above-entitled civil Complaint prepared by my attorneys and 1
   believe that all of the facts contained in it are true, to the best of my knowledge,
   information and belief formed after reasonable inquiry.
3. l believe that this civil Complaint is well grounded in fact and warranted by
   existing law or by a good faith argument for the extension, modification, or
   reversal of exh.1.ing law.
4. I believe that this civil Complaint is not interposed for any improper purpose,
   such as to harass any Defem:lant(s), cause unnecessary delay to any Defendant(s),
   or create a needless increase in the cost of litigation to any Defendant(s), named in
   the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set forth
   in it.
6. Each and every exhibit I have provided to my attorneys which has been attached
   to this Complaint is a true and correct copy ofthe original.
7. Except for clearly indicated redactions made by my attorneys where appropriate, I
   have not altered, changed, modified, or fabricated these exhI'bits, except that some
    of the attached exhibits may contain some of my~ handwritten notations.

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                    Exhibit 4




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STATE OF WISCONSIN                                 CIRCUIT COURT                      MILWAUKEE COUNTY
                                                                                                                         FILED
Timothy Rave vs. CIOX Health, LLC et al                                           Electronic Filing                      01-22-2018
                                                                                       Notice                            John Barrett
                                                                                                                         Clerk of Circuit Court
                                                    Case No. 2018CV000607
                                                                                                                         2018CV000607
                                                    Class Code: Money Judgment
                                                                                                                         Honorable Ellen R
                                                                                                                         Brostrom-06
                                                                                                                         Branch 06



                        Gox HEALTH, LLC)
                           C/O CORPORATION SERVICE CO.
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                           MADISON WI 53717                                                               ""J   1/' ~
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                County Clerk of Circuit Court office. The electronic filing system is de;zs·g·····n·
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               f-c~~n •          availab: to attorneys, seff-represented individuals, and filing agents who
                are u~zed under Wis. Stat. 799.06(2). A user must register as an individual, not as
                a la     m, agency, corporation, or other group. Non-attorney individuals representing
                the interests of a business, such as garnishees, must file by traditional means or
                through an attorney or filing agent. More information about who may participate in
                electronic filing is found on the court website.
                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                414-278-4120.
                                                                      BY THE COURT:


                                                                      Electronically signed by John Barrett
                                                                      Cieri< of Circuit Court    ·

                                                                      01-22-2018
                                                                      Date




GF-180(CCAP), 06/2017 Electronic Filing Notice                                                                          §801.18(5)(d), Wisconsin Statutes
                             Case 2:18-cv-00305-LA             FiledIt may
                                      This form shall not be modified. 02/28/18       Page 2 of 86 Document 1-4
                                                                           be supplemented with additional material.
      Case: 3:19-cv-00907-wmc Document #: 1-7 Filed: 11/04/19 Page 94 of 178
                                                                                            FILED
                                                                                            01-22-2018
                                                                                            John Barrett
                                                                                            Clerk of Circuit Court
                                                                                            2018CV000607
STATE OF WISCONSIN                      CIRCUIT COURT                   MILWAUKEE Cll)tftq8'>"¥ Ellen R
                                                                                            Brostrom-06
                                                                                            Branch06

TIMOTHY RAVE
1546 N. 122nd Street
Wauwatosa, WI 53226


Individually and on behalf of a class of others similarly
situated,
                                                                         Case No.:
        Plaintiff                                                        Case Code: 30301

        v.

CIOX HEAL TH, LLC
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

and

COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC.
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

        Defendants.


                                            SUMMONS




THE STATE OF WISCONSIN
To each person named above as a Defendant:
        You are hereby notified that the Plaintiff named above has filed a lawsuit or other legal
action against you. The Complaint, which is attached, states the nature and basis of the legal action.
        Within 45 days of receiving this Summons you must respond with a written answer, as that
term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The court may reject or
disregard an answer that does not follow the requirements of the statutes. The answer must be sent




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or delivered to the court, whose address is Milwaukee County Courthouse, 901 North Ninth Street,
Milwaukee, Wisconsin 53233 and to Welcenbach Law Offices, S.C., Plaintiffs attorney, whose
address is 933 N. Mayfair Rd., Suite 311, Milwaukee, Wisconsin 53226. You may have an attorney
help or represent you.
       If you do not provide a proper answer within 45 days, the court may grant judgment against
you for the award of money or other legal action requested in the Complaint and you may lose your
right to object to anything that is or may be incorrect in the Complaint. A judgment may be enforced
as provided by law. A judgment awarding money may become a lien against any real estate you
own now or in the future, and may also be enforced by garnishment or seizure or property.


        Dated at Milwaukee, Wisconsin this 22nd day of January, 2018.

                                              WELCENBACH LAW OFFICES, S.C.
                                              Attorneys for Plaintiff

                                              By: ls/Electronically signed by Robert J. Welcenbach
                                                      Robert J. Welcenbach-SBN: 1033091
P.O. Address
933 N. Mayfair Rd., Ste. 311
Milwaukee,. WI 53226
(414)774-7330
Facsimile: (414) 774-7670




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                                                                                       John Barrett
                                                                                       Clerk of Circuit Court
                                                                                       2018CV000607
                                                                                       Honorable Ellen R
                                                                                       Brostrom-06
                                                                                       Branch 06


STATE OF WISCONSIN                     CIRCUIT COURT                  MILWAUKEE COUNTY


TIMOTHY RAVE
1546 N. 122nd Street
Wauwatosa, WI 53226


Individually and on behalf of a class of others similarly
situated,
                                                                       Case No.:
        Plaintiff                                                      Case Code: 30301

        v.

CIOX HEALTH, LLC
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

and

COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC.
c/o Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

        Defendants.


                                CLASS ACTION COMPLAINT
                                           &
                                REQUEST FOR JURY TRIAL


        Plaintiff Timothy Rave ("Rave" or "Plaintiff'), through his undersigned counsel files this

Class Action Complaint and Request for Jury Demand on his individual behalf and on behalf a

class of all similarly situated persons against Defendants and says in support:




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                                       I.      PARTIES

1. Plaintiff is an adult resident of the State of Wisconsin who resides at the address

     captioned above.

2. That IOD Incorporated was a Wisconsin corporation that acted as the agent for and/or

     business associate for COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC

     ("CSM") and determined the amounts to charge and assessed charges for the requests

     for certified medical records for CSM with the consent and approval of CSM.

3. That IOD Incorporated ceased to exist on December 31, 2015 when it merged with

     Healthport Technologies, LLC. That Healthport Technologies, LLC was designated as

     the surviving company.

4.   As the surviving company, Healthport Technologies, LLC took ownership of all of the

     assets ofIOD Incorporated and assumed all of the liabilities ofIOD, Incorporated when

     IOD Incorporated was dissolved and merged into Healthport Technologies, LLC on

     December 31, 2015.

5. Healthport Technologies, LLC changed its name to CIOX Health, LLC on or about

     March 2, 2016.

6. The Defendant, CIOX HEALTH, LLC, ("CIOX") is a corporation duly licensed to

     conduct business in the State of Wisconsin doing business as "Ciox" has assumed all of

     the liabilities of IOD, Incorporated and is thus liable to Plaintiffs and the putative class

     members for all of the damages claimed herein.

7. That CIOX as the surviving company to the aforesaid merger is responsible and liable

     for the actions and obligations of IOD as alleged herein.

8. The Defendant, COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC. ("CSM")




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   is a Wisconsin corporation headquartered at 2323 N. Lake Drive, WI 53211 and is duly

   licensed to conduct business in the State of Wisconsin and whose registered agent for

   service of process is captioned above. That, upon information and belief, CSM is a

   "health care provider" pursuant to Wis. Stat. § 146.81.

                                    II.BACKGROUND

9. The Citizens of Wisconsin have valid interests in obtaining copies of their medical

   records. They may want them to provide to their healthcare providers, for further

   evaluation, to pursue legal claims for injuries or simply to maintain the records out of

   personal concerns. Whatever the reason, the records must be made available for them to

   obtain.

10. While the citizens may want to obtain copies of their health records, the medical

   providers do not want to bear the expense of providing copies of the records to their
                                      I



   patients.

11. The Wisconsin Legislature has addressed the respective wants and needs of both patients

   and the health care providers by enacting a statute, Wis. Stat. §146.83, that establishes

   the patient's rights to copies and sets the maximum compensation that the health care

   providers who provide the records may charge.

12. At this time, the production of copies of electronically stored information can be

   accomplished at minimal cost. The copy cost by a third party, such as Staples, starts at

    $.03 per page for black and white and up to $.12 per page for color copies.

13. The rates allowed by the Wisconsin law are substantially more than the costs of

    obtaining copies form third parties. Under Wis. Stat. § 146.83, the charges may be as

    follows:




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                           (b) Except as provided in sub. (lf), a health care
                           provider may charge no more than the total of all of the
                           following that apply for providing the copies requested
                           under par. (a):

                           1. For paper copies: $1 per page for the first 25 pages;
                           75 cents per page for pages 26 to 50; 50 cents per page
                           for pages 51 to 100; and 30 cents per page for pages 101
                           and above.

                           2. For microfiche or microfilm copies, $1.50 per
                           page.

                           3. For a print ofan X-ray, $10 per image.

                           4. If the requester is not the patient or a person
                           authorized by the patient, for certification of copies, a
                           single $8 charge.

                           5. If the requester is not the patient or a person
                           authorized by the patient, a single retrieval fee of $20 for
                           all copies requested.

                           6. Actual shipping costs and any applicable taxes.

14. A patient or a "person authorized in writing by the patient" who pays the fee is entitled

   to copies at the statutory rate and the "health care provider" must provide them pursuant

   to that rate under Wis. Stat. § 146.83(3f).

15. Medical records may be released without the patient's authorization under Wis. Stat.

   146.82(2), and, in that event, the provider may charge the $8.00 certification fee and a

   $20.00 retrieval fee.

16. This action arises because the Defendants, have attempted to enhance their profits that

   they can make off the already generous allowable legislative per copy charge by also

   routinely charging patients or persons authorized by the patient, an $8.00 certification

   fee, a $20.00 retrieval fee, processing, basic or other fees not authorized by the statute.




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 17. That on May 4, 2017, the Wisconsin Supreme Court issued a decision in Moya v.

    Healthport Technologies, et. al, 2017WI 45 (2017) olding that a health care provider and

    their medical records provider may not charge certification, basic, processing or retrieval

    fees for producing a patient's records if the records are requested by either the patient or

    any person authorized in writing by the patient. The person authorized in writing acts

    the agent for a known principal.

 18. That a copy of the decision is attached hereto as Exhibit A.

 19. The Plaintiff, Timothy Rave, is one of many persons who the Defendants charged

    illegal fees contrary to Wis. Stat. §146.83.

 20. The Plaintiff also seeks to represent himself and the other persons who are similarly

    situated to him because the relatively low dollar amount of the illegal charges by the

    Defendants make it an appropriate situation for a case under Wis. Stat. Sec. §803.08

    which provides:

                   When the question before the court is one of a common or
                   general interest of many persons or when the parties are very
                   numerous and it may be impracticable to bring them all before
                   the court, one or more may sue or defend for the benefit of the
                   whole.

 21. Whether or not the Defendants charged in excess of the generous amounts allowed by

    Wisconsin law is a common or general interest to any person who has been charged by

    the Defendants or who may deal with the Defendants in the future.

 22. Upon information and belief, the common or general interest question raised and causes

    of actions presented are of a common and general interest of many persons and those

    persons are very numerous and it would be impracticable to bring all such persons

     before the court.

 23. Plaintiff should be permitted to proceed to sue for the benefit of the following classes:


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        Columbia St. Mary's Class:

        All persons in Wisconsin:

        (i) who were patients at Columbia St. Mary's who authorized another person in

        writing to obtain the patient's medical records from Columbia St. Mary's; and

        (ii) were charged a basic, retrieval and/or a certification fee by Defendant

        Columbia St. Mary through its agent IOD, in violation of Wis. Stat.

        §146.83(3f)(b)(4) - (5) from July 1, 2011 through December 31, 2015; or

        (iii) were charged a basic, retrieval and/or a certification fee by Defendant

        Columbia St. Mary directly or indirectly through its agent other than IOD in

        violation of Wis. Stat. §146.83(3f)(b)(4) - (5) since July 1, 2011 through the date

        of trial; or

        10D Class:

        All persons in Wisconsin who:

        (i) were patients at a medical provider other than Columbia St. Mary's who

        authorized another person in writing to obtain the patient's medical records; and

         (iii) were charged a basic, retrieval and/or a certification fee by IOD in violation

        of Wis. Stat. §146.83(3f)(b)(4) - (5); and

        (iv) since July 1, 2011 through December 31, 2015.

                 The Classes specifically excludes the following persons or entities: (i)

        Defendants, any predecessor, subsidiary, sister and/or merged companies, and all

        of the present or past directors, officers, employees, principals, shareholders and/or

        agents of the Defendants; (ii) any and all Federal, State, County and/or Local



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          Governments, including, but not limited to their departments, agencies, divisions,

          bureaus, boards, sections, groups, councils and/or any other subdivision, and any

          claim that such governmental entities may have, directly or indirectly; (iii) any

          currently-sitting Wisconsin state court Judge or Justice, or any federal court Judge

          currently or previously sitting in Wisconsin, and the current spouse and all other

          persons within the third degree of consanguinity to such judge/justice or (iv) any

          law firm of record in these proceedings, including any attorney of record in these

          proceedings; and (v) anyone person who would otherwise belong to the class but

          who Defendants can identify as being charged a fee, either directly or indirectly

          through a person authorized in writing, but said fee was not collected or paid to

          Defendants by anyone.

                             III. JURISDICTION & VENUE

24. This Court has jurisdiction over Defendants in that Defendants are physically located in

   Milwaukee County and conduct substantial business in Milwaukee County and are

   registered in this State to conduct business. This transaction further arose in Milwaukee

   County.

25. Venue is also appropriate in this County because Defendants are based in Milwaukee

   County and conduct substantial business in Milwaukee County and has, upon information

   and belief, employees based in Milwaukee County.

                                        IV.FACTS

26. Timothy Rave was injured on July 23, 2013 when he was involved in a car crash.

27. Mr. Rave retained Welcenbach Law Offices as his attorneys who processed his personal

   injury claim.




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28. Mr. Rave signed HIPAA releases authorizing the release of medical information to his

   attorneys.

29. Mr. Rave's attorneys sought certified medical records and billings from Defendant, CSM.

                            A. Certified Medical Bill Request - CSM

30. That on or about December 11, 2013, Mr. Rave's attorneys wrote and requested certified

   medical bills from CSM and provided a written consent in the form of a HIP AA release

   signed by Mr. Rave.

31. That 1OD responded to the medical bill request on behalf of CSM and provided a four

   (4) page certified bill for Mr. Rave and charged on invoice number 26252002 the sum of

   $35.84.

32. That Welcenbach Law Offices paid the $35.84 charge to IOD on behalf of Mr. Rave to

   obtain his certified medical bills.

33. That CSM and IOD charged certification, retrieval, processing and/or basic fees to Mr.

   Rave contrary to Wis. Stat. §146.83 to obtain his certified medical bills.

34. That Defendants have negligently or knowingly and willfully charged these fees

   contrary to statute.

                          B. Certified Medical Records Request - CSM

35. That on or about December 11, 2013, Mr. Rave's attorneys wrote and requested certified

   medical records from CSM and provided a written consent in the form of a HIP AA release

   signed by Mr. Rave.

36. That IOD responded to the medical records request on behalf of CSM and provided forty

   three (43) pages of certified medical records for Mr. Rave and charged on invoice number

   26247649 the sum of $75.28 for the certified medical records of Mr. Rave.




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37. That Welcenbach Law Offices paid the $75.28 charge to 1OD to obtain the certified

   medical records for Mr. Rave.

38. That 1OD and CSM charged certification, processing, retrieval and/or basic fees to Mr.

   Rave contrary to Wis. Stat. § 146.83 to obtain his certified medical records.

39. That 1OD and CSM have negligently or knowingly and willfully charged these fees

   contrary to statute.



                    VIOLATION OF WIS. STAT. §146.83
              ON BEHALF OF PLAINTIFF AND CLASS MEMBERS

40. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.

41. That Rave ultimately settled his personal injury case and reimbursed Welcenbach Law

   Offices for all charges incurred from Defendants.

42. That Ciox, having assumed all of the liabilities ofIOD, and CSM are jointly and severally

   liable for the damages to Plaintiff and the Class Members.

43. In Wisconsin, access to patient health care records is governed by Wis. Stat. § 146.83.

   Wis. Stat. §146.83(3t)(a) provides in pertinent part:

          Except as provided in sub. (1 t) ors. 51.30 or 146.82 (2), if a person
          requests copies of a patient's health care records, provides informed
          consent, and pays the applicable fees under par. (b), the health care
          provider shall provide the person making the request copies of the
          requested records.

  Wis. Stat. §146.83(3t)(a) (Emphasis added.)

44. Wis. Stat. §§146.83(3t)(b)(l) - (6) set out the maximum_charges that may be charged and

   collected for medical records and provides:

          Except as provided in sub. (1 f), a health care provider may charge no more
          than the total of all of the following that apply for providing the copies
          requested under par. (a):




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            1.       For paper copies: $1 per page for the first 25 pages; 75 cents per
            page for pages 26 to 50; 50 cents per page for pages 51 to 100; and 30
            cents per page for pages 101 and above.
            2.       For microfiche or microfilm copies, $1.50 per page.
            3.       For a print of an X-ray, $10 per image.
            4.       If the requester is not the patient or a person authorized by the
            patient, for certification of copies, a single $8 charge.
            5.       If the requester is not the patient or a person authorized by the
            patient, a single retrieval fee of $20 for all copies requested.
            6.       Actual shipping costs and any applicable taxes.

  Wis. Stat. §146.83(3f)(b)(l) - (6) (emphasis added.)

45. The phrase "person authorized by the patient" is defined in Wis. Stat.§ 146.81(5) to mean

   "any person authorized in writing by the patient." This language is unambiguous and clear

   and would obviously exempt anyone with a HIPAA compliant medical records release.

46. Mr. Rave filed this suit because he was wrongfully charged a basic, certification,

   processing or retrieval fee by the Defendants in violation of Wis. Stat. §146.83(3f)(b)(4)

   - (5).

47. For medical records production related to 1OD invoice number 26247649, the 1OD and

   CSM charged the Plaintiff a certification fee, processing fee, basic or retrieval fees

   although the request was made by the plaintiff or a person authorized in writing by the

   Plaintiff, namely, his attorneys.

48. For medical records production related to 1OD invoice number 26252002, the 1OD and

   CSM charged the Plaintiff a certification fee, processing fee, basic or retrieval fees

   although the request was made by the plaintiff or a person authorized in writing by the

   Plaintiff, namely, his attorneys.

49. That all invoices issued from 1OD and/or CSM to Plaintiff or his counsel were paid.

50. That 1OD and/or CSM have charged other Wisconsin residents a retrieval fee, basic,

   processing and/or a certification fee or other inappropriate fees although the request for




                                                10

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   the records or bills was made by the patients themselves or persons authorized in writing

   by them.

51. That IOD and/or CSM were not entitled to charge the Plaintiff or the Class Members a

   basic fee, processing fee, certification fee or retrieval fees when they request their own

   records or someone authorized by them in writing has requested their records.

52. That 10D and/or CSM have charged non-allowed fees and fees in excess of the amounts

   allowed by Wisconsin law.

53. That IOD and CSM have violated the provisions of Wis. Stat. §146.83.

54. The Plaintiff and the Class Members who have been charged a basic fee, processing fee,

   retrieval fee or certification fee when that person or a person authorized by them in writing

   has requested their own records, is entitled to recover the fees charged by the Defendants.

55. That IOD and/or CSM knowingly and willfully violated Wis. Stat. § 146.83 by charging

   retrieval fees, certification fee or other inappropriate fees.

56. That the violation of Wis. Stat. §146.83, subjects Ciox, due to its having assumed all

   liability of IOD, and CSM to exemplary damages of between $1.00 and $25,000.00 per

   violation, plus costs and reasonable actual attorney fees pursuant to Wis. Stat.

   §146.84(l)(a).

57. That Plaintiff and the Class Members have incurred actual damages due to the knowing

   and willful violation of Wis. Stat. §146.83 by 10D and/or CSM.

58. That Plaintiff and the Class Members are entitled to recover their damages, plus exemplary

   damages of between $1.00 and $25,000.00 per violation, plus costs and reasonable actual

   attorney fees from Defendants for the knowing and willful violation of Wis. Stat. § 146.83

   by IOD and/or CSM.




                                             11


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59. That, alternatively, IOD and/or CSM negligently violated Wis. Stat. § 146.83 by charging

   retrieval fees, certification fee or other inappropriate fees.

60. A negligent violation of Wis. Stat. §146.83, subjects Defendants to exemplary damages

   of between $1.00 and $1,000.00 per violation, plus costs and reasonable actual attorney

   fees pursuant to Wis. Stat. §146.84(1 )(b).

61. That Plaintiff and the Class Members have incurred actual damages due to the negligent

   violation of Wis. Stat. §146.83 by IOD and/or CSM.

62. That Plaintiff and the Class Members are entitled to recover their damages, plus exemplary

   damages of between $1.00 and $1,000.00 per violation, plus costs and reasonable actual

   attorney fees from Defendants for the negligent violation of Wis. Stat. § 146.83.



   UNJUST ENRICHMENT - DISGORGEMENT

63. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.

64. 10D and CSM knew the monies charged were unlawful.

65. IOD and/or CSM appreciated and received the benefit of the monies they charged

   illegally.

66. IOD and/or CSM's retention of said benefit is inequitable and unjust and Defendants

   should be required to return said monies and disgorge all illegal charges, profits and

   interest earned on same.

          WHEREFORE, Plaintiff respectfully requests the Court enter judgment in favor of

   Plaintiff and the Class Members and against the Defendants as follows!:

          1) Certify the Proposed Classes, appoint the Plaintiff as Class Representative and

                appoint his counsel as Class Counsel;




                                             12

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        2) For compensatory damages in an amount to be determined at trial by a jury;

        3) For exemplary damages up to $25,000.00 per violation, plus costs and

           reasonable actual attorney's fees incurred by Plaintiff(s);

        4) For the return of all monies, profit, interest and pre-judgment interest on all

           sums illegally collected;

        5) For such other and further relief as this court finds necessary and proper.




                  PLAINTIFF REQUESTS A TRIAL BY JURY



                                              Dated this 22 nd day of January, 2018.



                                              WELCENBACH LAW OFFICES, S.C.
                                              Attorney for Plaintiff


                                              Electronically submitted by Robert J. Welcenbach
                                              Robert J. Welcenbach
                                              State Bar No. 1033091




                                         13


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                                                                           2017 WI 45

                    SUPREME COURT OF WISCONSIN

CASE No.:                   2014AP2236
COMPLETE TITLE:             Carolyn Moya,
                                       Plaintiff-Respondent-Petitioner,
                                 v.
                            Aurora Healthcare, Inc. and Healthport
                            Technologies, LLC,
                                       Defendants-Appellants.


                                 REVIEW OF A DECISION OF THE COURT OF APPEALS
                                       366 Wis. 2d 541, 874 N.W. 2d 336
                                          (2016 WI App 5 - Published)

OPINION FILED:              May 4, 2017
SUBMITTED ON BRIEFS :
ORAL ARGUMENT :             October 20, 2016

SOURCE OF APPEAL:
     COURT:                 Circuit
     COUNTY:                Milwaukee
     JUDGE:                 Karen E. Christenson

JUSTICES:
     CONCURRED:

     DISSENTED:             ZIEGLER, J. dissents (opinion filed).
     NoT PARTICIPATING:     BRADLEY, R. G., J. and KELLY, J. did not
                            participate.

ATTORNEYS:
         For the plaintiff-respondent-petitioners,                    there was a brief
by      Robert       J.     Welcenbach    and   Welcenbach       Law       Offices,     S.C.,
Milwaukee, and oral argument by Robert J. Welcenbach.


         For      the     defendants-appellants,        there   was    a   brief by      John
Franke,           Daniel    A.    Manna   and   Gass,    Weber    and       Mullins,     LLC,
Milwaukee, and oral argument by John Franke.




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                                                                                   NOTICE
                                                                 This opinion is subject to further
                                                                 editing and modification.   The final
                                                                 version will appear in the bound
                                                                 volume of the official reports.
No.        2014AP2236
(L.C. No.      13-CV-2642)

STATE OF WISCONSIN                                                           IN SUPREME COURT

Carolyn Moya,

               Plaintiff-Respondent-Petitioner,
                                                                                      FILED
       v.

Aurora Healthcare, Inc. and Healthport                                             MAY 4, 2017
Technologies, LLC,
                                                                                  Diane M. Fremgen
                                                                               Clerk of Supreme Court
               Defendants-Appellants.




       REVIEW of a decision of the Court of Appeals.                                  Reversed and

remanded for further proceedings.



       <_!Il   MICHAEL       J.    GABLEMAN,           J.      This     is     a     review     of   a

published       decision      of    the     court       of     appeals       that    reversed     the

Milwaukee       County   circuit          court' s 1        denial    of Aurora        Healthcare,

Inc.    and    Heal thport        Technologies,             LLC' s    (collectively          referred

to as "Healthport") motion for summary judgment and remanded the

case    with     directions        to   grant     Heal thport' s         motion       for     summary


       1
            The Honorable Karen E. Christenson presiding.




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judgment.        Moya v. Aurora Healthcare,                   Inc.,    2016 WI App 5,            366

Wis. 2d 541, 874 N.W.2d 336.

       <][2     Today,    we    are    asked to        interpret      the meaning of the

phrase        "person     authorized         by       the     patient"       in    Wis.      Stat.
                                                 2
§   146.83(3f) (b)4.-5.             (2013-14),        which exempts      a    "patient or a

person        authorized       by    the    patient"        from   paying         certification

charges and retrieval fees for obtaining copies of the patient's

health        care    records.          More      particularly,        we     are        asked   to

determine whether an attorney whose client authorized him via a
                 '
HIPAA 3 release form to obtain her health care records may benefit

from this fee exemption.                   Because the phrase "person authorized

by the patient" is defined in Wis.                      Stat. § 146.81(5)               to include

"any person authorized in writ~ng by the patient," we hold that

an attorney authorized by his                        or her   client     in writing via           a

HIPAA release form to obtain the client's health care records is

a    "person         authorized        by      the      patient"      under        Wis.      Stat.

§   146.83(3f) (b)4.-5.         and is therefore exempt from certification

charges         and      retrieval          fees        under      these          subdivisions.

Consequently,         the decision of the court of appeals is reversed,

and the case is remanded for further proceedings consistent with

this opinion.


       2
      All subsequent references to the Wisconsin Statutes are to
the 2013-14 version unless otherwise indicated.
       3
       HI PAA stands   for   Heal th Insurance Portability and
Accountability Act.    A HI PAA release form is a type of form
wherein a patient consents to the release of his or her health
care information to a third party.



                                                  2



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                        We        begin        with      a     brief         factual         background         and

description of the procedural history.                                             We then set        forth the

standard                of        review       and    the          relevant         rules     for     statutory

interpretation.                      We then conclude that Carolyn Moya' s                                 ("Moya")

attorney                is    a     "person      authorized             by   the     patient"        under     Wis.

Stat.          §    146.83(3f) (b)4.-5.                  and       is    therefore          exempt    from      the

certification                      charge       and    retrieval             fee     authorized        by      that

statute.                     Next,    we       address       Healthport's            arguments        that      the

doctrines of voluntary payment and waiver bar Moya's claim.

                        I.        FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       A.          The Statutes Governing Access to Health Care Records

        q[ 4            Access to patient heal th care records is governed by

Wis. Stat. § 146.83.                           Under subsec.            (3f),      a health care provider

shall, subject to exceptions that are inapplicable here, provide

copies of a patient's health care records "if a person requests

copies             of    a     patient's         heal th       care      records,      provides        informed

consent,                and        pays        the    applicable             fees     under         par.      (b) •   II



§   146. 83 (3f) (a).

        q[5             Pursuant          to     para.       (b),       health       care     providers         may

impose             certain           costs       on   the          person     requesting        health         care

records under para.                       (a):

             (b) Except as provided in sub.    (lf), a health
        care provider may charge no more than the total of all
        of the following that apply for providing the copies
        requested under par. (a):

             1. For paper copies:    $1 per page for the first
        25 pages; 7 5 cents per page for pages 2 6 to 50; 50
        cents per page for pages 51 to 100; and 30 cents per
        page for pages 101 and above.

                                                               3



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                2. For microfiche or microfilm copies,                     $1. 50 per
        page.

                3. For a print of an X-ray, $10 per image.

             4. If the requester is not the patient or a
        person authorized by the patient, for certification of
        copies, a single $8 charge.

             5. If the requester is not the patient or a
        person authorized by the patient, a single retrieval
        fee of $20 for all copies requested.

             6. Actual            shipping      costs       and   any     applicable
        taxes.
Wis. Stat.       §   146. 83 ( 3f) (b)      (emphasis added).          According to subd.

4.     and   subd.    5.,    the     patient    and     a   person     authorized by       the

patient are exempt from the certification charge and retrieval

fee.     This statute,            though,    does not provide a definition for a

"person authorized by the patient."

        i6      Instead,      a     "person     authorized        by    the   patient"       is

defined in Wis. Stat. § 146.81(5) as

        the parent, guardian, or legal custodian of a minor
        patient, as defined in s. 48.02 (8) and (11), the
        person vested with supervision of the child under s.
        938.183 or 938.34    (4d), (4h),  (4m), or (4n), the
        guardian of a patient adjudicated incompetent in this
        state, the person representative, spouse, or domestic
        partner under ch. 770 of a deceased patient, any
        person authorized in writing by the patient or a
        health care agent designated by the patient as a
        principal under ch. 155 if the patient has been found
        to be incapacitated under s. 155. 05 (2), except as
        limited by the power of attorney for health care
        instrument.  If no spouse or domestic partner survives
        a deceased patient, "person authorized by the patient"
        also means an adult member of the deceased patient's
        immediate family, as defined in s. 632. 8 95 ( 1) ( d) . A
        court may appoint a temporary guardian for a patient
        believed incompetent to consent to the release of
        records under this section as the person authorized by

                                                4


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        the patient to decide upon the release of records,                                       if
        no guardian has been appointed for the patient.
(Emphasis added).               Because this definition uses the disjunctive

"or," see Hull v.              State Farm Mut.                Auto.    Ins.,     222 Wis. 2d 627,

638,        586    N.W.2d 863         (1998)        ("' [O]r'         should        be     interpreted

disjunctively."),              in    order     to    be       a    person     authorized             by    the

patient          under   Wis.       Stat.    § 146.83(3f) (b)4.-5.,                  and       therefore

enjoy exemption from the certification charge and retrieval fee,

a   person must          fall       into    only one          of     the    above    categories             of

persons.          One of the categories in the above definition is "any

person authorized in writing by the patient,"                                     and it         is       this

category on which Moya relies in arguing that her attorney is a

"person authorized by the patient" under§ 146.83(3f) (b)4.-5.

                          B.        Maya's Class Action Lawsuit
        ~7        This case comes to us by way of a class action lawsuit

filed       by    Moya   on     behalf       of     not       only    herself        but       all    other

similarly           situated          persons           who        have       been       billed            the

certification            charge       and      retrieval             fee    by    Healthport               for

obtaining their own healthcare records.                                The class action arose

from Maya's personal injury claim 4 in which Moya hired Welcenbach
Law Offices,         s.c.      to represent her and the law firm had to pay

the    certification            charge      and     retrieval          fee,      despite        the       fact

that Moya had authorized the law firm in writing to obtain those
records.


        4
       Maya's personal injury claim arose from a car accident in
2011 from which she sustained injuries.     This claim has since
been settled.



                                                    5



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       <JIB          Moya    authorized       her      attorney,            Robert    Welcenbach,        to

obtain her heal th care                  records by signing HI PAA release                            forms

giving          to     Welcenbach       Law       Offices,           S.C.     "authoriz[ation]           to

receive [her] health information."

       <JI9          Atty.    Welcenbach          subsequently          submitted       requests        for
                                              5
Maya's health care records,                        and Healthport, when fulfilling the

requests,             imposed        certification           charges          and    retrieval         fees

pursuant         to     Wis.    Stat.    §    146. 83 (3f) (b) 4. -5.               Atty.     Welcenbach

paid the certification charges and retrieval fees and passed the

associated             costs    to     Moya       by       deducting         the     costs     from     the

settlement proceeds resulting from her personal injury claim. 6

       <JJ:10        At the    time Heal thport              invoiced Atty.           Welcenbach,        he

paid       the       costs,     and     he    did      not      specifically           dispute        them.

However,         he     had     on    multiple         previous        occasions        disputed        the

imposition of such costs in other cases.



       5
      Atty. Welcenbach submitted his request to Moya' s heal th
care provider, Aurora Healthcare, Inc. ("Aurora") , but Aurora
and Healthport have an agreement whereby Healthport handles
Aurora's health care records requests.
       6                                                                                                for
       The total deducted                     from         Moya' s     settlement       proceeds
these costs was $294.70.

      Contrary to the assertion made by the dissent, the fact
that Atty. Welcenbach passed these costs along to Moya was not a
factor in arriving at our conclusion that Atty. Welcenbach is a
person authorized by the patient for purposes of Wis. Stat.
§ 146.83(3f) (b)4.-5. See dissent, <]J:62 n. 3. Our determination
that Atty. Welcenbach is a person so authorized is derived from
our application of the plain language of the statute and nothing
more.



                                                       6



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        CJill     In       response              to     Healthport's           imposition            of      the

certification charges and retrieval fees,                                     Moya filed this class

action lawsuit.                  She argues that Healthport violated Wis.                                  Stat.

§   146.83(3f) (b)4.-5.                   when    it    imposed the           certification charges

and retrieval fees because her attorney is a "person authorized

by the patient," thereby exempting her attorney from paying the

certification charges and retrieval fees.

        CJI12     Healthport              moved        to        dismiss     Maya's       complaint          for

failure           to    state         a     claim,          and     the      circuit      court 7      denied

Healthport's             motion.             Healthport              filed    an     answer,         and     the

parties           underwent           limited           discovery.              After        the      limited

discovery, Healthport filed a motion for summary judgment asking

the circuit court to dismiss Moya' s                                 claim with prejudice.                   The

circuit court 8 denied Heal thport' s motion.                                      Heal thport filed a

motion for reconsideration,                            and the circuit court 9 again denied

Healthport's motion.

        CJI13     Healthport              filed        an        interlocutory       appeal,         and     the

court        of        appeals        reversed              the     circuit        court's         denial     of

Healthport' s motion for summary judgment and remanded the case
                                                             ~


with        instructions           to       grant       Healthport's           motion.             Moya,     366

Wis. 2d 541,             CJil.    The       court of appeals determined that Moya' s

attorney          was      not    a        "person          authorized        by    the    patient"          and


        7
             The Honorable William W. Brash III presiding.
        8
             The Honorable Karen E. Christenson presiding.
        9
             The Honorable Pedro A. Colon presiding.



                                                             7



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therefore Healthport could impose the certification charges and
retrieval            fees    on Moya' s       attorney.            Id.,      <]116.         Judge     Kessler
dissented            stating        that    she     would      uphold        the        circuit       court's
denial      of       Heal thport' s        motion        for    summary        judgment            and   would
conclude         that        Healthport        could       not     impose        the        certification

charge          and        retrieval        fee.           Id.,       <]1<]128-29        (Kessler,           J.'

dissenting) .

        <]114    Moya        petitioned           this     court       for      review,            which      we
granted in order to determine whether her attorney is a "person

authorized            by     the    patient"        and     thus      exempt          from       paying      the
certification charge and the retrieval fee found in Wis.                                                 Stat.
§   146.83(3f) (b)4.-5.

                                     II.    STANDARD OF REVIEW

        <]115    "Whether           the    circuit        court    properly             granted       summary
judgment is a question of law that this court reviews de nova."

Racine County v. Oracular Milwaukee,                              Inc.,     2010 WI 25,             <]124,   323
Wis. 2d 682,                781     N.W.2d 88         (quoting         Hocking              v.     City       of
Dodgeville,           2009 WI        70,    <]17,   318    Wis. 2d 681,               768    N.W.2d 552).

Summary judgment must be granted "if the pleadings, depositions,
answers         to    interrogatories,              and    admissions           on      file,       together
with the affidavits, if any, show that there is no genuine issue

as to any material fact and that the moving party is entitled to

a   judgment as             a matter of law."                  Wis.   Stat.         §   802.08 (2).           In
making this determination,                      this court applies a                     two-step test.

Green     Spring            Farms    v.    Kersten,        136     Wis. 2d 304,              314-15,         401
N.W.2d 816 (1987).                  Under the first step, this court asks if the

plaintiff stated a                  claim for       relief.           Id.    at 315.               Under the

                                                     8



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second step, this court applies the summary judgment statute and

asks if any factual issues exist that preclude summary judgment.

Id.

        <[16    "We    review questions             of statutory interpretation and

application independently,                   but benefiting from the                      discussions

of    the      circuit       court    and     the       court   of    appeals."              State        v.

Grunke, 2008 WI 82, <[10, 311 Wis. 2d 439, 752 N.W.2d 769.

                                       III.       DISCUSSION

                  A.        The Rules of Statutory Interpretation

        <[17    "[T]he        purpose       of      statutory        interpretation                is     to

determine what              the   statute means           so that      it may be            given its

full,       proper,     and       intended       effect."       State         ex    rel.     Kalal        v.

Circuit Court for Dane Cty.,                      2004 WI 58,        <[44,     271 Wis. 2d 633,

681 N.W.2d 110.               Statutory interpretation begins with the text

of the statute.               Id.,   <[45   (quoting Seider v. O'Connell,                      2000 WI

76,    <[43,    236 Wis. 2d 211,            612 N.W.2d 659).              If the text of the

statute is plain and unambiguous,                        our inquiry stops there.                        Id.

(quoting Seider, 236 Wis. 2d 211, <[43).

        <[18    If the text is ambiguous, we must look beyond the text
to other,        extrinsic sources of information,                       such as legislative

history,       to interpret the statute.                    Id.,     <[4 6.        "[A]     statute is

ambiguous        if    it    is    capable       of being understood by                     reasonably

well-informed persons in two or more senses."                                      Id.,    <[47.        Even

without ambiguity,                though,    we may consult extrinsic sources to

confirm our understanding of the plain language                                      of a     statute.

Id., <[51.



                                                    9



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          <[19    "Statutory language is given its common,                                 ordinary,         and

accepted          meaning,    except        that           technical           or     specially-defined

words        or     phrases        are     given            their         technical             or      special

definitional meaning."                   Id.,    <[45.       We also look to the context:

"[S]tatutory language is interpreted in the context in which it

is used; not in isolation but as part of a whole; in relation to

the       language    of     surrounding             or     closely-related                statutes;         and

reasonably, to avoid absurd or unreasonable results."                                             Id., <[46.

 B.       Interpretation of "Any Person Authorized in Writing by the

                                                Patient"

          <[20    Moya argues that "any person authorized in writing by

the patient"          in Wis.       Stat.        §    14 6. 81 ( 5)       is    "defined broadly by

the    legislature"          and    that        the     plain meaning                of    the        statutory

language          requires    nothing           more       than       a    person         and     a    written

authorization from the patient.                            Thus, Maya's attorney qualifies

as    a     "person       authorized        in        writing         by       the     patient"          simply

because he is a person and has a written authorization from Moya

in the nature             of the. HIPAA release                   form.             Healthport,         on the

other       hand,    argues    that        the        context       of     §    146.81(5)             indicates

that the person authorized in writing by the patient must                                                    (in

addition to having authorization to obtain health care records)

also be authorized to make heal th care decisions on behalf of

the patient.          In response to this argument, Moya says Healthport

can achieve this definition only by adding its own language to

the statute.

          <[21    After    examining            the        language            of    the    statute          and

applying the well-established rules of statutory interpretation,

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we agree with Moya.           The context of the statutory definition of

"person    authorized      by    the    patient"     provided    in      § 146.81(5)

indicates that "any person authorized in writing by the patient"

is a stand-alone category, separate and apart from the remaining

categories,       containing     no    limitations    beyond     those      expressly

written.      We    base   our    determination      in   this    regard      on   the

punctuation and conjunctions given in the statute and see these

categories as follows:

     (1)     "[T]he parent, guardian, or legal custodian of a minor
             patient, as defined ins. 48.02 (8) and (11)";

     (2)     "the person vested with supervision of the child under
             s. 938.138 or 938.34 (4d), (4h), (4ml, or (4n)";

     (3)     "the guardian of a patient adjudicated incompetent in
             this state";

     (4)     "the personal representative,     spouse,  or                   domestic
             partner under ch. 770 of a deceased patient";

     (5)     "any person authorized in writing by the patient or";

     (6)     "a health care agent designated by the patient as a
             principal under ch. 155 if the patient has been found
             to be incapacitated under s. 155.05(2), except as
             limited by the power of attorney for health care
             instrument."

     (7)     "If no spouse or domestic partner            survives a deceased
             patient, 'person authorized by the            patient' also means
             an adult member of the deceased              patient's immediate
             family, as defined ins. 632.895(1)           (d) ."

     (8)     "A court may appoint a temporary guardian for a
             patient believed incompetent to consent to the release
             of records under this section as the person authorized
             by the patient to decide upon the release of the
             records, if no guardian has been appointed for the
             patient."
Wis. Stat.    §   146.81(5)     (emphasis added).

                                          11


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       <J[22   Thus,        the phrase "any person authorized in writing by

the patient" must be interpreted as its own category of persons

authorized          by      the          patient.            The         statutory             language        is

unambiguous         in that           it    requires        only a           person with a             written

authorization            from        the     patient.             The        plain      meaning        of     the

statute        does        not        require         that        the        authorization              be     an

authorization            to make           heal th    care        decisions          on behalf of             the

patient.            Thus,      when         the     phrase        "person          authorized          by     the

patient"       is     used       in        Wis.     Stat.     §    146.83(3f) (b)4.-5.                 in     the

context of obtaining copies of health care records,                                             it includes

"any person authorized in writing by the patient" to obtain such

records.        The definition                    requires        no    additional             authorization

for    such      person             to     qualify         for         the     exemption             from     the

certification charge and retrieval fee.

       <J[23   Healthport argues that this conclusion is inconsistent

with the general principle that we interpret an item in a list

consistently with the remaining items in the list.                                             See State v.

Popenhagen,         2008       WI    55,     <J[46,   309 Wis. 2d 601,                    749 N.W.2d 611.

From    this     general            principle,        Healthport             urges        us    to    conclude

that "any person authorized in writing by the patient" must have

the    ability        to    make         health       care       decisions           on    the       patient's

behalf.        Healthport's argument runs as follows:                                     Because each of

the    other    categories               of persons          in    the       definition          of    "person

authorized by            the     patient"          in Wis.         Stat.       §    146.81 (5)        has     the

authority       to       make        health        care      decisions             on     behalf       of     the

patient,        the        fifth         category         listed         above          must     have        that



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authority as well in order to qualify as a "person authorized by

the patient."

        124    This argument is unpersuasive in light of the relevant

statutory        context.            Examining       the       various          categories       in   the

definition of "person authorized by the patient" in Wis.                                           Stat.

§    146.81(5)       demonstrates           that    the     legislature            did not       specify

that each must have the authority to make health care decisions

for     the     patient.             Instead,       the        legislature          placed      varying

parameters on each distinct category.                             For example, in the first

category,        the      legislature         chose       to     limit       it    to    the    parent,

guardian,       or legal custodian of a minor patient.                                  Therefore,       a

parent, guardian, or legal custodian of a minor is automatically

a     "person       authorized         by     the    patient"           wherever        that      phrase

appears in Wis.              Stat.    §§ 146.81-.84;             nothing else is necessary

to     qualify         and     no     other        limitation           is      imposed.           Other

categories,          however,        are     narrower.            For      example,       the     eighth

category        is     specifically           limited           to     a     temporary         guardian

appointed by a court to "decide upon the release of records" for

an     incompetent        patient.           At     least       for     this      category,       having

specific       authorization           to    make        health       care      decisions       for   the

incompetent patient is a requirement.

        125     We cite these instances of circumscription within the

statute       not    as      demonstrations          of    the       legislature's            collective

facility with language but, rather, to bolster our understanding

that, when the legislature chooses to say "any person authorized

in     writing       by      the    patient,"        we     must       interpret         these     words

without       the     kind     of    limitation           proposed         by     Healthport.         Cf.

                                                    13


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Indus.       to Indus.,     Inc.      v.   Hillsman Modular Molding,                         Inc.,    2002

WI    51,    <[19,    252 Wis. 2d 544,            644 N.W.2d 236.             Put simply,              had

the     legislature        intended         to     place          parameters       of         the     kind

Heal thport          suggests   on    a    person authorized             in writing by                 the

patient, "it would have done so."                           Id.     It did not, and so we do

not. 10
       <[26     Healthport argues that interpreting the category "any

person        authorized        in    writing          by     the    patient"          without         the

additional           requirement      that       the        authorization         be     for        making

health care decisions creates chaos and inconsistency throughout

the       statutory      scheme.           Without           constancy       as    to         what     the

authorization must be for,                 Healthport argues that the definition

of a      "person authorized by the patient" would change each time

it    is used throughout             the    statute.              However,    it       is enough to

refute this argument to note that,                           contrary to what Healthport

argues,       the definition of a            "person authorized by the patient"

remains       constant      throughout           the    statutes       governing             access     to

health care records.                 Instead of creating chaos, permitting the

specific nature of the authorization allows for flexibility.                                            In



        10
       According to the dissent, such an interpretation is one
done in a vacuum, not taking into account the context in which
the words    are written.      E.g.,  dissent, <[41.   However,
interpreting the text to also contain the words "to consent to
the release of the patient's heal th care records" ignores the
immediate context of the text we are asked to interpret here
because it does not take into account the distinction between
"any person authorized in writing by the patient" and the other
categories of persons used in the statute.


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all      cases,        we        simply         look     to       the     written         authorization        to

determine what the patient has authorized the person to do.

         !27    Because             the      definition           of    "any       person    authorized        in

writing by the patient" does not specify what the person must be

authorized           to     do,       the       written       authorization               necessary     for    an

attorney        to     qualify            will     depend         on    the     function      the      attorney

seeks     to perform.                  In other words,                  why an attorney might need

written        authorization                 may    be     different          in     different        contexts.

For example,           to perform the function of a                              "person authorized by

the      patient"              in      some        contexts,            the     attorney        might        need

authorization               to       make        certain          decisions          on    behalf      of     the

patient.        See,        e.g., Wis.             Stat.      §   146.82(1)          (informed consent to

release        records           may      be     given     by      a    "person       authorized        by    the

patient").           But in other contexts,                         the attorney would only need

authorization to receive copies of health care records.                                                That is

the      case     in      Wis.         Stat.       § 146.83(3f),               the      statute       governing

requests for copies of such records.                                     Regardless of the context,

what mattered to the legislature in defining "person authorized

by the patient" to include "any person authorized in writing by

the patient" is that the person does have written authorization

from the patient to perform the relevant function.

         i28    Past iterations of the statute support our conclusion

that the plain meaning of "any person authorized in writing by

the patient"              is     exactly what            it       says.        See    County of        Dane    v.

LI RC,    2 0 0 9 WI        9,      ! 27 ,     315 Wis . 2 d 2 9 3 ,          7 5 9 N . W. 2 d 5 71    ( quoting

Richards v.          Badger Mut.                Ins.,    2008 WI 52,             !22,      309 Wis. 2d 541,

749   N.W.2d 581)                (statutory context                    includes      past    iterations        of

                                                           15


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the statute).            When the legislature first enacted the statute in

1979,        Wis.    Stat.     §    146.81(5)    defined "person authorized by the

patient" as

        the parent, guardian or legal custodian of a minor
        patient, as defined in s. 48.02 (9) and (11), the
        guardian of a patient adjudged incompetent, as defined
        ins. 880.01 (3) and (4), the personal representative
        or spouse of a deceased patient or any person
        authorized in writing by the patient.
In     this      version       of     the     statute,     "any     person     authorized      in

writing by the patient," as evidenced by the use of "or," is the

last category of persons considered a "person authorized by the

patient."            We see from· our reading of the 1979 statute that "any

person authorized in writing by the patient" has always been a

distinct category of persons-one without limitation other than

a requirement of authorization in writing from the patient.
        <]129       Nevertheless,       Healthport argues that a 2014 amendment

to     the      statutes           governing    health     care      records,       Wis.    Stat.

§    146. 83 (lb),      provides       context that        shows     that the legislature

intended to exclude attorneys from the definition of a "person

authorized by the patient."                        The 2014 addition of         §     146.83(1b)

states, "Notwithstanding s. 146.81(5), in this section a 'person

authorized by            the       patient'     includes     an     attorney    appointed      to

represent the patient under s.                       977.08[ 11 ]    if that attorney has

written         informed       consent      from    the   patient     to   view and        obtain

copies          of     the     records."            According        to    Healthport,        the

        11
       Wisconsin Stat.                 §    977. 08 relates to the appointment of a
state public defender.


                                                   16


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legislature's                 use         of        "[n]otwithstanding"                      shows            that           the

legislature,              in        § 146.83(1b),                 included          a        certain              type        of

attorney-public                    defenders-as                   a     person          authorized                  by       the

patient          to    receive        heal th         care        records      in       spite          of     a     general

exclusion of attorneys from Wis. Stat. § 146.81(5).

        '1130     While        the    legislature may have                       intended               to    expressly

include          public        defenders,               we        decline      Healthport's                        implicit

invitation to add limiting language                                      to Wis.         Stat.          §    146.81(5).

The     legislature,               with        its    use     of        "any   person,"                chose         not      to

place        a    limit       on     who       could     be           authorized        in     writing               by      the

patient          under    §    146.81(5),              and    we        give   effect             to    the         enacted

text.            See    Bruno        v.    Milwaukee              County,      2003          WI        28,        '1114,     2 60

Wis. 2d 633,              660         N.W.2d 656                  (refusing         to        add            additional

requirements             to     the       definition              of     "retirement"              because                 those

additional             requirements             were    not mentioned                   in    the       text) .             And

more to the point,                   nothing about the express inclusion of public

defenders             leads     us        to        conclude          the   legislature                 intended              to
                                               12
exclude other attorneys.




        12
        Healthport has failed to establish that the doctrine of
expressio uni us est exclusio al terius ( the expression of one
thing is the exclusion another) applies here because nothing
indicates that the legislature considered attorneys other than
public defenders when enacting the language of Wis.         Stat.
§ 146.83(1b).   See Wis. Citizens Concerned for Cranes & Doves v.
DNR, 2004 WI 40, '1117 n.11,    270 Wis. 2d 318,   677 N.W.2d 612
( "This rule may be applied only where there is some evidence
that the legislature intended it to apply.").

                                                                                                             (continued)

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        ':1131    In        sum,        Moya's        attorney       qualifies          as         a        "person

authorized by               the        patient"       because     he      is    a    person,           he    has   a

written authorization from Moya via the HIPAA release form,                                                     and

Moya,     the patient,                 signed the HIPAA release form to provide her

attorney the authorization to receive her heal th care records.

Therefore,             as     a        person        authorized       by       the    patient,              Moya's

attorney is exempt from the certification charges and retrieval
fees Healthport imposed under Wis. Stat.§ 146.83(3f) (b)4.-5.

           C.     The Doctrine of Voluntary Payment Does Not Apply

        ':1132    Healthport             argues        that     the        doctrine      of            voluntary

payment bars Moya' s                     class       action lawsuit            and    thereby entitles

Healthport         to       summary        judgment;          however,         we    conclude          that    the

doctrine of voluntary payment does not apply.

        ':[33     "The       voluntary          payment       doctrine         places    upon           a    party

who wishes to challenge the validity or legality of a bill for

payment          the    obligation              to    make     the     challenge         either             before

voluntarily making payment, or at the time of voluntarily making

payment."          Putnam v. Time Warner Cable of Se. Wis., Ltd. P'ship,

2002     WI      108,        ':1113,    255     Wis. 2d 447,           649      N.W.2d 626.                 "[T]he

voluntariness               in     the     doctrine       goes       to      the     willingness              of   a




     The dissent also seems to be looking for "attorneys" to be
expressly and specifically listed persons authorized by the
patient.   See, e.g., dissent, ':1142. However, if we are to look
for such narrow categories, who then would qualify?    The answer
is no one because no category of persons is so specifically
listed in the statute.



                                                         18


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person to pay a bill without protest as to its correctness or

legality."             Id., '1[15.

        '1[34     It        is      axiomatic            that       we        give         effect            to     the

legislature's                expressed         intent          when         we     interpret                statutes.

Kalal,          271    Wis. 2d 633,            '1[44.         Here,         we     determined               that    the

legislature's                expressed        intent       that        a     person         with        a     written

authorization                from      a      patient          does         not      have         to        pay     the

certification charge or retrieval fee for obtaining health care
records.              Thus,         "[a]pplication             of     the         common     law            voluntary

payment doctrine would undermine the manifest purposes of                                                          [Wis.

Stat.      §     146.83(3f)]."              MES-Certified                Pub.      Accountants,               LLC v.

Wis.      Bell,             Inc.,     2 012     WI       15,        '1[4,     338         Wis. 2d 647,               809

N.W.2d 857.                 Consequently,           we cannot apply it in this case to

bar Moya's claim.

                       D.     The Doctrine of Waiver Does Not Apply

        c_rr35    Heal thport          also         argues          that          Moya' s        class         action

lawsuit is barred.by the doctrine of waiver.                                         We disagree.

        '1[36     "Waiver            has      been        defined            as       a      voluntary               and

intentional            relinquishment of a                    known         right."         Attoe v.               State

Farm      Mut.         Auto.        Ins.,      36       Wis. 2d 539,               545,     153         N.W.2d 575

(1967).          Waiver can be done through conduct.                                 Id.

        '1[37     Healthport           argues        that       Moya         waived         her        ability        to

obtain her health care records at a lower cost because she chose

to     authorize            her     attorney        to    obtain            her    health         care        records

instead          of     requesting          them        herself,            thereby         voluntarily              and

intentionally                relinquishing           her       right         not     to     be     charged           the

certification charge and retrieval fee.                                      As with the application

                                                         19


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of the doctrine of voluntary payment,                                          we decline to apply the

doctrine      of    waiver       to     subvert             the          legislature's               intent.          To

conclude that the doctrine of waiver applies would require us to

conclude      that       Moya's       attorney                  has       to    pay       the    certification

charge      and    retrieval          fee.            However,             we       conclude          that       Moya's

attorney      does       not     have        to       pay           the        certification               charge     or

retrieval         fee    because        he            is        a     "person            authorized             by   the

patient."          Thus,      the doctrine of waiver does not apply to bar

Moya's class action lawsuit.

                                        IV.           CONCLUSION

       i38    Because the phrase "person authorized by the patient"

is    defined      in    Wis.     Stat.           §    146.81(5)               to    include          "any       person

authorized in writing by the patient," we hold that an attorney

authorized by his or her client in writing via a HIPAA release

form to      obtain        the   client's              heal th           care       records      is        a    "person

authorized by the patient" under Wis. Stat.                                          §    146.83(3f) (b)4.-5.

and is therefore exempt from certification charges and retrieval

fees under those subdivisions.

       By    the     Court.-The         decision                    of    the       court       of     appeals        is

reversed      and       the    case     is    remanded                   for     proceedings               consistent

with this opinion.

       i39    REBECCA GRASSL BRADLEY and DANIEL KELLY,                                               JJ·.,      did not

participate.




                                                           20


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        i40      ANNETTE         KINGSLAND              ZIEGLER,       J.      (dissenting).                The

question before this court is whether a personal injury attorney

who     obtains       his        or    her     client's          written       consent          to   receive

copies        of     the     client's          health           care        records       is    a    "person

authorized          by     the     patient"             under    Wis.       Stat.     §   146.83 (3f) (b),

such that the attorney need not pay certification and retrieval
fees when requesting copies of the records                                      from a health care

provider.           The circuit court concluded that such an attorney is

exempt from the              fees       as a       "person authorized by the patient."

The court of appeals                    in examining the                 same statutory language

answered           this    question           in        the     negative,       concluding           that     a

"person authorized by the patient"                                within the meaning of Wis.

Stat.       §§   146.81 (5)       and 146.83 (3f) (b)               is a       person who has            "the

power to consent to the release of the patient's records," not a

person who merely has the power to receive those records.                                                Moya

v. Aurora Healthcare, Inc., 2016 WI App 5, i16, 366 Wis. 2d 541,

874 N.W.2d 336 (emphasis added).                               This court reverses that court

of appeals' determination today purportedly because the language

is clear.           I write because when utilizing traditional methods of

statutory          interpretation,             examining           the      text,     its      context      and

construction,              the        plain        meaning        demonstrates              that     "person

authorized by the patient" has a less expansive meaning than my

colleagues have adopted.

        i41      The court concludes that an attorney authorized by his

or    her     client       in     w:ri ting        to    obtain     the       client's         heal th   care

records is a "person authorized by the patient" under Wis. Stat.

§§    146.81(5) and 146.83(3f) (b).                           In so doing it explains that it

                                                          1


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is relying on the "plain meaning" of the statute.                            I acknowledge

that the interpretation of the statutes adopted by this court is

defensible if one only looks at those words in a vacuum.                                    The

conclusion of the court of appeals,                      however,     is also supported

by the        text.     How do we           know which interpretation is correct?

Each interpretation relies on the language of the statute,                                  yet

the court of appeals and this court reach opposite conclusions.

I endeavor to wade through a more thorough statutory analysis in

order to reach a conclusion.

        <][42    As a practical matter,               it certainly makes sense that

the legislature might choose to exempt personal injury attorneys

from the challenged fees.                    These attorneys act as advocates for

their clients and perhaps should be able to obtain the records

without the fee.               However,      these lawyers are not listed in Wis.

Stat.     §     146. 81 (5),    the    statute that defines          "person authorized

by     the       patient,"       nor      are    they    exempt      under     Wis.     Stat.

§ 146.83(1b),           whereby       the    legislature     determined       that     public

defenders need not pay the fee.                       These lawyers do not fall into

the     class      of   persons       listed     in    § 146.81(5)    as     they     are   not

otherwise         legally      poised       to   essentially   become        the    decision-

maker for the patient when the patient cannot legally act on his

or her behalf.            Section 146.81(5)            defines "person authorized by

the patient" in part to be:

        [T]he parent, guardian, or legal custodian of a minor
        patient, as defined in s. 48.02(8) and (11), the
        person vested with supervision of the child under
        s. 938.183 or 938.34(4d),   (4h),  (4m), or (4n), the
        guardian of a patient  adjudicated incompetent in this
        state,   the  personal   representative,   spouse, , or
        domestic partner under ch. 770 of a deceased patient,
                                                  2



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        any person authorized in writing by the patient or a
        health care agent designated by the patient as a
        principal under ch. 155 if the patient has been found
        to be incapacitated under s. 155.05(2), except as
        limited by the power of attorney for health care
        instrument.

§   146. 81 (5).      Notably absent            in this provision are lawyers who
                                             1
advocate on a patient's behalf in a lawsuit.                                 While it may make

sense to exempt           these     lawyers       from paying           fees,       the    choice    is

not    the      court's    to      make;    it    is       within      the    province        of    the

legislature.          I   must examine           the   text      of the statute at                issue

using       fundamental     tools     of    statutory construction to                      determine

which of two interpretations of the phrase "person authorized by

the patient;, was intended by the legislature;                               as put by Aurora

Healthcare,           Inc.,          and         Healthport             Technologies,               LLC
                                                       I



("Healthport"),           these     two    interpretative             options       are:    (1)    "any

person        authorized      in    writing       by       the    patient       to        obtain    the

patient's health care records"; or                         (2)   "any person authorized in

writing        by   the    patient         to    consent         to    the    release        of     the

patient's        health    care      records."             In    so   doing     I    look     to    the

surrounding text and examine that text in light of the canons of

construction, not just part of the statutory text, in a vacuum.

        It is      . a solemn obligation of the judiciary to
        faithfully give effect to the laws enacted by the
        legislature, and to do so requires a determination of
        statutory meaning.    Judicial deference to the policy
        choices  enacted into  law by the . legislature requires
        that statutory interpretation focus primarily on the

        1
       Those attorneys advocate on behalf of the client/patient
and may receive authority from a client to, for example, settle
a case;   importantly,   however,  such attorneys,   unlike those
persons in Wis.  Stat. §  146.81(5), are not standalone  decision-
mqkers who act with or without the patient's consent.


                                                  3



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        language of the     statute.     We   assume  that the
        legislature's intent is expressed in the statutory
        language.      . It is   the   enacted   law,  not the
        unenacted intent, that is binding on the public.
        Therefore, the purpose of statutory interpretation is
        to determine what the statute means so that it may be
        given its full, proper, and intended effect.
State ex rel. Kalal v. Circuit Court for Dane Cty., 2004 WI 58,
i44, 271 Wis. 2d 633, 681 N.W.2d 110.
        i43        Given           the    above          charge,             I    write     to    examine        the
statutes          at        issue    and       the       court's            reasoning,      considering          the
disputed statutory text in context and in light of fundamental

canons        of       construction.                     For       reasons          I   will      explain,       the
interpretation adopted by the                                  court         today      fails     to adhere         to

fundamental             principles             of    statutory               construction         and     in    fact
renders        the          overall           statutory            scheme         virtually       meaningless.
Ultimately,             I    would conclude,                   like the court of appeals,                       that
the     text       of        the     statutes            requires            a    conclusion       that    Moya's

personal          injury           attorney         is    not           a   "person       authorized by          the

patient" under Wis. Stat. § 146.83 (3f) (b).                                            The lawyer at issue

is    not      within          the        definition               of       "person     authorized        by     the
patient" in Wis. Stat. § 146.81(5) nor is he or she exempt from
payment of fees under§ 146.83(1b) as are other lawyers.                                                        Thus,

I must respectfully dissent.
                                                               I

        i44        I    begin        by       setting          forth         established         principles         of

statutory interpretation.                            Statutory interpretation is governed
first       and        foremost          by    the       principle               that   "[t] he    words       of    a
governing text are of paramount concern,                                           and what they convey,
in their context,                    is what the text means."                              Antonin Scalia            &



                                                               4



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Bryan A. Garner,             Reading Law: The Interpretation of Legal Texts

56     (2012)          (denominating         this        rule     the     "Supremacy-of-Text

Principle") .           Judges     should     "determin [e]         the    application of a

governing text to given facts on the basis of how a reasonable

reader,        fully competent in the language,                    would have understood

the text at the time it was issued."                            Id. at 33.        This approach

recognizes         that      "[t] he   law   is     what    the    law says,"         Bank One

Chicago,        N.A.    v.    Midwest Bank          &    Trust Co.,       516 U.S.    264,    279

(1996)         (Scalia,      J.,   concurring           in part   and     concurring     in   the

judgment), and that                "[a]n interpreter who bypasses or downplays

the text becomes a lawmaker without obeying the constitutional

rules for making law."                 Frank H. Easterbrook, Textualism and the

Dead Hand, 66 Geo. Wash. L. Rev. 1119, 1120 (1998).

       <][45     Proper        statutory          interpretation            rests      on     the

fundamental premise that "[n]othing but conventions and contexts

cause a symbol or sound to convey a particular idea."                                  Scalia   &

Garner, supra, at xxvii (emphases added).

            The enactment of a law is a form of communication
       through language-from the law-giver to those affected
       by the law, as well as to those who must enforce,
       apply,   or  interpret   the  law.      This  sort  of
       communication is only possible if the participants
       have a set of shared practices and conventions that
       permit them to convey meaning to each other.    At the
       most basic level, intelligible communication requires
       that both parties attach the same meaning to the same
       sounds or signs.    Furthermore, we often need to be
       able to tell which of several possible meanings is
       intended by considering the context in which a word is
       used. Our shared practices and conventions also go
       beyond word meanings.      The rules of grammar and
       syntax, for example, represent shared conventions that
       assist us in decoding the communications of others.


                                                  5



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John     F.     Manning         &       Matthew         C.    Stephenson,             Legislation                   and

Regulation 222           (2010).

       i46      These        twin       pillars         of     interpretation,                   context            and

convention,            are     indispensable                 to        the     functioning               of         the

judiciary.           Convention is sometimes realized in part through the

implementation           of     certain         "canons           of    construction,"             which            are

"rules of thumb that that help courts determine the meaning of

legislation."            Connecticut Nat' l                  Bank v.         Germain,        503 U.S.              249,

253    (1992).         A number of these canons will be discussed in more

detail below.

        i4 7    Context,        on the other hand,                     includes       ( 1)       "the purpose

of the text," which must be "gathered only from the text itself,

consistently           with     the       other       aspects           of    its    context";               (2)     "a

word's historical associations acquired from recurrent patterns

of past usage";              and    (3)       "a word's immediate syntactic setting-

that    is,     the words           that       surround it             in a    specific utterance."

Scalia         & Garner,           supra,        at      33       (emphasis          omitted)                (citing

I.A. Richards,          Interpretation in Teaching viii (1938)).

        i48     Application of these                    principles-an unrelenting                              focus

on     the     meaning        of        the     text,        discovered             through        a     careful

examination of context and the application,                                      where necessary,                    of

canons         of     construction-promotes                       "certainty,           predictability,

obj ecti vi ty,        reasonableness,                rationality,            and    regularity,              which

are the objects of the skilled interpreter's quest."                                                   Id.    at 34

(citing        Frederick           J.     de    Sloovere,              Textual       Interpretation                  of

Statutes,           11 N.Y.U.       L.Q.       Rev.    538,       541    (1934)).            I   now turn to




                                                        6


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the     issue      of     statutory          interpretation                   at    the     heart        of      this

appeal and, in analyzing it, employ this methodology.

                                                         II

        149     Wisconsin           Stat.        § 146.83(3f) (a)                  explains        that,         with

certain exceptions,                 "if a person requests copies of a patient's

heal th     care      records,          provides             informed         consent,          ·and     pays     the

applicable         fees    under par.                (b) ,       the heal th care provider shall

provide       the person making                  the         request         copies    of       the    requested

records."               Wis.        Stat.        §    146.83(3£) (a).                     Wisconsin           Stat.

§    146. 83 (3f) (b),         in    turn,           establishes             the    "applicable              fees,"

including,       as relevant here,                    the following two fees:                      (1)      "If the

requester        is     not       the   patient              or    a    person        authorized            by    the

patient,       for      certification of copies,                         a    single      $8     charge";         and

(2)    "If the requester is not the patient or a person authorized

by    the     patient,        a     single       retrieval             fee    of    $20     for       all    copies

requested."             Wis.       Stat.     §    146.83(3f) (b)4.-5.                  (emphases            added).

In this       case,       Carolyn Moya' s                ("Moya")        personal          injury attorney

obtained        written           consent        from        Moya       to    receive       copies          of    her

heal th     care      records.          Moya         claims her attorney                    is    therefore         a

"person authorized by                   the      patient"              and thus       exempt          from    these

fees.

        150     "Person authorized by the patient" is defined in Wis.

Stat. § 146.81(5) as follows:

        [T]he parent, guardian, or legal custodian of a minor
        patient, as defined in s.     48.02(8)   and (11),   the
        person vested with supervision of the child under s.
        938.183  or  938.34(4d),  (4h),   (4ml,   or   (4n), the
        guardian of a patient adjudicated incompetent in this
        state,   the  personal   representative,     spouse,  or
        domestic partner under ch. 770 of a deceased patient,
                                                             7



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           any person authorized in writing by the patient or a
           health care agent designated by the patient as a
           principal under ch. 155 if the patient has been found
           to be incapacitated under s. 155.05(2), except as
           limited by the power of attorney for health care
           instrument.  If no spouse or domestic partner survives
           a deceased patient, "person authorized by the patient"
           also means an adult member of the deceased patient's
           immediate family, as defined· in s. 632.895 (1) (d). A
           court may appoint a temporary guardian for a patient
           believed incompetent to consent to the release of
           records under this section as the person authorized by
           the patient to decide upon the release of records, if
           no guardian has been appointed for the patient.
§    146. 81 (5)          (emphasis added).

           ':[51     Moya      and    the       court    rely        on    the     emphasized text               for

their          conclusion           that    Moya' s      attorney           fits       the      definition        of

"person authorized by the patient."                                  At the outset, it should be

noted          that       it   is     not       clear    whether            the    phrase          "any       person

authorized in writing by the patient" in Wis. Stat. § 146.81(5)

is     a       standalone        category          or    whether           it     is   connected           to    the

following phrase,                    namely "or a health care agent designated by

the patient as a principal under ch. 155 if the patient has been

found          to    be     incapacitated under                 s.        155.05(2) ."             §   146.81(5).

Healthport contends that this court need not resolve this issue,

and        I        agree.           As     I     will        demonstrate,             whether           read     as

cons ti tu ting its own category or                             read in conjunction with the

phrase          that      follows         it,    the     phrase       "any person authorized                      in

writing by the patient" does not include Moya's attorney.

           ':[52     More      generally,         it     is    apparent           that       the       mention    of

lawyers is completely absent from this statutory definition and,

instead,            the categories of individuals in the statute have the

commonality               of -those         people        who        can        legally       act       and     make


                                                          8



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decisions when the patient cannot;                                        that is not what a personal

injury lawyer does.                       Lawyers are not like the other categories

of individuals listed.                          While lawyers may advocate on behalf of

their    clients,              they       are        ultimately             subject         to     their         clients'

direction.                   The     categories                    of     individuals             in     Wis.          Stat.

§ 146.81(5),             on the other hand,                            are composed of individuals who

stand    in        the       shoes        of    a     patient             and    make       decisions            for     the

patient,       but are not those who simply advocate for a client at

the client's direction.

                                                               III

        i53        Also       important              is    a           recognition      that,          as     noted       by

Healthport,          the definition of "person authorized by the patient"

provided in Wis.                   Stat.§ 146.81(5)                       does       not clearly define the

nature        of    the        "authori [ty]"                  provided          by    the        patient         to     the

person authorized by the patient.                                         The circuit court determined

that,    for purposes of Wis.                          Stat.§ 146.83(3f)(b),                           the authority

was   the      authority            to     inspect             a       patient's       heal th         care      records.

Moya,    366 Wis. 2d 541,                      i4.        The court of appeals concluded that

the authority was the authority to consent to the release of a

patient's health care records.                                     Id., il6.

        i54        Review of Wis.                    Stat.         § 146.81 (5)         makes          apparent         that

the   definition              of     "person authorized by                            the    patient"            provided

therein       has        a    common           focus        on          categories          of    people         who     are

authorized by law to act as                                the patient,               not        just act because

the     patient              vested       them            with          limited       authority             to     obtain

records.            Those          included           in       the       statutory          definition            include

those     such           as        "the    · parent                     . of     a    minor        patient,"            · for


                                                                   9



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instance,       or "the guardian of a patient adjudicated incompetent

in     this    state,"      but    the   statute     does     not    explicitly describe

what type of authority these people possess.                           § 146.81 (5).        The

kind of authority vested by law in these people is far different

than the kind of obligations a lawyer takes on in representing a

person in a           lawsuit.       These people listed are those who could

sign     a     release      that    would    authorize        the    lawyer    to     get   the

records.         The lawyer,        unlike those listed in§ 146.81(5),                   could

not,    for example,         sign the form on behalf of the patient as all

these individuals could do.

        <[55    These observations are              relevant        to the plain meaning

of     "any person authorized               in writing by        the patient"         in Wis.

Stat. § 146.81(5).                A person who states "I have been authorized

in writing" has said nothing about what she has been authorized

to do.         For example, a person who has been authorized in writing

to     speak     on     a    patient's       behalf      is    technically      a     "person

authorized in writing by the patient,"                        see § 14 6. 81 ( 5) ,    but no

one     would     argue     that     this    type   of    person      would    fulfill      the

definition of "person authorized by the patient" in Wis.                                Stat.

§ 146. 83 (3f) (b).          Those listed in the statute,               however,      have in

common,        for example,        the authority vested in them by law.                      In

sum, examination of the phrase "any person authorized in writing

by the patient" in§ 146.81(5) in isolation is not sufficient to

decide this case.

        <[56    The court defines the nature of the authority in Wis.

Stat.    § 146.81 (5)        differently depending on in which portion of



                                               10


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chapter 146 that phrase is used. 2                            So because, in the context of

Wis. Stat. § 146.83(3f), the "person [potentially] authorized by

the patient" is "request[ing]                         copies of a patient's health care

records,"          §    14 6. 83 ( 3f) (a) ,    the definition of "person authorized

by the patient" in that portion of the statutes,                                            in the court's

view,        is        "person      authorized           by    the    patient           to        obtain    the
patient's              healthcare         records"            (as     long        as,         pursuant       to
§   146. 81 (5),         that authorization is written authorization).                                      But
any     person          who     obtains        records        this    way    would           need     written

authorization.

        i57        In     other      words,          the      court    simply           concludes          that

because Moya' s                attorney was          "authorized in writing"                       to receive

copies        of        Moya's      health          care      records,       he        is     a     "[p]erson

authorized by the patient" as defined in Wis. Stat. § 146.81(5),

which definition                 applies       to    the      fee    portion of              the    statutory

scheme,           Wis.      Stat.     §   146.83 (3f) (b).               See       §    146.81.            That

interpretation possesses the benefit of being uncomplicated, but

that does not mean it is correct.                              The court's reading fails to

account           for      a     number        of     important        considerations-namely,

significant              clues    provided          by     investigation          of        the     statutory




        2
         Typically, the "[p] resumption of consistent usage" canon
would instruct that "[a] word or phrase is presumed to bear the
same meaning throughout a text."        Antonin Scalia & Bryan A.
Garner, Reading Law: The Interpretation of Legal Texts 170
 (2012).     In the court's defense, however,      it may not be
necessarily in violation of that canon because the nature of the
authority, while changing, changes to attend to the purpose of
the specif~c statute.


                                                         11


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context        and       the    application       of    canons      of   construction-which

counsel a different reading of the statute.

        <[58    More       specifically,         the    court's      conclusion              falls   prey

to a criticism directed at Moya by Healthport:

       Although [Moya] repeatedly urges this Court to follow
       the   "plain language"   or  "plain meaning"    of  the
       statutory words, she fails to provide a reason why her
       proposed interpretation follows     from those words.
       Instead,   [Moya] simply assumes  that  the legislature
       meant to say "any person authorized in writing by the
       patient to ribtain that patient's health care records."
       A plain language argument that simply assumes the
       addition of a critical clause is not a plain language
       argument at all.
        <[59    The truth of the matter is that the statutory phrase

"any person authorized in writing by the patient," viewed alone,

simply       does        not    provide    enough       information         for        the     court      to

reach a        conclusion in this case.                  But statutory interpretation

requires more             than    simply    looking at          a   set of words               in total

isolation.           The court must look to something more-the context

of the phrase and applicable canons of constructions-to reach

the correct answer.

        <[60    Before discussing how these                     tools    help establish the

plain meaning              of    this    phrase    in    this       statute,       I    explain        how

these        tools       immediately       demonstrate          a    number       of     significant

deficits        in       the    court's    approach .       First,       the      phrase        "person

. authorized by the patient" must require more in the context of

Wis.     Stat.       §    146.83(3f)      than    the    court       says    it      does      because,

with     a     few       exceptions,       "a     person    request[ing]               copies        of    a

patient's        health           care    records"       under        that        provision          must

additionally "provide[]                  informed consent" in order to obtain the

                                                   12


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records.        §    146.83 (3f) (a).                Informed consent under the statute

"means     written          consent       to        the    disclosure            of     information           from

patient        health        care        records          to       an      individual,          agency,         or

organization that includes" specified pieces of information such

as    the patient's name and the signature of the patient or the

person        authorized          by     the        patient.              Wis.     Stat.        § 146.81(2).

Therefore, under the court's interpretation, nearly every person

who    obtains        health           care    records             under    § 146.83(3f)              will,     by

nature of the informed consent they must provide,                                             automatically

be a     "person authorized by the patient" and thus,                                          virtually no

one will ever pay certification or retrieval fees as called for

by the statute.

        i61     If the court were correct and all one needed to become

a "person authorized by the patient" was informed consent,                                                    then

there    would be            no    need       for    a    statutory definition of                       "person

authorized           by    the         patient."               A    person        possessing           informed

consent and a "person authorized by the patient" must therefore

be    very     different          individuals             possessing             different       degrees        of

authority.            See,       e.g.,    Pawlowski v.               Am.     Family Mut.             Ins.     Co.,

2009 WI        105,       i22,     322    Wis. 2d 21,               777    N.W.2d 67           ("As    a     basic

rule     of     statutory              construction,               we      endeavor        to        give     each

statutory word independent meaning so that no word is redundant

or     superfluous.               When        the     legislature                chooses        to     use     two

different        words,           we     generally             consider          each    separately            and

presume       that        different       words          have      different meanings.") .                     The

reason that both informed consent and separate authorization are

required        in    this ,statutory                scheme         is     because       the     individuals


                                                          13


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exempted from the statutory fees at issue are either patients or

those    who        are    essentially              the      equivalents         of    patients.               The

legislature defined "person authorized by the patient" to mean

individuals that could actually step in and make decisions for

the patient.              In contrast, lawyers are advocates but they do not

step in and become the decision-maker;                                  in fact,       it is unethical

for them to do so.
        !62        The     legislature              does        not    enact     a     fee        statute        to

collect no fees.                  While this seems obvious,                      I need not look to

legislative history or some unknown possible intent; I need only

look at the words of the statute.                                And this is where context and

canons        of     construction                 provide        guidance.            It     is     a        "well-

established canon[]                of statutory construction" that "[s]tatutory

interpretations             that         render        provisions          meaningless             should        be

avoided."           Belding v. Demoulin, 2014 WI 8, !17, 352 Wis. 2d 359,

843 N.W.2d 373; see also,                          e.g.,     United States v.              Tohono O'Odham

Nation,       563        U.S.     307,        315     (2011)          ("Courts       should       not        render

statutes nugatory through construction.");                                      Louisville Water Co.

v.    Clark,        143 U.S.       1,        12     (1892)       ("Any other interpretation of

the act .            . would render it inoperative for the purposes for

which,     manifestly,             it        was    enacted.");          Kalal,       271     Wis. 2d 633,

!46      ("Statutory            language             is      read       where     possible              to     give

reasonable               effect         to         every        word,      in        order         to         avoid

surplusage.").                    The        court's            approach        virtually          guts         the




                                                           14


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possibility of collecting fees and certainly contravenes fairly

basic canons of construction. 3

       '1[63   Another       flaw    in    the     court's       reading       of    the    relevant

statutes is that the language of Wis. Stat. § 146.81(5) does not

mention        lawyers      at   all      but      lawyers          are     exempted       in    other

sections.          "Under the doctrine of expressio unius est exclusio

alterius,          'the    express     mention          of    one    matter     excludes         other

similar matters            [that are]      not mentioned."'                FAS, LLC v. Town of

Bass       Lake,    2007    WI   73,      '1[27,   301       Wis. 2d 321,       733     N.W.2d 287

(alteration in original)                  (quoting Perra v.                Menomonee Mut.         Ins.

Co., 2000 WI App 215,               '1[12, 239 Wis. 2d 26,                619 N.W.2d 123).         The

legislature          was     fully        capable        of     adding        lawyers       to     the




       3
       It is true that Wis. Stat. § 146.82(2) contains a list of
entities that may obtain heal th care records without informed
consent   under   certain   circumstances,  such   as   (generally
speaking)   emergency medical services personnel assisting a
patient, district attorneys prosecuting alleged child abuse, and
courts conducting termination of parental rights proceedings.
See § 146.82(2) (a)2., 11.-llm.    I do not find compelling the
argument that the certification and retrieval fees in Wis. Stat.
§ 146.83(3f) (b)4.-5. are reserved for this specialized subset of
requesters.   If the legislature had intended such a result, it
could have provided for it much more clearly.

      Further, it may well be that these entities share common
characteristics of which the court is not, at this time, fully
aware.   For instance, many of the entities listed in this group
seem to possess a public interest component, such that a fee for
health care records would ultimately be transferred to the
taxpayer.   Other entities in this group would seemingly include
heal th care providers themselves using heal th care records for
internal matters.      See,  e.g.,  Wis.  Stat.    § 146.82 (2) (a) 3.
(exception provided "[t]o the extent that the records are needed
for billing, collection or payment of claims.") ..


                                                   15


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     definition of "person authorized by the patient," but it did not

     do so.

             ~64    A third problem with the court's interpretation stems

     from    the    language       of    the    legislature's                 2014    enactment         of    2013

     Wisconsin        Act      342,       which             in        turn     created           Wis.        Stat.

     § 146. 83 (lb).         Importantly,           this         statute       further        defined        those

     who are exempt from payment.                     Section§ 146.83(lb) provides:

             Notwithstanding s.    146.81(5),  in this   section,  a
             "person   authorized   by  the   patient" includes   an
             attorney appointed to represent the patient under s.
             977. 08 [a section in the chapter pertaining to the
             State Public Defender] if that attorney has written
             informed consent from the patient to view and obtain
             copies of the records.

      § 146.83(lb)      (emphasis added).                    "Notwithstanding" the definition

      of    "person authorized by the patient" means                                  "in spite of"               the

      definition        of         "person            authorized                by      the         patient."

      Notwithstanding,            Black's      Law          Dictionary         1231     (10th      ed.       2014)

      (emphasis       added).            It     would            be     strange        indeed        for          the

      legislature      to    have       used   the word               "notwithstanding"            if,       as    is

      suggested by       the      court's       opinion,              these    attorneys         already met

      the    definition      of     "person       authorized             by    the    patient"          in    Wis.

      Stat.§ 146.81(5)            prior to the enactment of§ 146.83(lb).                                          Put

      differently,          the      legislature's                    recent     amendment              strongly

      indicates that individuals like Maya's attorney are not included

      in    the    definition      of    "person            authorized by            the   patient."               If

      lawyers who      received authorization in writing were                                    included in

      § 146.81(5),      § 146.83(1b)             would           be     surplusage         and     completely

      unnecessary.



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       165        The    amendment              in     Wis.        Stat.        § 146.83(1b)                 provides

similar      guidance          when        viewed       in       light        of     any      of    a     number         of

canons       of     construction.                     One        such     canon          has       already          been

referenced:          "Statutory language                     is    read where possible to                           give

reasonable effect to every word,                                 in order to avoid surplusage."

Kalal,    271       Wis. 2d 633,            146.            As    Healthport              points        out,       "[i] f

the    definition          of       'person          authorized           by       the       patient'          already

included      attorneys             with     an       informed           consent,            the    new        section

146.83(1b) would be wholly superfluous."                                       Indeed it would.

       166        Again,      "[u] nder          the       doctrine           of     expressio            uni us     est

exclusio al terius,                 'the express mention of one matter excludes

other similar matters                     [that are]            not mentioned.'"                   FAS,      LLC,    301

Wis. 2d 321,            127     (alteration            in        original)              ( quoting       Perra,       239

Wis. 2d 26, 112).                  That is,          the legislature obviously could have

expanded          the    reach        of        Wis.        Stat.         § 146.83(1b)                  to     include

personal      injury          attorneys,             but     it    did        not       do   so.         Similarly,

"[n]othing is to be added to what the text states or reasonably

implies       ( casus      omissus          pro       omisso       habendus             est) .          That       is,    a

matter not covered is to be treated as not covered."                                                         Scalia       &

Garner,       supra,          at     93     (describing             this           as     the      "Omitted-Case

Canon").          Under this principle,                      a    judge should not,                     among other

things     "elaborate              unprovided-for                exceptions             to    a    text."           Id.;

see    also       id.      ("[I]f         the        Congress           [had]        intended           to     provide

additional exceptions,                    it would have done so in clear language."

(alterations            in original)              ( quoting        Petteys v.                Butler,         367    F. 2d

528,   538        ( 8th Cir.        1966)       (Blackmun,          J.,       dissenting) ) ) .               This is

exactly      what       the        court    may       be     read        to     do      in    concluding            that


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Moya' s      attorney is exempt                 from the               fees       at     issue.           This    court

should not be acting where                            the    legislature has                    declined to do

so.

        <[67     Accordingly,               the court's            interpretation of Wis.                         Stat.

§ 146.83(3f) (b)               possesses substantial flaws,                              and I       cannot agree

with      it.          Fortunately,             it      is        not        the        only     interpretation

presented         in     this       case.       Again,            it    is        important          to    recognize

that Wis.         Stat.§ 146.81(5)                    does not clearly define the nature

of     the      "authori [ty]"              provided         by        the    patient           to     the       person

chosen by the patient;                       the statute instead lists categories of

individuals.                   In     order      to         determine              the     nature           of     this

authority,        then,         it is again beneficial to look to context and

to apply recognized canons of construction.

        <[68     Two related canons of construction,                                      noscitur a sociis

and ejusdem generis,                  are particularly helpful here.                                   Pursuant to

the     noscitur          a     sociis        canon         of     construction,                 "[a]n       unclear

statutory         term        should be         understood              in        the    same        sense    as    the

words        immediately            surrounding         or        coupled          with        it."        State     v.

Quintana,         2008         WI     33,     <[35,     308        Wis. 2d 615,                 748       N.W.2d 447

( quoting         Wis.         Citizens       Concerned            for        Cranes       &     Doves       v.    DNR,

2004 WI 40,            <[40,    270 Wis. 2d 318,                  677 N.W.?d 612).                    That is,       it

is     reasonable         to        ascertain         the    meaning              of     the    phrase       "person

authorized by the patient" by analyzing the phrase in light of

the     surrounding            categories         enumerated                 in    the     definition.              See

Moya,     366 Wis. 2d 541,                  <[12; see also Kalal,                       271 Wis. 2d 633,            <[46

("Context is important to meaning.").




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        i69        As        explained,           none        of    the     enumerated               categories        in

Wis.        Stat.       § 146.81(5)               consists          of     attorneys.                 Further,        the

phrase        "any          person       authorized            in    writing             by   the      patient"        is

placed        in     the          middle      of        the    list        rather         than        at     its     end;

therefore,          it does not seem to be an expansion of the categories

previously listed to new categories of people,                                                nor does it seem

to     be     an     extension               of    the        previously             listed      categories            to

include a host of new categories.                                        See,    e.g.,        State v.         Givens,

28   Wis.      2d 109,            115,    135      N.W.2d 780             (1965)         ("When       the     statute,

after         the           specific         enumerations,                 in        a    'catchall'               clause

proscribes                  'otherwise            disorderly             conduct'             which         tends      to

'provoke a              disturbance,'              this must mean conduct                        of a        type not

previously enumerated but similar thereto in having a                                                         tendency

to disrupt good order and to provoke a disturbance.").

        i70        In fact,           if I        consult the noscitur a sociis canon of

construction,                it depends upon whether the enumerated persons in

Wis.    Stat.           §    14 6. 81 ( 5)    possess a             "similar meaning."                       Quintana,

308 Wis. 2d 615,                   i35.       If the various categories are unrelated,

then one would presume that the individual categories should be

interpreted                 broadly.              See    id.         Conversely,               if      the     various

categories are                    related,        then the          "authori [ty]" provided by the

patient        to           the    person         chosen       by        the     patient         in        § 146.81(5)

should be understood in light of the characteristics shared by

each        category.               See      id.         As        was    previously            discussed,            the

categories           of       individuals           listed have                 in   common          the    fact     that

they become decision-makers                              for the patient.                     Thus,        we further




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conclude that the phrase "person authorized by the patient" is

not to be construed as expansive.

        <][71    Additionally,            a related canon of construction, ejusdem

generis,         "instructs          that       when            general       words        follow        specific

words      in     the     statutory             text,           the     general          words         should      be

construed in light of the specific words listed" such that "the

general word or phrase will encompass only things of the same

type as         those specific words                      listed."            Id.,      <][27    (citing Adams

Outdoor Advert., Ltd. v. City of Madison, 2006 WI 104, !62 n.15,

294 Wis. 2d 441,              717 N.W.2d 803).                       But if "[t]he specific terms

listed in the statute have no common feature or class from which

one could ascertain an intention to restrict the meaning of the

general         term,"       then    "the       general              terms     should be             interpreted

broadly to give effect to the legislature's intent."                                                   Id., <][<][26,

28,     31-32;     see also Scalia                   &    Garner,           supra,      at 101         (under the

"General-Terms Canon,"                    "[g] eneral                terms    are       to be        given their

general           meaning             (generalia                      verba            sunt          generaliter

intelligenda),"               so    long        as        there        is    no        "indication           to    the

contrary").             So     again,      because              the     categories              of   individuals

have in common the fact that they become decision-makers for the

patient, the words are not expansive.

        <][72    Consequently,             it        is     important             to    ascertain          whether

there      are     similarities            between              the     categories              of    individuals

listed in Wis.               Stat.    §    146.81 (5).                 If there          are     similarities,

this       would         indicate          that            the         "authori[ty]"                 granted        in

§ 146.81(5)          should          be     interpreted                 more           narrowly         and       more

exclusively;             if        there         are            no      similarities,                 then        this

                                                           20


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"authori[ty]"                 should        be       interpreted           more        broadly          and        less

exclusively.

        <J[73     Wisconsin                 Stat.           § 146.81(5)              defines            "[p]erson

authorized             by     the     patient"          to       include       individuals             acting        on

behalf          of:     (1)         minor     patients;            (2)     patients            who     have       been

adjudicated                 incompetent;              (3)         deceased          patients;           and         (4)

incapacitated patients.                          §   146.81(5).           One might argue that the

legislature              envisioned              a     certain           commonality                among         these

categories             of individuals.                 And indeed,             the     court of appeals,

comparing Moya and her personal injury attorney to these other

pairs      of         individuals,           interpreted            "authorized"               in     the     phrase

"person authorized by the patient" to mean "having the power to

consent to             the      release of the patient's                        records,"            rather        than

merely          the      power         to        receive          those        records.               Moya,         366

Wis. 2d 541,                <J[16    (emphasis         added);           see    also       §    146,-81     (5)     ("A

court may appoint a                     temporary guardian for a                        patient believed

incompetent             to      consent       to      the        release       of    records          under        this

section as the person authorized by the patient to decide upon

the release of records,                          if no guardian has been appointed for

the patient."                (emphasis added)).                   The court of appeals concluded

that     adoption             of     Maya's          argument       would       violate          the      manifest

purpose         of     the      relevant         statutes,          expanding the definition of

"person         authorized            by     the      patient"           beyond      the       "very        specific

list of individuals" contemplated by the legislature.

366 Wis. 2d 541, <J[12.

        <J[74     The         interpretation                 of     the        court       of        appeals         is

reasonable.                   It     better          comports        with       the     other          enumerated

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categories of persons in Wis.                        Stat.       §    14 6. 81 ( 5) .         It possesses

none of the major defects of the court's interpretation which I

identified above.             And it is supported by the statutory context

and by canons of construction.                        And this holds true whether "any

person       authorized       in     writing         by      the          patient"       is       read       as     a

standalone category or together with the following clause.                                                         If

read as a standalone category,                       "any person authorized in writing

by    the     patient"       would       clearly           not       be    intended          as        a   broad,

"catch-all" group,            because it would not fall                           at the end of the

list    of       enumerated      categories;           and       if       read    together             with       the

following         clause     ("or    a     health          care       agent       designated               by     the

patient as         a principal under                 ch.    155       if the patient has been

found       to    be    incapacitated           under       s.       155.05(2),"             §    146.81(5)),

then    "any person          authorized             in writing             by    the    patient"            would

share the characteristics of the other enumerated categories and

would       not    be     intended        to     include          attorneys.                 These         canons

certainly point strongly in one direction:                                       against the reading

adopted by the court.

        i75       The    court     does        not    adequately                address          the       reading

dictated          by     application           of     the        interpretative                  methodology

discussed above; as a result, its reasoning is unpersuasive.                                                       It

also     does      not     explain       why     Wis.       Stat.          § 146.83(1b)                would       be

necessary to exempt public defenders from the payment of these

fees    because public defenders,                      as    virtually all                   others,         would

need written authorization to                        obtain the patient's                         records          in

the     first          instance.          The        court        adopts          a     more           expansive

interpretation, but seems to base its interpretation on langu~ge

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that does not have support in common tools of construction.                                                         In

my view,           little or nothing in the statutory text supports                                                the

court's expansive view.

        ':1176     On balance,           I    must        conclude          that        the       interpretation

adopted by the court today is unlikely to be the correct answer.

If the statute at issue is really as broad as the court says it

is,      the       challenged           fee         requirements                 are        rendered           largely

meaningless.               I    cannot        accept          that     a    plain meaning                 here    was

intended to exempt virtually all who obtain records from payment

of the fees set forth.

        ':1177     The          clear          purpose                of             the         statute,           as

"gathered                      from    the         text       itself,"           is     to       charge        certain

individuals fees.                  Scalia & Garner,                   supra,          at 33.         Very simply

stated,          since nearly anyone who wishes                                 to    receive        a    patient's

records           needs         that     patient's               authorization                    and     no      such

authorized person would                       ever        need       to    pay        the     applicable          fee,

virtually no fees would be paid under this statute.                                                      It is not

as though an attorney, appropriately authorized,                                                 could never fit

the definition of "person authorized by the patient."                                                    But every

attorney does not fit that definition, and an examination of the

text reveals that Moya's attorney does not fit that definition.

        ':1178     Finally,             given             the         competing                   interpretative

possibilities              here,        a      point           about            judicial           restraint        is

appropriate.               Even if it intuitively makes sense that personal

injury           lawyers       should        not    have        to    pay        fees       to     receive       their

clients'          medical        records,           if    I     am    incorrect,              the       legislature

could       easily         amend       the         statute       as        it     did        with       Wis.     Stat.


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§ 146.83(lb)          thereby      excluding         the     public    defenders.            The

legislative "fix," if the court is incorrect,                         requires a virtual

rewrite of these fee statutes.

                                                IV

        179       Interpretation     of        the    statutory       text     leads    me    to

conclude,         like the court of appeals,               that Maya's personal injury

attorney is not a "person authorized by the patient" under Wis.

Stat.       §   146.83(3f) (b).     Regardless,            it would be well worth the

legislature's         time   for    it    to    clarify these         statutes     so   as    to

provide guidance to the public,                      to lawyers,      and to the courts.

In    the       absence of   such guidance,            however,    I -must      respectfully

dissent.

        180       For the foregoing reasons, I respectfully dissent.




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                                                                                 02-20-2018
                                                                                 John Barrett
                                                                                 Clerk of Circuit Court
STATE OF WISCONSN            CIRCUIT COURT         MILWAUKEE COUNTY              2018CV000607




TIMOTHY RAVE, individually and on
behalf of a class of others similarly
situated,

               Plaintiff,                            Case No. 18-CV-0607

vs.                                                  Case Code: 30103
                                                     Hon. Ellen R. Brostrom
CIOX HEALTH, LLC and
COLUMBIA ST. MARY'S
HOSPITAL MILWAUKEE, INC.,

               Defendants.


       CIOX HEALTH, LLC'S ANSWER & AFFIRMATIVE DEFENSES TO
                     CLASS ACTION COMPLAINT


       Defendant Ciox Health, LLC ("Ciox") hereby responds to the Class Action
Complaint (the "Complaint") of Plaintiff Timothy Rave, Individually and on behalf of
a class of others similarly situated ("Plaintiff') as follows:

                                         ANSWER

                                       I. PARTIES
       1.      Ciox lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph, and on that basis, denies them.
       2.      Ciox admits that IOD Incorporated ("IOD") was a Wisconsin

corporation. Ciox further admits that IOD fulfilled certain requests for certified
medical records received by Columbia St. Mary's Hospital Milwaukee, Inc. ("CSM")

on behalf of CSM. Ciox admits that IOD charged certain amounts in connection with
fulfilling certain requests for certified medical records received by CSM on its behalf.
Ciox denies any further allegations in this paragraph not specifically admitted.




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       3.     Ciox admits on or about December 31, 2015, 10D merged with
HealthPort Technologies, LLC ("HealthPort"). Ciox further admits that HealthPort
was the surviving company after the merger with 10D.
       4.     Ciox admits that HealthPort was the surviving company after the
merger with 10D. The remaining allegations in this paragraph state legal conclusions
and therefore require no response.
       5.     Ciox admits that HealthPort Technologies, LLC changed its name to
CIOX Health, LLC.
       6.     Ciox denies that it is a corporation. Ciox affirmatively alleges that it is
a limited liability company that conducts business in Wisconsin. The remaining
allegations in this paragraph state legal conclusions and therefore require no
response. If a response is required, Ciox denies the allegations in this paragraph. Ciox
further denies it is liable in any amount to Plaintiff or the alleged putative class
members.
       7.     Ciox incorporates its answers to paragraphs 3-5.          Otherwise, the
remaining allegations in this paragraph state legal conclusions and therefore require
no response. If a response is required, Ciox denies the allegations in this paragraph.
       8.     Ciox lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph, and on that basis, denies them.
                                 II. BACKGROUND

       9.     The allegations in this paragraph contain no factual allegations that
require a response. To the extent a response is required, Ciox lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in this
paragraph, and on that basis, denies them.
       10.    The allegations in this paragraph contain no factual allegations that
require a response. To the extent a response is required, Ciox lacks knowledge or


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information sufficient to form a belief as to the truth of the allegations in this
paragraph, and on that basis, denies them.
       11.    The allegations in this paragraph contain no factual allegations that
require a response. To the extent a response is required, Ciox lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in this
paragraph, and on that basis, denies them. Ciox further denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       12.    The allegations in this paragraph contain no factual allegations that
require a response. To the extent a response is required, Ciox lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in this
paragraph, and on that basis, denies them. Ciox further denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law. By way of further response, Ciox states that
Plaintiffs comparison of the release of information services ("ROI Services") Ciox
provides in response to requests for certain protected health information ("PHI") to
a simple copying service provided by third parties like Staples is a gross
oversimplification of the ROI Services and the procedures and safeguards put in place
to ensure that Ciox produces the PHI in accordance with the request and patient
authorization.
       13.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       14.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this


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paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       15.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       16.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       17.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       18.    The allegations in this paragraph contain no factual allegations that
reqmre a response.
       19.     Ciox denies that it charged Plaintiff any fees in connection with the
requests for records Welcenbach Law Offices ("Welcenbach") submitted to CSM that
are the subject of this lawsuit.
       20.    The allegations in this paragraph require no response. To the extent a
response is required, Ciox denies the allegations in this paragraph.
       21.    The allegations in this paragraph require no response. To the extent a
response is required, Ciox denies the allegations in this paragraph.
       22.    The allegations in this paragraph require no response. To the extent a
response is required, Ciox denies the allegations in this paragraph.
       23.    The allegations in this paragraph require no response. To the extent a
response is required, Ciox denies the allegations in this paragraph.
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                              III. JURISDICTION & VENUE
        24.      Ciox admits it conducts business in Milwaukee County and is registered
to do business in Wisconsin.         CIOX denies that this Court has subject matter
jurisdiction over this action. Ciox further denies the allegations in this paragraph not
specifically admitted.
        25.      Ciox admits it conducts business in Milwaukee County. CIOX denies
that venue is appropriate in this County. Ciox further denies the allegations in this
paragraph not specifically admitted.
                                          IV. FACTS

        26.      Ciox lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph, and on that basis, denies them.
        27.      Ciox lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph, and on that basis, denies them.
        28.      Ciox admits that Plaintiff authorized Welcenbach to obtain his medical
information.
        29.      Ciox admits that Welcenbach requested certain of Plaintiffs certified
medical records and billings from CSM.
                        A. Certified Medical Bill Request - CSM
        30.      Ciox admits that Welcenbach requested Plaintiffs certified medical
bills from CSM. Ciox further admits that Mr. Rave authorized Welcenbach to obtain
the requested records.
        31.      Ciox admits that IOD fulfilled the request for Plaintiffs certified
medical bills for CSM, and that IOD charged $35.84 for the fulfillment of the request
as reflected in Invoice No.   26252002.

        32.      Ciox admits that Welcenbach paid the $35.84 reflected in Invoice
No.   26252002   to IOD. Ciox lacks knowledge or information sufficient to form a belief


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as to the truth of the allegation that Welcenbach paid the $35.84 on behalf of Mr.
Rave, and on that basis, denies it.
       33.    Ciox denies that IO D charged Plaintiff any fees for the fulfillment of the
request made by Welcenbach to obtain Plaintiffs certified medical bills.            The
allegation that IOD charged fees contrary to Wis. Stat. § 146.83 states a legal
conclusion to which no response is required, and therefore denies the allegations in
this paragraph.
       34.    Ciox denies that IOD charged the fees referenced in the Complaint in a
manner that was negligent or knowing and willful.
                   B. Certified Medical Records Request - CSM
       35.    Ciox admits that Welcenbach requested certain of Plaintiffs certified
medical records from CSM. Ciox further admits that Plaintiff authorized Welcenbach
to obtain the requested records.
       36.    Ciox admits that IOD fulfilled the request for Plaintiffs certified
medical records for CSM, and that IOD charged $75.28 for the fulfillment of the
request as reflected in Invoice No. 26247649.
       37.    Ciox admits that Welcenbach paid the $75.28 reflected in Invoice
No. 26247649 to IOD. Ciox denies any allegation in this paragraph not specifically
admitted.
       38.    Ciox denies that IO D charged Plaintiff any fees for the fulfillment of the
request made by Welcenbach to obtain Plaintiffs certified medical records. The
allegation that IOD charged fees contrary to Wis. Stat. § 146.83 states a legal
conclusion to which no response is required, and therefore denies the allegations in
this paragraph.
       39.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this


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paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.

                        VIOLATION OF WIS. STAT. § 146.83
                  ON BEHALF OF PLAINTIFF AND CLASS MEMBERS
          40.    Ciox incorporates its responses to paragraphs 1-39 as if fully set forth
herein.
          41.    Ciox lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in this paragraph, and on that basis, denies them.
          42.    Ciox denies the allegations in this paragraph.
          43.    The allegations in this paragraph require no response.
          44.    The allegations in this paragraph require no response.
          45.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
          46.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law. Ciox further denies that IOD charged Plaintiff any
fees reflected in Invoice Nos. 26252002 and 26247649.
          47.    Ciox denies that IOD charged Plaintiff any fees reflected in Invoice


          48.    Ciox denies that IOD charged Plaintiff any fees reflected in Invoice
No. 26252002.
          49.    Ciox admits that IOD issued Invoice Nos. 26252002 and 26247649 to
Welcenbach, but denies that IOD issued Invoice Nos. 26252002 and 26247649 to
Plaintiff.      Ciox admits that Welcenbach paid the fees reflected on Invoice

                                             7

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Nos. 26252002 and 26247649. Ciox further denies any allegation in this paragraph
not specifically admitted.
       50.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       51.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law. Ciox further denies that IOD charged Plaintiff any
fees reflected in Invoice Nos. 26252002 and 26247649.
       52.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law. By way of further response, Ciox states that at the
time IOD charged the certification and retrieval fees reflected in Invoice
Nos. 26252002 and 26247649, IOD interpreted the applicable law, in good faith, to
permit such fees due to the fact that Welcenbach made the request for Plaintiff's PHI
(as opposed to Plaintiff directly requesting his PHI).
       53.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law. By way of further response, Ciox states that at the
time IOD charged the certification and retrieval fees reflected in Invoice
Nos. 26252002 and 26247649, IOD interpreted the applicable law, in good faith, to
permit such fees due to the fact that Welcenbach made the request for Plaintiff's PHI
(as opposed to Plaintiff directly requesting his PHI).
                                           8

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       54.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law. Ciox further denies that IOD charged Plaintiff any
fees reflected in Invoice Nos. 26252002 and 26247649.
       55.    Ciox denies the allegations in this paragraph.
       56.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       57.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       58.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph.
       59.    Ciox denies the allegations in this paragraph.
       60.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
Statutes or interpreting case law.
       61.    Ciox denies the allegations in this paragraph. Ciox further denies that
IOD charged Plaintiff any fees reflected in Invoice Nos. 26252002 and 26247649.
       62.    The allegations in this paragraph state legal conclusions and therefore
require no response. If a response is required, Ciox denies the allegations in this
paragraph to the extent that they are inconsistent with the text of the Wisconsin
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Statutes or interpreting case law. Ciox further denies that 10D charged Plaintiff any
fees reflected in Invoice Nos. 26252002 and 26247649.
                     UNJUST ENRICHMENT - DISGORGEMENT
          63.   Ciox incorporates its responses to paragraphs 1 - 62 as if fully set forth
herein.
          64.   Ciox denies the allegations in this paragraph.
          65.   Ciox denies the allegations in this paragraph and specifically denies that
it received any benefit from Plaintiff.
          66.   Ciox denies the allegations in this paragraph.
                      DEFENSES AND AFFIRMATIVE DEFENSES
       1.       Plaintiffs Complaint fails to state a claim upon which relief can be
granted.
          2.    Plaintiffs claims are barred, in whole or in part, under the doctrine of
intervening and superseding cause.
          3.    Plaintiffs claims are barred,       m whole or m          part,   due to
contributory/ comparative negligence.
          4.    Plaintiffs claims are barred, in whole or in part, due to the intervening
or superseding actions of his attorneys in passing on to his the allegedly improper
fees without disclosure of the same to them.
          5.    Plaintiffs claims are barred in whole or in part by the voluntary
payment doctrine and the doctrine of accord and satisfaction.
          6.    Plaintiffs claims are barred in whole or in part because neither 10D nor
Ciox charged Plaintiff any fees in connection with the requests for records
Welcenbach submitted to CSM that are the subject of this lawsuit.
          7.    Plaintiffs claims are barred, in whole or in part, because they are
duplicative of claims asserted on behalf of the purported putative class in


                                            10


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Dilger et al. v. !OD Incorporated et al., United States District Court of the Eastern
District of Wisconsin, Case No. 2:17-cv-01753.
          8.    Plaintiffs claims are barred, in whole or in part, because they fail the
statutory prerequisite(s) for recovery.
          9.    Plaintiffs claims are barred, in whole or in part, due to the failure of
conditions precedent to recovery.
          10.   Plaintiffs claims are barred, in whole or in part, because Ciox acted in
good faith.
          11.   Plaintiffs claims are barred, in whole or in part, because Ciox is not a
"health care provider" as defined in Wis. Stat.§ 146.81(1).
          12.   Plaintiffs claims are barred, in whole or in part, because Ciox and IOD
satisfied the industry standard of care at all times relevant to this action.
          13.   Plaintiffs claims are barred, in whole or in part, because they violate
the Constitution of the United States and/or the Constitution of the State of
Wisconsin.
          14.   Plaintiffs claims are barred, in whole or in part, due to the running of
applicable statutes of limitations.
          15.   Plaintiffs claims are barred, in whole or in part, by the doctrine of
laches.
          16.   Plaintiffs claims are barred, in whole or in part, by the doctrine of
waiver.
          17.   Plaintiffs claims are barred, in whole or in part, by the doctrine of
estoppel.
          18.   Plaintiffs claims are barred, in whole or in part, because Plaintiff lacks
standing.

          19.   Plaintiffs claims are barred, in whole or in part, by the doctrine of
mutual mistake.
                                            11


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          20.    Plaintiffs claims are barred, in whole or in part, because he failed to
mitigate his damages.
          21.    Many of Plaintiffs claims for members of the putative class are barred
because the putative class members incurred no damages.
          22.    Ciox reserves the right to assert any additional defenses or affirmative
defenses as its this case proceeds through discovery and new information becomes
available.

          WHEREFORE, Ciox Health, LLC demands judgment providing the following

relief:

          A. Dismissing Plaintiffs Complaint with prejudice;

          B. Awarding Ciox its costs and attorney fees, to the extent permitted by law;
             and

          C. Awarding such other relief as justice so requires.


Dated: February 20, 2018.

                                             GASS WEBER MULLINS LLC
                                             Attorneys for Defendant
                                             Ciox Health, LLC

                                             Electronically Signed by Tohn Franke
                                             John Franke, SBN 1017283
                                             franke@gwmlaw.com
                                             Daniel A. Manna, SBN 1071827
                                             manna@gwmlaw.com
                                             241 North Broadway, Suite 300
                                             Milwaukee, Wisconsin 53202
                                             (414) 223-3300 - phone
                                             (414) 224-6116 - fax




                                             12


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                                                                               02-20-2018
                                                                               John Barrett
                                                                               Clerk of Circuit Court
STATE OF WISCONSN             CIRCUIT COURT       MILWAUKEE COUNTY              2018CV000607




TIMOTHY RAVE, individually and on
behalf of a class of others similarly
situated,

                Plaintiff,                         Case No. 18-CV-0607

vs.                                                Case Code: 30103
                                                   Hon. Ellen R. Brostrom
CIOX HEALTH, LLC and
COLUMBIA ST. MARY'S
HOSPITAL MILWAUKEE, INC.,

                Defendants.


                               NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that John Franke and Daniel A. Manna of Gass Weber

Mullins LLC appear for Defendant Ciox Health, LLC in this action. A copy of all

papers in this action should be served upon the undersigned at the address stated

below.

         Dated this 2oth day of February, 2018.

                                            GASS WEBER MULLINS LLC
                                            Attorneys for Defendant
                                            Ciox Health, LLC

                                            Electronically Signed by Daniel A. Manna
                                            John Franke, SBN 1017283
                                            franke@gwmlaw.com
                                            Daniel A. Manna, SBN 1071827
                                            manna@gwmlaw.com
                                            241 N. Broadway, Suite 300
                                            Milwaukee, Wisconsin 53202
                                            (414) 223-3300 - phone
                                            (414) 224-6116 - fax




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                                                                                   02-20-2018
                                                                                   John Barrett
                                                                                   Clerk of Circuit Court
STATE OF WISCONSN             CIRCUIT COURT       MILWAUKEE COUNTY                 2018CV000607




TIMOTHY RAVE, individually and on
behalf of a class of others similarly
situated,

                Plaintiff,                         Case No. 18-CV-0607

vs.                                                Case Code: 30103
                                                   Hon. Ellen R. Brostrom
CIOX HEALTH, LLC and
COLUMBIA ST. MARY'S
HOSPITAL MILWAUKEE, INC.,

                Defendants.


                               NOTICE OF APPEARANCE


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         Dated this 2oth day of February, 2018.

                                            GASS WEBER MULLINS LLC
                                            Attorneys for Defendant
                                            Ciox Health, LLC

                                            Electronically Signed by Tohn Franke
                                            John Franke, SBN 1017283
                                            franke@gwmlaw.com
                                            Daniel A. Manna, SBN 1071827
                                            manna@gwmlaw.com
                                            241 N. Broadway, Suite 300
                                            Milwaukee, Wisconsin 53202
                                            (414) 223-3300 - phone
                                            (414) 224-6116 - fax




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Timothy Rave vs. CIOX Health, LLC et al                      !ii

                                                                   '
                                                                 Case No.: 2018CV000607




                          SCOTT C BORISON
                          5235 WESTVIEW DR.
                          FREDERICK MD 21703




                For 2018CV000607, the electronic notice preference for John Franke, attorney for CIOX
                Health, LLC, has changed.

               John Franke has registered as an electronic notice party and has agreed to file any
               documents and receive all communications from the court for this case electronically.
               You will no longer need to provide traditional paper documents to this party. You still
               need to provide traditional paper documents to the court and any other parties who are
               not electronically filing.

                If you have questions regarding this notice, please contact our office at 414-278-4120.




                                                          Electronically signed by John Barrett
                                                          Clerk of Circuit Court




                                                          February 21, 2018
                                                          Date




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GF-208(CCAP), 03/2010 Electronic Notice Status Change

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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                           COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC.
                           C/O CORPORATION SERVICE CO.
                           8040 EXCELSIOR DR., STE. 400
                           MADISON WI 53717



                For 2018CV000607, the electronic notice preference for John Franke, attorney for CIOX
                Health, LLC, has changed.

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                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




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GF-208(CCAP), 03/2010 Electronic Notice Status Change
                                              This form shall not be modified. It may be supplemented with additional material.
             Case: 3:19-cv-00907-wmc
STATE OF WISCONSIN                      Document
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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                          JOHN CRAIG JONES
                          JONES & HILL, LLC
                          131 HIGHWAY 165 SOUTH
                          OAKDALE LA 71463



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                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




                            Case 2:18-cv-00305-LA Filed 02/28/18 Page 80 of 86 Document 1-4
GF-208(CCAP), 03/2010 Electronic Notice Status Change
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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                           SCOTT C BORISON
                           5235 WESTVIEW DR.
                           FREDERICK MD 21703




                For 2018CV000607, the electronic notice preference for Daniel A. Manna, attorney for
                CIOX Health, LLC, has changed.

                Daniel A. Manna has registered as an electronic notice party and has agreed to file any
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                need to provide traditional paper documents to the court and any other parties who are
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                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




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GF-208(CCAP), 03/2010 Electronic Notice Status Change
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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                           COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC.
                           C/O CORPORATION SERVICE CO.
                           8040 EXCELSIOR DR., STE. 400
                           MADISON WI 53717



                For 2018CV000607, the electronic notice preference for Daniel A. Manna, attorney for
                CIOX Health, LLC, has changed.

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                documents and receive all communications from the court for this case electronically.
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                need to provide traditional paper documents to the court and any other parties who are
                not electronically filing.

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                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                          JOHN CRAIG JONES
                          JONES & HILL, LLC
                          131 HIGHWAY 165 SOUTH
                          OAKDALE LA 71463



                For 2018CV000607, the electronic notice preference for Daniel A. Manna, attorney for
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                If you have questions regarding this notice, please contact our office at 414-278-4120.




                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




                            Case 2:18-cv-00305-LA Filed 02/28/18 Page 83 of 86 Document 1-4
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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                           COLUMBIA ST. MARY'S HOSPITAL MILWAUKEE, INC.
                           C/O CORPORATION SERVICE CO.
                           8040 EXCELSIOR DR., STE. 400
                           MADISON WI 53717



                For 2018CV000607, the electronic notice preference for Scott C Borison, attorney for
                Timothy Rave, has changed.

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                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




                            Case 2:18-cv-00305-LA Filed 02/28/18 Page 84 of 86 Document 1-4
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Timothy Rave vs. CIOX Health, LLC et al                                                Electronic Notice
                                                                                        Status Change
                                                                                          Case No.: 2018CV000607




                          JOHN CRAIG JONES
                          JONES & HILL, LLC
                          131 HIGHWAY 165 SOUTH
                          OAKDALE LA 71463



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                not electronically filing.

                If you have questions regarding this notice, please contact our office at 414-278-4120.




                                                                                   Electronically signed by John Barrett
                                                                                   Clerk of Circuit Court




                                                                                   February 21, 2018
                                                                                   Date




                            Case 2:18-cv-00305-LA Filed 02/28/18 Page 85 of 86 Document 1-4
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                                              This form shall not be modified. It may be supplemented with additional material.
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                                                                                                                                   02-21-2018
Timothy Rave vs. CIOX Health, LLC et al                                                 Notice of Hearing                          John Barrett
                                                                                                                                    Clerk of Circuit Court
                                                                                         Case No: 2018CV000607




                     COURT ORIGINAL




This case is scheduled for: Scheduling conference

Date                                       ITime                                 Location
03-14-2018                                 09:30 am                              Milwaukee County Courthouse, RM 413
Court Official                                                                   901 N. Ninth Street
Ellen R Brostrom-06                                                              Milwaukee WI 53233
Re
Money Judgment

This matter will not be adjourned by the court except upon formal motion for good cause or with the specific approval of the court
upon stipulation by all parties.

PLEASE FILE A SCHEDULING DATA SHEET DIRECTLY WITH THE COURT ONE WEEK PRIOR TO SCHEDULING
CONFERENCE.

PLEASE NOTE: THIS DATE IS SET BY THE COURT. Should any party be unable to appear on the above date, they shall
arrange a conference call with the other party and the court to set a mutually agreeable date. Questions 414-278-4498.


 If you require reasonable accommodations due to a
 disability in order to participate in the court process,
                                                                                       Milwaukee County Circuit Court
 please call 414-985-5757 at least 10 working days prior
                                                                                       Date: February 21 , 2018
 to the scheduled court date. Please note that the court
 does not provide transportation.


Distribution                                Address                                                                        Service Type
Court Original
Scott C Borison                             5235 Westview Dr., Frederick, MD 21703                                         Mail Notice
John Craig Jones                            131 Highway 165 South, Oakdale, LA 71463                                       Mail Notice
Robert J Welcenbach                         robert@welcenbachlaw.com                                                       Electronic Notice
John Franke                                 franke@gwmlaw.com                                                              Electronic Notice
Daniel A. Manna                             manna@gwmlaw.com                                                               Electronic Notice
Columbia St. Mary's Hospital
Milwaukee, Inc.                             8040 Excelsior Dr., Ste. 400, c/o Corporation Service Co., Madison, WI 53717   Mail Notice




                             Case 2:18-cv-00305-LA
GF-101 (CCAP), 10/2009 Notice of Hearing
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